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                             No. 24-30706

   In the United States Court of Appeals for the Fifth Circuit

DARCY ROAKE, REVEREND, ON BEHALF THEMSELVES AND ON BEHALF OF
THEIR MINOR CHILDREN, REAL PARTY IN INTEREST A.V., REAL PARTY IN
INTEREST S.V.; ADRIAN VAN YOUNG, ON BEHALF OF THEMSELVES AND ON
BEHALF OF THEIR MINOR CHILDREN, REAL PARTY IN INTEREST A.V., REAL
PARTY IN INTEREST S.V.; MAMIE BROADHURST, REVEREND, ON BEHALF OF
THEMSELVES AND ON BEHALF OF THEIR MINOR CHILD, REAL PARTY IN
INTEREST N.W.; RICHARD WILLIAMS, REVEREND, ON BEHALF OF
THEMSELVES AND ON BEHALF OF THEIR MINOR CHILD, REAL PARTY IN
INTEREST N.W.; JEFF SIMS, REVEREND, ON BEHALF OF HIMSELF AND ON
BEHALF OF HIS MINOR CHILDREN, REAL PARTY IN INTEREST A.S., REAL PARTY
IN INTEREST C.S. 1, REAL PARTY IN INTEREST C.S. 2; JENNIFER HARDING, ON
BEHALF OF THEMSELVES AND ON BEHALF OF THEIR MINOR CHILD, REAL PARTY
IN INTEREST A.O.; BENJAMIN OWENS, ON BEHALF OF THEMSELVES AND ON
BEHALF OF THEIR MINOR CHILD, REAL PARTY IN INTEREST A.O.; DAVID
HAWLEY, ON BEHALF OF THEMSELVES AND ON BEHALF OF THEIR MINOR
CHILDREN REAL PARTY IN INTEREST A.H., REAL PARTY IN INTEREST L.H.;
ERIN HAWLEY, ON BEHALF OF THEMSELVES AND ON BEHALF OF THEIR MINOR
CHILDREN, REAL PARTY IN INTEREST A.H, REAL PARTY IN INTEREST L.H.;
DUSTIN MCCRORY, ON BEHALF OF THEMSELVES AND ON BEHALF OF HIS
MINOR CHILDREN, REAL PARTY IN INTEREST E.M.; REAL PARTY IN INTEREST
P.M., REAL PARTY IN INTEREST L.M.; GARY SERNOVITZ, ON BEHALF OF
THEMSELVES AND ON BEHALF OF THEIR MINOR CHILD, REAL PARTY IN
INTEREST T.S.; MOLLY PULDA, ON BEHALF OF THEMSELVES AND ON BEHALF
OF THEIR MINOR CHILD. REAL PARTY IN INTEREST T.S.; CHRISTY ALKIRE, ON
BEHALF OF HERSELF AND ON HEHALF OF HER MINOR CHILD, REAL PARTY IN
INTEREST L.A.; JOSHUA HERLANDS, ON BEHALF OF HIMSELF AND ON BEHALF
OF HIS MINOR CHILDREN, REAL PARTY IN INTEREST E.H., REAL PARTY IN
INTEREST J.H.,
                                       Plaintiffs-Appellees

                                      v.

CADE BRUMLEY, IN HIS OFFICIAL CAPACITY AS THE LOUISIANA STATE
SUPERINTENDENT OF EDUCATION; CONRAD APPEL, IN HIS OFFICIAL CAPACITY
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AS A MEMBER OF THE      LOUISIANA STATE BOARD OF ELEMENTARY AND
SECONDARY EDUCATION (LSBESE); JUDY ARMSTRONG, IN HER OFFICIAL
CAPACITY AS A MEMBER OF THE LSBESE; KEVIN BERKEN, IN HIS OFFICIAL
CAPACITY AS A MEMBER OF THE LSBESE; PRESTON CASTILLE, IN HIS
OFFICIAL CAPACITY AS A MEMBER OF LSBESE; SIMONE CHAMPAGNE, IN HER
OFFICIAL CAPACITY AS A MEMBER OF THE LSBESE; SHARON LATTEN-CLARK,
IN HER OFFICIAL CAPACITY AS A MEMBER OF THE LSBESE; LANCE HARRIS, IN
HIS OFFICIAL CAPACITY AS A MEMBER OF LSBESE; PAUL HOLLIS, LOUISIANA
STATE BOARD OF ELEMENTARY AND SECONDARY EDUCATION; SANDY
HOLLOWAY, IN HER OFFICIAL CAPACITY AS A MEMBER OF THE LSBESE;
STACEY MELERINE, IN HER OFFICIAL CAPACITY AS A MEMBER OF THE
LSBESE; RONNIE MORRIS, IN HIS OFFICIAL CAPACITY AS A MEMBER OF THE
LSBESE; EAST BATON ROUGE PARISH SCHOOL BOARD; LIVINGSTON PARISH
SCHOOL BOARD; VERNON PARISH SCHOOL BOARD; ST. TAMMANY PARISH
SCHOOL BOARD,
                                      Defendants-Appellants
                      _________________________

             On Appeal from the United States District Court
                  for the Middle District of Louisiana
               No. 3:24-cv-517, Hon. John W. deGravelles
                    _________________________

                MOTION FOR STAY PENDING APPEAL
                    _________________________
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           CERTIFICATE OF INTERESTED PERSONS

     A certificate of interested persons is not required here because,

under the fourth sentence of Fifth Circuit Rule 28.2.1, Appellants—as

“governmental” parties—need not furnish a certificate of interested

persons.



                                                /s/ J. Benjamin Aguiñaga
                                                J. BENJAMIN AGUIÑAGA
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                                     MOTION

      Under Federal Rules of Appellate Procedure 8 and 27, Defendants-

Appellants, Louisiana officials and school boards (the State or

Defendants), respectfully move the Court to stay the district court’s

preliminary-injunction order entered November 12, 2024, pending

appeal. See Ex.A (Op.). The underlying statute at issue requires

compliance by January 1, 2025. Accordingly, Defendants request that

this Court’s stay issue as soon as practicable given the statutory

deadline.1




1   Counsel for Plaintiffs advised that Plaintiffs oppose the requested relief and will
file a response.


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                           INTRODUCTION

     This is not the blockbuster case Plaintiffs hoped it would be. H.B. 71

requires Louisiana schools to post in each classroom a display barely

larger than letter-size paper that reflects the Ten Commandments and

its historical context. This should not be controversial. After all, the

Supreme Court itself has emphasized that the Ten Commandments

“have historical significance as one of the foundations of our legal

system.” Am. Legion v. Am. Humanist Ass’n, 588 U.S. 29, 53 (2019).

Nonetheless, five days after Governor Landry signed H.B. 71 into law,

Plaintiffs rushed to federal court eager to proclaim in press releases and

media interviews that they were first in line to attack the Ten

Commandments.

     The problem? Neither this Court nor the Supreme Court has ever

adjudicated an Establishment Clause case based on religious displays

that no one has seen. In fact, the en banc Court has squarely held that

such claims are not ripe. More still, because Plaintiffs concededly assert

facial challenges, their burden is to show that every possible H.B. 71

display is unconstitutional. But that is an impossible burden for them to

carry, not least because they have never seen such a display and there



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are quite literally an infinite number of potential H.B. 71 displays that

are constitutionally compliant.

     Undeterred, the district court issued a 177-page opinion enjoining

Defendants from implementing H.B. 71. Respectfully, it is difficult to

read that opinion as anything other than a rejection of this Court’s and

the Supreme Court’s precedents no matter the likelihood of reversal on

appeal. The State is exceedingly likely to succeed on appeal—and every

day that Defendants are unable to comply with H.B. 71 ahead of its

January 1, 2025, compliance deadline causes irreparable harm. The

Court should stay the injunction pending appeal.

                 JURISDICTIONAL STATEMENT

     On November 12, the district court issued its preliminary

injunction. Ex.A. The State appealed that ruling the same day.

Dist.ECF.87. This Court has jurisdiction under 28 U.S.C. §1292(a)(1).

                           BACKGROUND

  A. H.B. 71

     Ten Commandments displays are part of “the rich American

tradition of religious acknowledgements,” Van Orden v. Perry, 545 U.S.

677, 689-92 (2005) (plurality). They therefore appear on “government



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property” across the country—and indeed within and outside the

Supreme Court’s “own Courtroom.” Id. at 688.

     This summer, Louisiana enacted H.B. 71, which requires public

schools to display the Ten Commandments in classrooms. La. R.S.

§17:2124. H.B. 71 specifies that the Commandments’ text must be

“identical” to that upheld in Van Orden, in “large, easily readable font,”

on “a poster or framed document that is at least eleven inches by fourteen

inches,” and “the central focus” of the display. Id. §§17:2124(B)(1), (B)(6).

Each display must include a three-paragraph “context statement” about

the history of the Ten Commandments in American public education. Id.

§17:2124(B)(3). “[E]ach governing authority” will determine “[t]he nature

of the display,” including additional and different contextual elements.

Id. §§17:2124(B)(1), (B)(4). No school is required to pay for the displays

but must either accept donations or donated displays. Id. §17:2124(B)(5).

     By January 1, 2025, (a) schools must comply with H.B. 71, (b) the

Louisiana State Board of Elementary and Secondary Education (BESE)

must “adopt rules and regulations in accordance with the Administrative

Procedure Act” for the law’s implementation, and (c) the Department of

Education must “identify appropriate [compliance] resources” that are



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“free of charge” and list them on the department’s website. Id.

§§17:2124(B)(1), (B)(6)(a), (B)(6)(b).

   B. Plaintiffs’ Lawsuit

      Five days after Governor Landry signed H.B. 71 into law, Plaintiffs

sued the Louisiana State Superintendent of Education, Cade Brumley,

the BESE members in their official capacities, and five parish school

boards (East Baton Rouge, Vernon, Livingston, St. Tammany, and

Orleans). Dist.ECF.1. Plaintiffs claim H.B. 71 violates the First

Amendment’s Establishment Clause (Count I) and Free Exercise Clause

(Count II). Their claims—as they concede, and the district court agreed—

are facial challenges, which means that, “under binding Fifth Circuit

precedent, they must show that H.B. 71 is ‘unconstitutional in every

application.’” Op.8 (quoting Croft v. Perry, 624 F.3d 157, 164 (5th Cir.

2010)). Plaintiffs then sought to enjoin Defendants (and apparently

several others not before the court) from complying with H.B. 71.

Dist.ECF.20.

      Defendants moved for dismissal under Rules 12(b)(1) and 12(b)(6),

pointing out that binding Fifth Circuit precedent not only bars this

lawsuit on jurisdictional grounds, but it (and Supreme Court precedent)



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also foreclose this lawsuit on the merits. To illustrate these points,

Defendants emphasized that no one had seen (and still no one has seen)

an H.B. 71 display—and there are quite literally innumerable ways to

create an H.B. 71 display in a constitutionally compliant manner.

Defendants thus offered several illustrations (reproduced by the district

court, Op.63-77), including the following:




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     To be clear, Defendants themselves do not know how they will carry

out their obligations under H.B. 71—nor is there any record evidence how

the Defendant school boards here or any other Louisiana school board

will go about selecting and posting their own H.B. 71 displays. As these

illustrations show, however, the possibilities are endless.

  C. District Court’s Order

     Notwithstanding all this, on November 12, the district court

entered a 177-page opinion holding that H.B. 71 is “FACIALLY



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UNCONSTITUTIONAL             and        UNCONSTITUTIONAL              IN      ALL

APPLICATIONS.” Op.176-77. Despite its length, the order offers little by

way of analysis, largely consisting of block quotes and summaries of the

parties’ briefing. Nonetheless, the district court eschewed this Court’s

precedent, which forecloses jurisdiction in this case on ripeness,

standing, and sovereign-immunity grounds. Turning to the merits, the

court also found that H.B. 71 violates the Establishment Clause and the

Free Exercise Clause. Relying on Stone v. Graham, 449 U.S. 39 (1980)—

and in fact, applying the now-defunct Lemon test—the court concluded

“any purported purpose [of H.B. 71] was not sincere but rather a sham,”

chalking up the real purpose to “fundraising efforts of the Governor.”

Op.6, 95-97. The court also determined that H.B. 71 would still be

unlawful “even if the Court did examine” Plaintiffs’ claims “under

subsequent caselaw.” Op.112, 151-52.

     Accordingly,      the   lower      court   enjoined    Defendants        from

implementing H.B. 71 and ordered Defendants Brumley and members of

BESE to “provid[e] notice of this order and H.B. 71’s unconstitutionality

to all Louisiana public elementary, secondary, and charter schools, and

all public post-secondary education institutions.” Op.177 (the Notice



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Provision). The district court also denied Defendants’ motion to stay the

injunction. Id. at 175.

     Defendants immediately appealed and sought an administrative

stay of the Notice Provision pending the Court’s disposition of this

motion. Dkt.12. This Court granted the administrative stay on

November 15. Dkt.32.

                          STANDARD OF REVIEW

     The Court considers four factors when considering whether a stay

pending appeal is appropriate: “(1) whether the applicant has made a

strong showing of likelihood to succeed on the merits; (2) whether the

movant will be irreparably harmed absent a stay; (3) whether issuance

of a stay will substantially injure other interested parties; and (4) where

the public interest lies.” Vote.org v. Callanen, 39 F.4th 297, 302-03 (5th

Cir. 2022). “[W]hen a serious legal question is involved,” movants “need

only present a substantial case on the merits … and show that the

balance of equities weighs in favor of granting a stay.” Campaign for S.

Equal. v. Bryant, 773 F.3d 55, 57 (5th Cir. 2014).




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                              ARGUMENT

I. The State Is Likely to Succeed on Appeal.

  A. The District Court Lacks Subject Matter Jurisdiction.

     1. Plaintiffs’ Claims Are Not Ripe.

     The district court’s rejection of this Court’s ripeness precedent in

religious-display cases ends this case. In the ordinary case, a claim is not

ripe if (a) it is not “fit for judicial decision” and (b) there would be no

“hardship to the parties” if the court withheld its consideration.

Braidwood Mgmt., Inc. v. EEOC, 70 F.4th 914, 930 (5th Cir. 2023).

     The en banc decision in Staley v. Harris County, 485 F.3d 305 (5th

Cir. 2007), is squarely on point. There, because “no decision ha[d] been

made regarding any aspect of the future display” of a monument

featuring an open Bible, the Court was “unable to conduct the fact-

intensive and context-specific analysis required” by the “Supreme Court

decisions addressing the constitutionality of Ten Commandments

displays.” Id. at 308-09. The “claim that the Establishment Clause may

be violated” in the future was “not ripe for review.” Id. at 309 (emphasis

added).




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      Plaintiffs here likewise challenge only unspecified future H.B. 71

displays that they presume may violate their rights. But nobody knows

how Plaintiffs’ schools (or any school) will select H.B. 71 displays, what

size they will be, where they will be located within the classroom, or what

additional context may be included. So Staley says this case is unripe.

      The district court nonetheless tried to side-step Staley by reasoning

that, while in Staley there was no decision regarding “any aspect” of the

future display, here, due to statutory language, it is “known when, where,

and under what circumstances the Ten Commandments will be displayed

in public schools.” Op.32. But in Staley, the Court had far more

information about the future display because the plaintiff had actually

seen the display, see 485 F.3d at 309, and the Court—in a panel opinion

authored by the same judge—had previously concluded the monument

was unconstitutional. The Court knew (a) the monument’s dimensions;

(b) its engraving; (c) its shape (like a lectern); (d) its central feature (an

open Bible in a display case); (e) the Bible’s dimensions; (f) a red neon

light surrounding the Bible; (g) the yearly cost the government paid to

illuminate the monument; and (h) the practice of turning pages of the

Bible. See Staley v. Harris County, 461 F.3d 504, 506-07 (5th Cir. 2006)



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(Jolly, J.). But without the actual display on, well, display, the plaintiff’s

claims were not ripe. Staley, 485 F.3d at 309 (Jolly, J.). Here, because

there are no H.B. 71 displays yet, there are by definition fewer details

available than there were about the Staley monument.

     Plaintiffs   also   cannot   establish    “hardship”     resulting      from

“withholding court consideration.” Braidwood, 70 F.4th at 930. Such

hardship “inhere[s] in legal harms, such as the harmful creation of legal

rights or obligations; practical harms on the interests advanced by the

party seeking relief, and the harm of being forced to modify one’s behavior

in order to avoid future consequences.” Choice Inc., 691 F.3d at 715. Here,

H.B. 71 creates no legal rights or obligations for Plaintiffs; Plaintiffs are

not currently subject to any H.B. 71 display; and there is no practical

impediment to Plaintiffs filing suit if they actually encounter a display.

Their claims are not ripe—and that ends this case.

      2. Plaintiffs Lack Article III Standing.

      For similar reasons, Plaintiffs also cannot establish standing. Most

significantly, Plaintiffs have not established a “concrete, particularized,

and actual or imminent” injury-in-fact. Murthy v. Missouri, 603 U.S. 43,

57 (2024). “In cases involving religious displays and exercises,” this Court



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has “required an encounter with the offending item or action to confer

standing.” Barber v. Bryant, 860 F.3d 345, 353 (5th Cir. 2017). Even then,

a simple encounter “represent[s] the outer limits of what is

constitutionally cognizable.” Freedom From Religion Found., Inc. v.

Mack, 49 F.4th 941, 949 (5th Cir. 2022). Never having seen an H.B. 71

display, therefore, Plaintiffs cannot establish standing under Barber.

      Nevertheless, relying on Ingebretsen v. Jackson Public School

District, 88 F.3d 274 (5th Cir. 1996), the district court held that Plaintiffs

had standing because H.B. 71 made an encounter with an allegedly

unconstitutional display “inevitable.” Op.35. But if past offense from

encountering an actual display represents Article III’s “outer limits,”

surely future offense at a not-yet-existent display lies well beyond them.

      Regardless, it is not “inevitable” that every H.B. 71 display will

cause the Establishment Clause harms Plaintiffs allege. Indeed, as

Defendants illustrated, many possible variations of an H.B. 71 display

would not even conceivably encourage Plaintiffs to “venerate” or “adopt”

the Commandments. Cf. Op.37 (citing Plaintiffs’ claims). Plaintiffs have

no way of knowing which among these myriad options hypothetical

private donors might present to their schools. This is exactly why “[t]he



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religious-display cases do not provide a basis for standing to challenge

the endorsement of beliefs that exist only in the text of a statute.” Barber,

860 F.3d at 354.

     Having suffered no injury, and facing no imminent and concrete

future injury, Plaintiffs also cannot show causation, Murthy, 603 U.S. at

76, or redressability, TransUnion LLC v. Ramirez, 594 U.S. 413, 427

(2021).

     3. Brumley and BESE Members Are Entitled to Sovereign
        Immunity.

     Last, the claims against Brumley and BESE members “are

effectively suits against a state” barred by the Eleventh Amendment. City

of Austin v. Paxton, 943 F.3d 993, 997 (5th Cir. 2019). The district court

incorrectly applied Ex parte Young’s equitable exception to allow the

claims anyway. Op.54.

     Ex parte Young’s “straightforward inquiry” asks “whether [the]

complaint alleges an ongoing violation of federal law.” Verizon Md., Inc.

v. Pub. Serv. Comm’n of Md., 535 U.S. 635, 645 (2002); accord K.P. v.

LeBlanc, 627 F.3d 115, 124 (5th Cir. 2010) (Ex parte Young applies only

“where a state actor enforces an unconstitutional law”). There is no

ongoing violation here because Defendants have not carried out their


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obligations under H.B. 71. Moreover, the district court was wrong to rely

(Op.54) on cases where threatened enforcement of a challenged law

against a plaintiff suffices to meet the ongoing-harm requirement.

H.B. 71 does not apply to Plaintiffs and, by definition, can never be

enforced against them.

     Defendants also lack the requisite enforcement authority. This

Court has repeatedly held that the “general duty to see that the laws of

the state are implemented” is insufficient to invoke the Ex parte Young

exception. Tex. All. For Retired Ams. v. Scott, 28 F.4th 669, 671 (5th Cir.

2022). Instead, the official must exercise some form of “compulsion or

constraint.” Id.; see City of Austin, 943 F.3d at 1001-02 (collecting

examples).

     These Defendants have no such authority under H.B. 71. For BESE

members, the district court relied on their obligation to “adopt rules and

regulations … to ensure the proper implementation of” H.B. 71, La. R.S.

§17:2124(6)(a). Op.54. That, of course, is not “compulsion and constraint.”

Scott, 28 F.4th at 671. To conclude otherwise, the district court relied on

Book People, Inc. v. Wong, 91 F.4th 318 (5th Cir. 2024). But there, officials

had authority to “compel [plaintiffs] to submit ratings with which they



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disagree[d],” and “constrain [plaintiffs] from continuing to do business

with school districts.” Id. at 335. No one knows whether any BESE

regulation would be comparable, which is independently fatal. See Whole

Woman’s Health v. Jackson, 595 U.S. 30, 44 (2021) (that an agency

“might in the future promulgate” a rule is insufficient for Ex parte Young

purposes).

     For Brumley, the district court focused on a general duty to

“implement the policies and programs of the board and laws affecting

schools under the jurisdiction of the board,” La. R.S. §17.22(3); see Op.55.

But Brumley’s only obligation to “implement” H.B. 71 is limited to

“identify[ing] appropriate resources to comply” with H.B. 71 and

“list[ing]” those resources online. La. R.S. §17:2124(6)(b). That is not

compulsion or constraint.

  B. Plaintiffs Fail to State an Establishment Clause Claim.

     If the Court reaches the merits, the district court’s Establishment

Clause holding is profoundly wrong, not least because the court applied

the wrong test.




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     1. H.B. 71 Does Not Implicate the Historical Hallmarks of an
        Establishment.

     For decades, the Lemon test haunted Establishment Clause

jurisprudence, encouraging courts and plaintiffs to “purge from the public

square anything” that “partakes of the religious.” Kennedy v. Bremerton

Sch. Dist., 597 U.S. 507, 535 (2022). In Kennedy, the Court “abrogated”

the Lemon test. Groff v. DeJoy, 600 U.S. 447, 460 & n.7 (2023). In its

place, Kennedy emphasized “that the Establishment Clause must be

interpreted by reference to historical practices and understandings.” 597

U.S. at 510.

     But the Court did not stop there. Rather, Kennedy also described

what the key practices and understandings are—namely, “the hallmarks

of religious establishments the framers sought to prohibit when they

adopted the First Amendment.” Id. at 537. The point of identifying these

hallmarks, Kennedy’s author had previously explained, was to give

guidance “localities and lower courts can rely on,” ameliorating the

“serious” and “challeng[ing]” work of reconstructing the history from

scratch in every case. Shurtleff v. City of Boston, 596 U.S. 243, 285 (2022)

(Gorsuch, J., concurring), cited in Kennedy, 597 U.S. at 537 n.5.

     There are six hallmarks:


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     a. “the government exerted control over the doctrine and
        personnel of the established church”;

     b. “the government mandated attendance in the established
        church and punished people for failing to participate”;

     c. “the government punished dissenting churches and
        individuals for their religious exercise”;

     d. “the government restricted political participation by
        dissenters”;

     e. “the government provided financial support for the
        established church, often in a way that preferred the
        established denomination over other churches”; and

     f. “the government used the established church to carry out
        certain civil functions, often by giving the established
        church a monopoly over a specific function.”

Id. at 286 (Gorsuch, J., concurring).

     Because this is a “facial challenge,” Plaintiffs’ burden was to “show

that there is no set of circumstances under which [H.B. 71] is

constitutional”—i.e., that it is “unconstitutional in every application.”

Croft, 624 F.3d at 164. But neither Plaintiffs nor the district court

seriously contend that any potential H.B. 71 display implicates these

hallmarks, much less that every conceivable one does.

     Nor could they, as “[n]o one at the time of the founding is recorded

as arguing that the use of religious symbols in public contexts was a form

of religious establishment.” Shurtleff, 596 U.S. at 287 (Gorsuch, J.,



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concurring) (citation omitted). Indeed, one of Defendants’ illustrations

merely tracks the Supreme Court’s own Ten Commandments display,

whose legality “no Member of the Court” has ever questioned. Am.

Legion, 588 U.S. at 53. That should have been enough to resolve this

case—and it is all this Court needs to know to conclude that Louisiana is

eminently likely to prevail in this appeal.

     Invoking Homer, the district court complained that, by making this

argument, the State was “leaving potential challengers like Menelaus

trying to seize and hold the ever shape-shifting Proteus until Proteus

eventually tires and divulges the hero’s way of the island.” Op.81.

“[P]hrased another way,” the district court said, the State “would have

aggrieved parents and children play an endless game of whack-a-mole,

constantly having to bring new lawsuits to invalidate any conceivable

poster that happens to have the Decalogue on it.” Id.

     This complaint lays bare the district court’s fundamental

misapprehension of facial challenges: They are “hard to win” by design,

Moody v. NetChoice, LLC, 144 S. Ct. 2383, 2409 (2024), because (as the

district court purported to accept, Op.8) Plaintiffs must prove that every

possible H.B. 71 display is unconstitutional. That they obviously cannot



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do so is not the State’s fault—to borrow the district court’s vernacular, by

bringing a facial challenge, Plaintiffs themselves elected to become

Menelaus and play a game of whack-a-mole. The obvious solution to the

district court’s concern is an as-applied challenge to a discrete display if

and when Plaintiffs see one. It is not to underrule settled facial-claim

jurisprudence, as the district court did.

     2. The District Court’s Alternative Establishment Clause
        Theories Are Meritless.

     The district court sought to end-run Kennedy’s hallmarks test in

two ways, both meritless.

     a. First, the district court held that H.B. 71 “runs afoul of” the

Supreme Court’s per curiam decision in Stone, which struck down a

Kentucky law requiring Ten Commandments displays in public-school

classrooms. Op.6, 89-92. But Stone is Lemon to its core—Stone concluded

that Kentucky “had no secular legislative purpose” as required by “the

first part of the Lemon v. Kurtzman test.” 449 U.S. at 41, 43. In Kennedy,

meanwhile, the Court expressly disapproved of Lemon’s “call[] for an

examination of a law’s purposes.” 597 U.S. at 534. And it said the Court

has “abandoned” not only Lemon itself but also its “progeny” and

“offshoot[s]”—a category undoubtedly including Stone. Id.


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     In any event, Stone at minimum was “built upon” a test the

Supreme Court has “walked back from.” Dialysis Newco, Inc. v. Cmty.

Health Sys. Grp. Health Plan, 938 F.3d 246, 259 (5th Cir. 2019). So even

if this Court had to follow Stone in a case just like it, this Court certainly

cannot “extend [that decision’s] reasoning” to other facts. Id. at 257-59 &

n.11. And Stone is distinguishable here, for two reasons.

     One, in Stone, the displays “stood alone” as an “isolated exhibition”

“not part of an arguably secular display.” McCreary County v. ACLU, 545

U.S. 844, 867-68 (2005):




Dist.ECF.57-3 (full-page rendering). Even in the Lemon era, the Supreme

Court understood this as critical to Stone’s scope—discussing Stone with



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respect to a later standalone Commandments display, McCreary, 545

U.S. at 867-68, but resolving on different grounds a dispute over another

display presenting the Commandments “in the company of other

documents,” id. at 871. Here, meanwhile, no one knows what H.B. 71

displays will look like in practice. But consistent with H.B. 71’s text, the

illustratives above depict the Ten Commandments surrounded by a

variety of other content that indicates a wide array of pedagogical

purposes—which is worlds away from the displays in Stone. Supra p.6–9.

     Two, Stone rejected Kentucky’s proffered secular purpose as a

sham—explaining that it was based solely on a one-sentence “notation”

untethered to the educational context (and indeed, which did not even

claim that the secular purpose was the legislature’s). 449 U.S. at 41-42.

Here, meanwhile, H.B. 71 requires that each display include a three-

paragraph “context statement” explaining “The History of the Ten

Commandments in American Public Education.” La. R.S. §17:2122(B)(3).

And it explicitly articulates the Legislature’s secular historical and

educational purposes for displaying the Ten Commandments. Id.

§17:2122(A)(1)-(9).




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     These distinctions mattered even before Lemon’s overruling. See

ACLU of Ky. v. Mercer County, 432 F.3d 624, 634 (6th Cir. 2005)

(“Whatever is left of Stone is limited to circumstances involving public

displays of the Ten Commandments in isolation.”). But the district court

rejected them, instead second-guessing the Legislature’s “purported

secular purpose” based on extra-textual statements by “H.B. 71’s

primary sponsor” and a “fundraising email” from “Governor Landry,” via

judicial notice of as reported in “the local paper.” Op.95-96. Not even

Stone adverted to such dubious sources in its search for Kentucky’s true

“purpose.” So the district court’s reasoning is not merely a rote

application of Stone—it is an aggressive resurrection of Lemon, which

thumbs a nose at Kennedy.

     b. Second, the district court wrongly claimed that H.B. 71 “would

be unconstitutional under Kennedy.” Op.10. This is so, according to the

district court, because H.B. 71 does not “fit[] within a broader tradition”

of “permanently displaying the Decalogue in public-school classrooms at

the time of the Founding or of incorporation.” Op.153.

     This misunderstands Kennedy’s analysis. Of course a practice is

constitutional if it is supported by a sufficiently lengthy tradition. E.g.,



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Town of Greece v. Galloway, 572 U.S. 565, 575-76 (2014). But to hold that

it must be so supported “confuses a sufficient condition for a necessary

one.” Mack, 49 F.4th at 950. Under Kennedy, the threshold question is

whether the challenged practice implicates the historical “hallmarks of

religious establishments.” 597 U.S. at 537 & n.5. If not, it does not violate

the Establishment Clause—regardless of whether a specific tradition

affirmatively supports it. See Kennedy, 597 U.S. at 534-42 (upholding

challenged practice without inquiry into whether it was a longstanding

tradition dating back to the Founding).

     In addition, even on the district court’s (erroneous) view of the

Kennedy test, H.B. 71 would be constitutional. As H.B. 71 explains, the

“Ten Commandments were a prominent part of American public

education for almost three centuries,” featuring in the most widespread

textbooks used in early American education. La. R.S. §17:2122(B)(3).

(citing The New England Primer and the McGuffey Readers). Record

excerpts from those textbooks amply bear that out. See Dist.ECF 57-10–

57-18. Resisting this conclusion, the district court relied on Plaintiffs’

“expert” to reason that, tallying up the Ten Commandments lessons

against the total number of lessons in these books, “references to the



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Decalogue” were too “scattered and infrequent” to count. Op.160. But this

reduction of the First Amendment to a law-professor-driven counting

exercise bears no resemblance to the analyses employed in Kennedy,

Town of Greece, or Mack.2

      Alternatively, the district court held that “[e]ven if there were a

broader tradition,” H.B. 71 would not be “consistent with” it because the

statute is “discriminatory and coercive.” Op.131-134, 161. The court said

H.B. 71 was “discriminatory” because it “requires a version of the Ten

Commandments that many Protestants use” and therefore “fails to

select … versions of the Ten Commandments … ‘without regard for

belief.’” Op.131 (quoting Mack, 49 F.4th at 958).

      But the quoted language—ripped from a case about a government

official’s selection of outside prayer-givers to deliver their own prayers—

makes no sense in a case about the government’s own speech. If

governmental religious acknowledgments must be limited to imagery all

faiths share, then there can be no such acknowledgments at all. But see



2  Plaintiffs’ expert is Professor Steven Green, former legal director of Plaintiffs’
counsel, Americans United for Separation of Church and State. His report opined
that “the Ten Commandments are not a foundation of the American government or
legal system,” Dist.ECF.50-2 at 11, despite the Supreme Court’s recognition in
American Legion that they are.


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Am. Legion, 588 U.S. at 38 (upholding Latin cross, “preeminent Christian

symbol”). More importantly, the district court’s theory defies precedent:

In Van Orden, both this Court and the Supreme Court upheld a Ten

Commandments display featuring a “version” of the Commandments

that is identical to that used here. La. R.S. §17:2122(A)(6); see 545 U.S.

at 707 (Stevens, J., dissenting). So whatever limits there are on

“discriminatory” display designs, H.B. 71 does not transgress them.

     As for “coercive,” the district court adopted Plaintiffs’ allegations

that “posting the Ten Commandments” would “unconstitutionally

pressure[] students” into “veneration.” Op.10-11, 132-134. But it failed to

cite a single case holding that purely passive religious imagery was

unconstitutionally coercive. This is understandable because—consistent

with the hallmarks—precedent prohibits only coercion “to engage in ‘a

formal religious exercise,’” like prayer or devotional Bible reading.

Kennedy, 597 U.S. at 536-37. But “the mere display on public property of

[a religious symbol] is in no meaningful sense either a religious activity

or coercive.” Briggs v. Mississippi, 331 F.3d 499, 505 (5th Cir. 2003). As

this en banc Court has put it: “If no religious activity is at issue, any

speculation as to whether students might feel pressured to participate is



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irrelevant.” Doe v. Beaumont Indep. Sch. Dist., 240 F.3d 462, 470 (5th

Cir. 2001).

   C. Plaintiffs Fail to State a Free Exercise Clause Claim.

      The district court’s Free Exercise holding likewise is demonstrably

wrong and unprecedented. Indeed, just as the court failed to cite any case

finding a passive religious display coercive in violation of the

Establishment Clause, supra p.18–28, it also failed to cite any case

determining that such a display violates the Free Exercise Clause. There

is no good reason for this case to be the first.

      The most fundamental problem is that H.B. 71 does not “burden”

Plaintiffs’ or their children’s “religious exercise.” Fulton v. City of

Philadelphia, 593 U.S. 522, 532 (2021). The district court worried that

H.B. 71 “is at odds with” Plaintiffs’ “views,” “tradition,” and “teachings.”

Op.143. But the Free Exercise Clause does not obligate the State to

“comport with the religious beliefs of particular citizens,” or “demand

that the Government join in [their] chosen religious practices.” Bowen v.

Roy, 476 U.S. 693, 699-700 (1986). What it protects is exercise—believing,

professing, and engaging in “conduct motivated by religious belief.”

Church of Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 543



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(1993). And nonparticipatory exposure to passive religious imagery does

not pressure or require Plaintiffs to modify, stifle, or violate their

religious exercise in any way.

     This Court’s decision in Murray v. City of Austin, 947 F.2d 147 (5th

Cir. 1991), demonstrates the point. In Murray, the plaintiff alleged that

a cross on a city seal violated the Free Exercise Clause by imposing

“subtle coercion” on him to “adhere to the majoritarian faith” and

“forc[ing] [him] to support” the cross. Id. at 152. This Court “quickly

dispose[d] of” his claim—noting the plaintiff had “fail[ed] to articulate a

sufficient burden or restriction imposed on the free exercise of his

religion.” Id. That case, like this one, was “a ‘far cry from cases dealing

with actual interference,” “actual compulsion,” or any other free-exercise

burden. Id.

  D. At Minimum, the Notice Provision Is Unlawful.

     Finally, the Court has received full stay briefing on the question

whether the Notice Provision is unlawful. See Dkt.12. It is. In response,

Plaintiffs suggested (Dkt.20-1 at 1-4) that the State did not preserve a

challenge     to   the   Notice    Provision        in   the    district      court.

Not so. As Plaintiffs acknowledge (id. at 2)—and as the district court



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twice recognized (Op.150-51, 163)—the State vigorously opposed

Plaintiffs’ enticing the district court to enter the Notice Provision.

Plaintiffs also suggest that the State did not seek to stay the Notice

Provision. Wrong again. The State specifically asked the district court to

stay any injunction order, specifically incorporating its arguments on

jurisdiction, the merits, and Plaintiffs’ inappropriate preliminary-

injunction request. Dist.ECF.39-1 at 49.

II. The Remaining Factors Favor a Stay.

     Aside from likelihood of success, irreparable injury is “most critical”

to the stay inquiry. E.T. v. Paxton, 19 F.4th 760, 764 (5th Cir. 2021). For

a State, its “interest and harm merge with that of the public.” Veasey v.

Abbott, 870 F.3d 387, 391 (5th Cir. 2017) (per curiam). Absent a stay

pending appeal, both the State and the public are irreparably harmed

every day that the Defendants in this case cannot carry out their H.B. 71

obligations in advance of the January 1, 2025, compliance deadline. La.

R.S. §17:2122(B)(1). “When a statute is enjoined, the State necessarily

suffers the irreparable harm of denying the public interest in the

enforcement of its laws.” E.T., 19 F.4th at 770.




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     Meanwhile, Plaintiffs will experience no harm if the district court’s

injunction is stayed pending appeal. Plaintiffs’ claimed below that “the

loss of First Amendment freedoms, for even minimal period of time,

unquestionably constitutes irreparable injury.” Dist.ECF.20-1 at 24. But

there is no loss of First Amendment freedoms. Without knowing how

H.B. 71 will be implemented, Plaintiffs cannot show a stay would

“substantially injure” their interests. Nken v. Holder, 556 U.S. 418, 426

(2009).

                            CONCLUSION

     The Court should stay the district court’s order pending appeal.




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                                          Respectfully submitted,

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                        CERTIFICATE OF SERVICE

      I certify that on November 15, 2024, I filed the foregoing brief with

the Court’s CM/ECF system, which will automatically send an electronic

notice of filing to all counsel of record.



                                                    /s/ J. Benjamin Aguiñaga
                                                    J. BENJAMIN AGUIÑAGA




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                 CERTIFICATE OF COMPLIANCE

     Pursuant to Fifth Circuit Rule 32.3, the undersigned certifies that

this motion complies with:

     (1) the type-volume limitations of Federal Rule of Appellate

Procedure 27 (d)(2) because it contains 5,200 words; and

     (2) the typeface requirements of Rule 32(a)(5) and the type-style

requirements of Rule 32(a)(6) because it has been prepared in a

proportionally spaced typeface (14-point Century Schoolbook) using

Microsoft Word 2016 (the same program used to calculate the word

count).

                                                  /s/ J. Benjamin Aguiñaga
                                                  J. BENJAMIN AGUIÑAGA


Dated:    November 15, 2024




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                 EXHIBIT A
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                                             UNITED STATES DISTRICT COURT

                                             MIDDLE DISTRICT OF LOUISIANA

 DARCY ROAKE, ET AL.
                                                                              CIVIL ACTION
 VERSUS
                                                                              NO. 24-517-JWD-SDJ
 CADE BRUMLEY, ET AL.

                                                         RULING AND ORDER


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  I.     INTRODUCTION

         This matter is before the Court on four motions. The first is the Motion for Preliminary

Injunction (Doc. 20) (“Pls. MPI”) brought by all Plaintiffs. 1 In response, Defendant Orleans Parish

School Board (“OPSB”) filed a Rule 12(b)(1) Motion to Dismiss and Opposition to Motion for

Preliminary Injunction (Doc. 38) (“OPSB MTD”). The other defendants—all represented by the

Louisiana Attorney General (“AG”) and including (1) Cade Brumley, the Louisiana State

Superintendent of Education (“Brumley” or the “Superintendent”); (2) the members of the

Louisiana State Board of Elementary and Secondary Education (“BESE”) (collectively, “BESE

Members”); 2 and (3) the other schoolboards relevant to this action (the “School Board

Defendants”) 3 (collectively, “AG Defendants”)—filed a Consolidated Motion to Dismiss,

Opposition to Plaintiffs’ Motion for Preliminary Injunction, and Alternative Motion for Stay

Pending Appeal (Doc. 39) (“AG Defs. MTD”). Plaintiffs then filed separate replies in support of

their own motion and in opposition to OPSB MTD (Doc. 46) and AG Defs. MTD (Doc. 47). OPSB

filed a reply in support of its motion, (Doc. 52), and AG Defendants did the same, (Doc. 54). The

fourth motion is the AG Defendants’ Conditional Motion to Stay Preliminary Injunctive Relief

Pending Appeal (Doc. 40) (“AG Defs. Motion to Stay”), which Plaintiffs oppose, (Doc. 47). Oral

argument on all of these motions was heard on October 21, 2024. (Docs. 78, 79.)



1
  The plaintiffs in this action are: Reverend Darcy Roake and Adrian Van Young, on behalf of themselves and on
behalf of their minor children, A.V. and S.V.; Reverend Mamie Broadhurst and Reverend Richard Williams, on behalf
of themselves and on behalf of their minor child, N.W.; Reverend Jeff Sims, on behalf of himself and on behalf of his
minor children, A.S., C.S. 1, and C.S. 2; Jennifer Harding and Benjamin Owens, on behalf of themselves and on behalf
of their minor child, A.O.; Erin Hawley and David Hawley, on behalf of themselves and on behalf of their minor
children, A.H. and L.H.; Dustin McCrory, on behalf of himself and on behalf of his minor children, E.M., P.M., and
L.M.; Gary Sernovitz and Molly Pulda, on behalf of themselves and on behalf of their minor child, T.S.; Christy
Alkire, on behalf of herself and on behalf of her minor child, L.A.; and Joshua Herlands, on behalf of himself and on
behalf of his minor children, E.H. and J.H.
2
  The BESE Members include: Conrad Appel, Judy Armstrong, Kevin Berken, Preston Castille, Simone Champagne,
Sharon Latten-Clark, Lance Harris, Paul Hollis, Sandy Holloway, Stacey Melerine, and Ronnie Morris.
3
  The School Board Defendants include: the East Baton Rouge Parish School Board, the Livingston Parish School
Board, the Vernon Parish School Board, and the St. Tammany Parish School Board.

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        This case involves the constitutionality of House Bill No. 71, Act 676 (“H.B. 71” or the

“Act”). This law provides in relevant part:

                No later than January 1, 2025, each public school governing
                authority shall display the Ten Commandments in each classroom
                in each school under its jurisdiction. The nature of the display shall
                be determined by each governing authority with a minimum
                requirement that the Ten Commandments shall be displayed on a
                poster or framed document that is at least eleven inches by fourteen
                inches. The text of the Ten Commandments shall be the central
                focus of the poster or framed document and shall be printed in a
                large, easily readable font.

H.B. 71(B)(1). The Act also mandates that a specific version of the Ten Commandments be used—

a Protestant one contained in the King James Bible. (See Expert Report of Steven K. Green, J.D.,

Ph.D. (“Green Report”) ¶¶ 50–51, Doc. 47-2.)

        The Act requires that the Decalogue be “displayed with a context statement.”

H.B. 71(B)(3). This statement begins, “[t]he Ten Commandments were a prominent part of

American public education for almost three centuries.” Id. Examples purportedly include The New

England Primer from around 1688, McGuffey Readers written in the early 1800s, and textbooks

published by Noah Webster. Id.

        H.B. 71 further provides that a public-school governing authority is not required to spend

its funds to purchase a display; rather, “[a] governing authority may spend its funds or donated

funds to purchase the displays and may accept donated displays.” H.B. 71(B)(5).

        The Act mandates that BESE “adopt rules and regulations . . . to ensure the proper

implementation of” the law. H.B. 71(B)(6)(a). The Louisiana Department of Education must

(1) “identify appropriate resources to comply with the provisions” of the Act “that are free of

charge,” and (2) “[o]nce identified, . . . list the free resources on the department’s internet website.”




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H.B. 71(B)(6)(b). The law goes on to require the same for every public post-secondary education

institution. H.B. 71(C).

           In Pls. MPI, Plaintiffs seek to enjoin (1) all defendants from adopting any rules and

regulations in accordance with the Act and from requiring that the Ten Commandments be

displayed in every public-school classroom in Louisiana, and (2) the School Board Defendants

from displaying the Ten Commandments in any public-school classroom. (Doc. 20 at 1.) 4 In sum,

Plaintiffs argue that H.B. 71 violates the Establishment Clause and the Free Exercise Clause of the

First Amendment. (Id. at 2.)

           The AG Defendants respond with attacks on jurisdiction and the substance of Plaintiffs’

claims. (Doc. 39-1.) Specifically, AG Defendants contend that Plaintiffs’ claims should be

dismissed under Federal Rule of Civil Procedure (“Rule”) 12(b)(1) because (1) the claims are not

ripe in that they require the further factual developments of (a) rules implementing the statute and

(b) encounters with actual displays of the Ten Commandments; (2) Plaintiffs lack standing,

purportedly in every way possible, though mainly because Plaintiffs have allegedly not yet

suffered an injury-in-fact (for essentially the same reasons AG Defendants say the claims are not

ripe); and (3) Defendants Brumley and the BESE Members are entitled to sovereign immunity

because (a) Ex parte Young, 209 U.S. 123 (1908), requires an ongoing violation of harm, not the

risk of a future violation; and (b) these defendants lack the required connection to the Act’s

enforcement. (Id. at 10–11, 17–29.)

           The Court has carefully considered these arguments and will deny AG Defs. MTD. First,

“[i]ssues have been deemed ripe when they would not benefit from any further factual development

and when the court would be in no better position to adjudicate the issues in the future than it is



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    All page citations are to record document page numbers, not internal page numbers.

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now.” Pearson v. Holder, 624 F.3d 682, 684 (5th Cir. 2010) (quoting Simmonds v. INS, 326 F.3d

351, 359 (2d Cir. 2003)). While context is critical in First Amendment cases, see Staley v. Harris

Cnty., 485 F.3d 305, 309 (5th Cir. 2007) (en banc), here, the Court has sufficient information about

what the Ten Commandment displays will look like from the Act itself to determine whether the

display is constitutional:

                  (a) what: a specific Protestant version of the Ten Commandments
                      contained in the King James Bible, as opposed to a Roman
                      Catholic or Jewish version;

                  (b) when and where: in “each public school,” in every “classroom
                      in each school,” all year round, regardless of subject matter, and
                      regardless of the age of the student;

                  (c) why: purportedly for historical reasons, though, as will be
                      explored below, this justification is undermined by the
                      legislative history and fundraising efforts of the Governor; 5 and

                  (d) how: with the “minimum requirements” that the Decalogue
                      “shall be displayed on a poster or framed document that is at
                      least eleven inches by fourteen inches,” with the Ten
                      Commandments as “the central focus of the poster or framed
                      document” and “printed in a large, easily readable font,” and
                      funded with either school funds or private donations. H.B.
                      71(B)(1) (emphasis added).

All of this is sufficient for this Court to find that the Act runs afoul of Stone v. Graham, 449 U.S.

39 (1980), and later cases without the need for further factual development. And Plaintiffs will

endure considerable hardship if the Court delays a decision—specifically, a violation of their First


5
  For example, Governor Landry sent a fundraising email to supporters in response to the filing of this challenge to
H.B. 71 which urged them to help him “ADVANCE [] the Judeo-Christian values that this nation was built upon.”
Patrick Wall, Jeff Landry vows to defend ‘Judeo-Christian values’ after Ten Commandments lawsuit, TIMES-
PICAYUNE (June 25, 2024), https://www.nola.com/news/politics/jeff-landry-lawsuit-ten-commandments-judeo-
christian/articl e_0555d6e6-3314-11ef-863e-1b07594ff87c.html. See also Mealey v. Gautreaux, No. 16-716, 2020
WL 515853, at *23 (M.D. La. Jan. 31, 2020) (deGravelles, J.) (“Courts have the power to take judicial notice of the
coverage and existence of newspaper and magazine articles.” (first citing Washington Post v. Robinson, 935 F.2d 282,
291 (D.C. Cir. 1991) (allowing judicial notice of the existence of newspaper articles); and then citing Jackson v.
Godwin, 400 F.2d 529, 536 (5th Cir. 1968) (finding that newspapers and magazines allowed in a prison carried
extensive coverage of riots to the point where the district court could take judicial notice of such coverage))). See also
Ieradi v. Mylan Lab’ys, Inc., 230 F.3d 594, 598 n.2 (3d Cir. 2000) (taking judicial notice of newspaper article).

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Amendment rights. Ultimately, “one does not have to await the consummation of threatened injury

to obtain preventive relief. If the injury is certainly impending, that is enough.” Thomas v. Union

Carbide Agric. Prods. Co., 473 U.S. 568, 581 (1985) (cleaned up). And “there is no need for

[Plaintiffs] to wait for actual implementation of the statute and actual violations of [their] rights

under the First Amendment where the statute makes inappropriate government involvement in

religious affairs inevitable.” Ingebretsen ex rel. Ingebretsen v. Jackson Pub. Sch. Dist., 88 F.3d

274, 278 (5th Cir. 1996) (cleaned up).

       Second, and for similar reasons, the Court finds that Plaintiffs have a personal stake in the

outcome of the litigation sufficient to confer standing. AG Defendants maintain that Plaintiffs

require a personal encounter with the offending display to sustain an injury, but this rests on a

faulty premise. Courts have recognized that a plaintiff can have standing if injury is “actual or

imminent, not conjectural or hypothetical.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992)

(emphasis added) (cleaned up). For the reasons already given, these Plaintiffs face an imminent

infringement of their First Amendment rights, one which will occur by January 1, 2025. And this

encounter is real and not hypothetical or speculative, as the First Amendment violation will occur

based on the minimum requirements described above. Moreover, Plaintiffs have shown that their

injuries are fairly traceable to the conduct of each defendant based on the allegations of the

Complaint, the language of the Act, and each defendant’s specific statutory duties. Finally, a

favorable ruling by this Court will clearly redress their injuries by averting any constitutional

violations that would otherwise occur. In short, Plaintiffs have standing.

       Third, the Superintendent and BESE Members are not entitled to sovereign immunity. AG

Defendants’ arguments are flawed: (1) it is well established that Ex parte Young applies when

there is a threat of future harm and not merely an ongoing violation, and, as stated above, here



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there is a risk of imminent First Amendment violations; and (2) contrary to AG Defendants’

position, these defendants have a particular duty to enforce the Act, a willingness to do so, and the

ability to compel and constrain others to obey the challenged law. See Book People, Inc. v. Wong,

91 F.4th 318, 335–36 (5th Cir. 2024) (citations omitted). Thus, for many of the same reasons the

Court found standing, the Court also finds that Plaintiffs have satisfied the Ex parte Young

exception as to Brumley and the BESE Members.

       The Court also finds that AG Defendants’ Rule 12(b)(6) motion must be denied.

Preliminarily, Plaintiffs concede that they are making a facial challenge to the Act, so, under

binding Fifth Circuit precedent, they must show that H.B. 71 is “unconstitutional in every

application.” Croft v. Perry, 624 F.3d 157, 164 (5th Cir. 2010). That is, Plaintiffs must show that

“there is no set of circumstances under which” the display of the Ten Commandments is

constitutional under the Act. Id.

       But AG Defendants err in believing this standard ensures them total victory. These

defendants ignore the fact that the Act establishes certain “minimum requirements” that the Ten

Commandments “shall be displayed on a poster or framed document that is at least eleven inches

by fourteen inches,” with the Decalogue as “the central focus of the poster or framed document”

and “printed in a large, easily readable font.” H.B. 71(A)(1) (emphasis added). Further, these

posters must be “display[ed] . . . in each . . . classroom in each school under [the] jurisdiction” of

each school board. Id. Thus, the question before the Court remains whether, as a matter of law,

there is any constitutional way to display the Ten Commandments in accordance with the minimum

requirements of the Act.

       The Court finds that there is not. Specifically, the Act violates the Establishment Clause

for two independent reasons.



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       First, H.B. 71 is impermissible under Stone v. Graham. Though Stone was based on the

test established by Lemon v. Kurtzman, 403 U.S. 602 (1971), which has since been abrogated, this

District Court remains bound to follow Stone until the Supreme Court overrules it, provided Stone

directly controls the case. Stone does so control; the unconstitutional law in Stone and H.B. 71

share the following similarities that make them legally indistinguishable:

               (a) both require that the Ten Commandments be displayed on the
                   wall in every public elementary and secondary school classroom
                   in the state;

               (b) the two laws impose comparable minimum size requirements for
                   the display;

               (c) each statute contains a context statement purporting to describe
                   the historical basis for the display;

               (d) the two statutes allowed for financing by private contributions;

               (e) neither represented or represents “a case in which the Ten
                   Commandments are integrated into the school curriculum,
                   where the Bible may constitutionally be used in an appropriate
                   study of history, civilization, ethics, comparative religion, or the
                   like,” Stone, 449 U.S. at 42; and

               (f) the Louisiana and Kentucky laws both single out the Decalogue
                   for central display while declining to give preferential treatment
                   to foundational documents like the U.S. Constitution, the
                   Declaration of Independence, or the Magna Carta.

Just as in Stone, “[i]f the posted copies of the Ten Commandments are to have any effect at all, it

will be to induce the schoolchildren to read, meditate upon, perhaps to venerate and obey, the

Commandments,” and that “is not a permissible state objective under the Establishment Clause.”

Id. Subsequent cases do not undermine the application of Stone to this case; they strengthen it,

particularly in their emphasis of the heightened First Amendment concerns in the public-school

setting given the impressionability of young students and the fact that they are captive audiences.

See Van Orden v. Perry, 545 U.S. 677, 690–91 (2005) (plurality opinion) (citing Edwards v.

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Aguillard, 482 U.S. 578, 583–84 (1987); and then citing Lee v. Weisman, 505 U.S. 577, 596–597

(1992)). See also id. at 703 (Breyer, J., concurring) (citing, inter alia, Lee, 505 U.S. at 592).

       Second, even if Stone did not control, H.B. 71 would be unconstitutional under Kennedy v.

Bremerton School District, 597 U.S. 507 (2022). The parties disagree somewhat on the appropriate

standard, but a close reading of Kennedy and Fifth Circuit precedent shows that the standard

remains whether the practice at issue “fits within” or is “consistent with a broader tradition.” See

id. at 535–36. Historical evidence is critical to this analysis. See Freedom From Religion Found.,

Inc. v. Mack, 49 F.4th 941, 951, 957 (5th Cir. 2022). Additionally, in looking at whether a

particular practice is consistent with the tradition at issue, the Court must consider whether the

practice is sectarian, discriminatory, or coercive. See id. at 958–59.

       The Court finds that Plaintiffs have adequately pled an Establishment Clause claim post-

Kennedy. The Complaint alleges that there was no broader tradition of using the Ten

Commandments in public-school education at the time of the Founding or incorporation of the

First Amendment. (Compl. ¶¶ 42, 162, Doc. 1.) Further, even if the practice at issue—posting the

Ten Commandments in public-school classrooms—did fit within a broader tradition during those

eras, the Act would still be unconstitutional; as pled, H.B. 71 fails to select historical documents

generally and versions of the Decalogue specifically “without regard for belief,” cf. Mack, 49 F.4th

at 958 (cleaned up), and so, as a result, the practice is discriminatory.

       Most critically though, the Act’s mandatory practice is coercive. As Plaintiffs highlight, by

law, parents must send their minor children to school and ensure attendance during regular school

hours at least 177 days per year. (Compl. ¶¶ 69–70, Doc. 1 (citing La. R.S. §§ 17:221(A)(1)(c),

154.1(A)(1)).) The Complaint further alleges:

               Permanently posting the Ten Commandments in every Louisiana
               public-school   classroom—rendering  them    unavoidable—

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               unconstitutionally pressures students into religious observance,
               veneration, and adoption of the state’s favored religious scripture. It
               also sends the harmful and religiously divisive message that students
               who do not subscribe to the Ten Commandments—or, more
               precisely, to the specific version of the Ten Commandments that
               H.B. 71 requires schools to display—do not belong in their own
               school community and should refrain from expressing any faith
               practices or beliefs that are not aligned with the state’s religious
               preferences. And it substantially interferes with and burdens the
               right of parents to direct their children’s religious education and
               upbringing.

(Id. ¶ 3.) Finally, the Complaint sets forth in detail all the ways these particular Plaintiffs are so

affected by H.B. 71. (See id. ¶¶ 82–155.)

       Looking “holistic[ally]” at the Act, Louisiana law, and the facts as pled in the Complaint

and as supported by Plaintiffs’ declarations, the Court finds that the Plaintiff parents and their

minor children will suffer more than mere “subjective offense,” Mack, 49 F.4th at 958–59; rather,

they face a “real and substantial likelihood of coercion,” id. at 959, because “in every practical

sense,” they will be “compelled [to] attend[] and participat[e] in a religious exercise,” Kennedy,

597 U.S. at 541 (cleaned up). For these additional reasons, the Court finds that the Act violates the

Establishment Clause.

       Additionally, the Court finds that Plaintiffs have established a viable Free Exercise claim.

First, they have sufficiently alleged that the Act burdens their “sincere religious practice[s]” and

beliefs—with respect to both the faiths of these Plaintiffs and the rights of all parents to direct the

religious upbringing of their children. See Kennedy, 597 U.S. at 525 (citation omitted). (See also

Compl. ¶¶ 82–155, Doc. 1.) Second, H.B. 71 is not neutral toward religion, and this is evident from

the text of the statute, its effects, and the statements of lawmakers before and after the Act’s

passage. Third, since the law is not neutral, it easily fails strict scrutiny analysis; even assuming

AG Defendants had established a compelling interest (e.g., for education or history), there are any



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number of ways that they could advance an alleged interest in educating students about the Ten

Commandments that would be less burdensome on the First Amendment than the one required by

H.B. 71. For all these reasons, AG Defs. MTD will be denied on the Free Exercise claim.

       Having denied AG Defs. MTD in full, the Court will grant Pls. MPI. Plaintiffs have satisfied

the four requirements necessary for injunctive relief. First, for all the reasons given in reference to

AG Defs. MTD, and for the additional reasons given by Plaintiffs’ expert Dr. Steven K. Green,

Plaintiffs have easily established a likelihood of success on their Establishment Clause and Free

Exercise claims. In sum, the historical evidence showed that the instances of using the Ten

Commandments in public schools were too “scattered” to amount to “convincing evidence that it

was common” at the time of the Founding or incorporation of the First Amendment to utilize the

Decalogue in public-school education. Cf. Mack, 49 F.4th at 956–57. That is, the evidence

demonstrates that the practice at issue does not fit within and is otherwise not consistent with a

broader historical tradition during those time periods.

       The other requirements for injunctive relief have been satisfied as well. Concerning the

second, “[t]he loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.” Book People, 91 F.4th at 341 (citation omitted). As

to the third and fourth requirements (which merge for AG Defendants), while the State generally

has an interest in the enforcement of its laws, (a) “neither the State nor the public has any interest

in enforcing a regulation that violates federal law,” and (b) “injunctions protecting First

Amendment freedoms are always in the public interest.” Id. (cleaned up). Accordingly, the Court

will grant Pls. MPI and issue an order:

                (1) finding H.B. 71 unconstitutional on its face and in all
                    applications;




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                 (2) prohibiting AG Defendants from (a) enforcing H.B. 71; (b)
                     adopting rules or regulations for the enforcement of H.B. 71;
                     and (c) requiring that the Ten Commandments be posted in
                     every public-school classroom in Louisiana in accordance with
                     H.B. 71;

                 (3) requiring AG Defendants to provide notice of this ruling to all
                     Louisiana public elementary, secondary, and charter schools,
                     and all public post-secondary education institutions; and

                 (4) ordering Plaintiffs to post a bond in the nominal amount of
                     $100.

         Next, OPSB MTD will be granted in part and denied in part. Specifically, Plaintiffs Roake

and Van Young’s children do not attend schools under the jurisdiction of the OPSB, so their claims

against OPSB will be dismissed without prejudice for lack of standing. However, Plaintiffs

Sernovitz, Pulda, and Herlands (individually and on behalf of their children) have established

standing for their claims against this defendant, so OPSB MTD will be denied as to them.

         Finally, for all the above reasons, the Court will deny AG Defs. Motion to Stay the

injunction pending an appeal.

 II.     THE NAMED PLAINTIFFS

         Before turning to the various motions at issue, the Court will first look at the specific

Plaintiffs bringing this action. The following allegations comes from the Complaint (Doc. 1), but

these allegations are supported by the Plaintiffs’ declarations submitted in conjunction with Pls.

MPI. (Compare, e.g., Compl. ¶¶ 82–90, Doc. 1, with Roake Decl., Doc. 20-2.)

         Plaintiff Reverend Roake is an ordained minister in the Unitarian Universalist Church, and

her husband, Plaintiff Van Young, is a Reform Jew. (Compl. ¶ 82, Doc. 1.) The Complaint alleges

they object to the Act “because the overtly religious classroom displays mandated by the law will

promote, and forcibly subject their children to, religious scripture in a manner that violates the

family’s religious beliefs and practices.” (Id. ¶ 83.) Reverend Roake’s faith, which she believes

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and teaches, holds that “forcing religious beliefs on individuals causes them significant spiritual,

psychological, and emotional harm” and “conflicts with her commitment to religious tolerance and

acceptance, which is fundamental to her practice as a Unitarian Universalist and minister.” (Id. ¶

84.) Plaintiff Van Young has similar beliefs about evangelizing and religious tolerance. (Id.)

Plaintiffs allege that Roake and Van Young have undertaken efforts to “guid[e] the spiritual

development of their children, who are being raised in both the Unitarian Universalist and Jewish

traditions,” and that they enrolled the children in public schools to receive a secular education. (Id.

¶ 85.) H.B. 71’s “mandatory religious displays will conflict with their spiritual beliefs and the

spiritual values that they seek to instill in their children” by failing to provide the proper context

for a Unitarian Universalist reading of the Decalogue, by not providing the Torah’s version of the

text, and by “send[ing] the message” that the posted version is the “‘correct’ or superior version

of religious doctrine” and will “constitute official rules that” the children must follow. (Id. ¶¶ 87–

89.) The Complaint concludes its allegations with respect to these Plaintiffs:

               As a result of these messages, Reverend Roake and Mr. Van Young
               believe that their children will be pressured to observe, venerate, and
               adopt the state’s preferred religious doctrine and to suppress
               expression of their own religious backgrounds and views at school.
               This religious coercion will harm their children spiritually and
               substantially interfere with, impede, and burden their children’s
               ability to conduct a free and responsible inquiry for truth and
               meaning and to decide, for themselves, what to believe when it
               comes to matters of faith.

(Id. ¶ 90.)

        Similarly, Plaintiffs Erin and David Hawley and their minor children A.H. and L.H. attend

the Unitarian Universalist church, where Mr. Hawley was the one-time church president. (Id.

¶ 114.) The Complaint details the various ways in which the Act coerces them; for instance:

               The ability to direct and guide their children in matters of faith and
               protect their children’s ability to undertake a free and responsible

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               search for truth and meaning is an essential aspect of the Hawleys’
               religious exercise. H.B. 71 will significantly interfere with and
               burden their ability to carry out this religious exercise.

(Id. ¶ 119.) Plaintiffs allege various other ways the state’s mandated Decalogue conflicts with their

beliefs, (see id. ¶¶ 120–22), many of which were highlighted above with Plaintiffs Roake and Van

Young, (see id. ¶¶ 82–90). Additionally:

               The Hawleys believe that the state’s posting of these religious
               displays in every public-school classroom, untethered to any
               academic lesson, confers on the Ten Commandments the highest
               level of legitimacy—an official stamp of approval that will send the
               message to their children that the state-selected version of the Ten
               Commandments is the “correct” or superior religious doctrine,
               contrary to the family’s [Unitarian Universalist] beliefs and
               practices. They also believe that, as a result of this message and the
               sheer ubiquity of the displays mandated by H.B. 71, their children
               will be pressured into religious observance, veneration, and
               adoption of this scripture, violating the family’s faith tenets and
               interfering with, deterring, or preventing a free and responsible
               search for truth and meaning by their children.

               [ ] The Hawleys further believe that H.B. 71 and the displays it
               mandates send a harmful message to them and their children that
               they are outsiders and not fully part of the school community
               because they do not believe in the state’s official religious scripture.
               They believe that, because of this message, their children will be
               pressured to avoid or truncate their search for spiritual meaning and
               to suppress expression of their own spiritual beliefs and views at
               school.

(Id. ¶¶ 123–24.)

       Likewise, Plaintiffs Reverend Mamie Broadhurst and Reverend Richard Williams are the

parents of N.W., and they are Presbyterian ministers who “strongly believe,” in a way “rooted” in

their religion’s beliefs, “that scriptural matters and questions, including which version of scripture

is correct and what it means, are far too sacred to place in the hands of government officials. They

believe that these are issues that must be reserved for faith communities.” (Id. ¶¶ 91–93.)

Broadhurst and Williams further believe that the government should not “interfere with the

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administration of God’s Word or misappropriate God’s authority,” but they claim the state has

done just that “by placing its stamp of approval on one particular version of the Ten

Commandments and mandating that this version be posted in every public-school classroom.” (Id.

¶ 93.) Plaintiffs allege that this “send[s] a message to all students,” including Broadhurst and

Williams’s child, that “the government holds religious authority.” (Id.) Additionally, they believe

that “[r]eceiving and navigating scripture, such as the Ten Commandments, within the context of

their faith is critical to ensuring that N.W.’s understanding of the commandments aligns with

Presbyterian teachings and values.” (Id. ¶ 94.) The Complaint alleges:

               The Ten Commandments displays posted in N.W’s classrooms will
               not only interfere with and undermine Reverend Broadhurst’s and
               Reverend Williams’s ability to guide N.W.’s religious education,
               but they will also create pressure for N.W. to accept and believe—
               contrary to the family’s Presbyterian faith—the overtly religious
               messages conveyed by them, including that the state has authority
               on theological or scriptural questions and that students who do not
               subscribe to the state’s official version of the Ten Commandments
               are lesser in status. This also will create pressure for N.W. to
               suppress expression, especially in school, of N.W’s own religious
               beliefs on these issues and other religious questions or concerns
               raised by the religious displays.

(Id. ¶ 99.)

        Plaintiff Reverend Jeff Sims is also an ordained Presbyterian minister, and he is the parent

of three minors. (Id. ¶ 101.) The Complaint makes substantially similar allegations with respect to

the effects on Sims as on Broadhurst and Williams. (See id. ¶¶ 101–07.)

        Plaintiffs Jennifer Harding and Benjamin Owens are nonreligious and the parents of a

minor child, A.O., who is an atheist. (Id. ¶ 109.) They believe that the Act’s required displays “will

promote, and forcibly subject their child to, religious scripture to which they and their child do not

subscribe. In so doing, the displays will also usurp Ms. Harding’s and Mr. Owens’s parental role

in directing their child’s non-religious upbringing.” (Id. ¶ 108.) The Complaint provides more

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details as to how their parental rights are interfered with and burdened, (id. ¶¶ 109–13), including

that “H.B. 71’s Ten Commandments displays will impose on A.O. one set of religious values and

beliefs over their family’s values, which are not based in religion.” (Id. ¶ 111.) They “do not want

the government to push religious morality on A.O. (Id.) Harding and Owens also believe the Act

“increase[s] the pressure on A.O. to suppress expression of A.O.’s own nonreligious background

and atheist views at school as well as pressure A.O. to observe, venerate, and adopt the state’s

preferred religious doctrine.” (Id. ¶ 113.)

        Plaintiff Dustin McCrory is an agnostic atheist who is raising his minor children, Plaintiffs

E.M., P.M., and L.M., to be nonreligious. (Id. ¶ 126.) The Complaint raises similar concerns here

as with Harding and Owens, (see id. ¶¶ 125–29), though the pleading adds:

               Mr. McCrory will feel compelled to discuss the Ten
               Commandments with E.M., P.M., and L.M. if the displays will be
               put in their classrooms. He does not wish to be forced to have this
               sensitive conversation with E.M., P.M., and L.M. about the Ten
               Commandments given their young age. He also opposes posting the
               mandated language of H.B. 71 because he believes that it addresses
               age-inappropriate religious content. For example, Mr. McCrory
               does not wish for his elementary-age children to be instructed by
               their school about the biblical conception of adultery.

(Id. ¶ 128.)

        Likewise, Plaintiffs Christy Alkire and her minor plaintiff L.A. are also nonreligious. (Id.

¶ 141.) They raise similar concerns as to the other nonreligious plaintiffs. (Id. ¶¶ 140–45.) The

Complaint adds here:

               L.A. has already felt some pressure in school to be careful about
               exposing L.A.’s nonbelief to other students. L.A. believes that the
               religious displays mandated by H.B. 71 will increase the pressure on
               L.A. to suppress expression of L.A.’s own nonreligious background
               and nonreligious views at school as well as pressure L.A. to observe,
               venerate, and adopt the state’s preferred religious doctrine.

(Id. ¶ 145.)

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        Additionally, Plaintiffs Gary Sernovitz and Molly Pulda are Jewish and are raising their

minor child T.S. in the Reform Jewish tradition. (Id. ¶ 130.) They regularly attend synagogue, and

they are raising T.S. in the public-school system because of their strong belief in separating the

child’s secular education from the child’s religious one, and to oversee the latter to ensure it

complies with Jewish beliefs and practices. (Id. ¶ 130.) These plaintiffs object to the Act

                because, among other reasons, it forcibly imposes on T.S. overtly
                religious classroom displays that are, in many ways, contrary to the
                family’s Jewish faith. Specifically, they believe that H.B. 71
                (1) misappropriates a Jewish text, ripping it from its Jewish context,
                (2) selectively edits that text by altering its meaning and obscuring
                or erasing its Jewish significance, and (3) then mandates the display
                of the altered text to non-Jews, in violation of core Jewish tenets that
                oppose proselytizing. In so doing, the displays are likely to result in
                religious coercion of T.S. and usurp Mr. Sernovitz’s and Ms. Pulda’s
                parental roles in directing T.S.’s religious education, religious
                values, and religious upbringing.

(Id. ¶ 131.) These plaintiffs also object that:

                H.B. 71’s characterization of the Ten Commandments as merely a
                “historically significant document” that reflects nothing more than
                the “function of civic morality to the functioning of self-
                government” improperly denies the sacred significance of the Ten
                Commandments to the Jewish faith. Indeed, Mr. Sernovitz and Ms.
                Pulda believe that this official version of the Ten Commandments
                obscures, and conflicts with, the Reform Jewish tradition on the
                history and meaning of the commandments.

                [ ] Specifically, Mr. Sernovitz and Ms. Pulda do not believe that the
                Ten Commandments are a universal benign ethical guide. The
                language of H.B. 71 omits key biblical text after the first
                commandment that, they believe, makes this clear: In the book of
                Exodus, chapter 20, in the Torah, the words “I am the Lord Your
                God” are followed by “who brought you out of the land of Egypt,
                out of the house of bondage.” This clause is an important part of
                their Jewish understanding of the origins and purpose of the Ten
                Commandments, and omission of this text denies the
                commandments’ specific meaning in their Jewish faith. This
                omission is, for Mr. Sernovitz and Ms. Pulda, tantamount to an
                official, governmental erasure of the Jewish significance of the Ten
                Commandments.

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(Id. ¶ 132–33.) As Reform Jews, these Plaintiffs believe that introducing the Decalogue to their

minor child could be construed as trying to convey proper religious meaning and interpretation

and that this “must occur in the context of the broader Reform Jewish tradition.” (Id. ¶ 134.)

                Indeed, in the modern Jewish tradition, the Ten Commandments
                would rarely, if ever, be displayed on the walls of a religious
                classroom, as the commandments must be interpreted and
                reconciled with many other parts of the Torah and the interpretative
                body of work that has emerged over millennia to understand the
                Torah. In mandating such displays in the secular classroom, H.B. 71
                interferes with Mr. Sernovitz’s and Ms. Pulda’s ability and right to
                address this religious doctrine with T.S. in a manner that complies
                with their faith.

(Id.) These Plaintiffs also view the mandated text as conflicting with Reform Jewish views of

women and the equality between the sexes, and the mandatory displays interfere with these

parents’ ability to teach their child that belief. (Id. ¶ 135.) As with the other parents, “[t]he ability

to direct and guide their child in matters of faith is an essential aspect of Mr. Sernovitz’s and Ms.

Pulda’s religious exercise[,]” and “H.B. 71 will significantly interfere with and burden their ability

to carry out this religious exercise.” (Id. ¶ 136.) These include (1) “undermin[ing] and

interfere[ing] with their ability to instill in T.S. what it means to be specifically Jewish and their

ability to introduce and teach the Ten Commandments to T.S. in a manner that comports with other

important Jewish tenets[,]” (id. ¶ 137); (2) making it so that T.S. “will likely face situations in

which T.S. feels pressured to suppress expression of T.S.’s own Jewish background and beliefs,

including the fundamental Jewish belief in tolerating and supporting the expression of all faiths[,]”

(id. ¶ 138); and (3) “violat[ing] Jewish tenets that oppose proselytizing[,]” (id. ¶ 139).

        Plaintiff Joshua Herlands is also Jewish and is raising his minor children, plaintiffs E.H.

and J.H., within the Jewish tradition. (Id. ¶ 146.) Herlands makes similar objections as Sernovitz

and Pulda, including the objection about missionizing and the fact that the display obscures

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important principles concerning interpretation of the Decalogue. (Id. ¶¶ 146–51.) Herlands also

protests that the version of the Ten Commandments differs from the one contained in the Torah in

significant ways. (Id. ¶¶ 151–52.) Herlands likewise alleges that the Act significantly interferes

with his religious exercise of directing and guiding his children in matters of faith. (Id. ¶¶ 153–

55.)

III.     AG DEFS. MTD: RULE 12(B)(1) MOTION

            A. Rule 12(b)(1) Standard

         In a Rule 12(b)(1) motion, a party may raise the defense of lack of subject matter

jurisdiction. See Fed. R. Civ. P. 12(b)(1). “Under Rule 12(b)(1), a claim is ‘properly dismissed for

lack of subject-matter jurisdiction when the court lacks the statutory or constitutional power to

adjudicate’ the claim.” In re FEMA Trailer Formaldehyde Prods. Liab. Litig., 668 F.3d 281, 286

(5th Cir. 2012) (quoting Home Builders Ass’n of Miss., Inc. v. City of Madison, 143 F.3d 1006,

1010 (5th Cir. 1998)).

         “The burden of proof for a Rule 12(b)(1) motion to dismiss is on the party asserting

jurisdiction.” Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001) (citing McDaniel v.

United States, 899 F. Supp. 305, 307 (E.D. Tex. 1995)). “Accordingly, the plaintiff constantly

bears the burden of proof that jurisdiction does in fact exist.” Id. (citing Menchaca v. Chrysler

Credit Corp., 613 F.2d 507, 511 (5th Cir. 1980)). But, “[a] motion under 12(b)(1) should be

granted only if it appears certain that the plaintiff cannot prove any set of facts in support of his

claim that would entitle him to relief.” Home Builders Ass’n of Miss., 143 F.3d at 1010; see also

Ramming, 281 F.3d at 161 (citing Home Builders Ass’n of Miss. with approval).

         There are two forms of Rule 12(b)(1) challenges to subject matter jurisdiction: “facial

attacks” and “factual attacks.” See Paterson v. Weinberger, 644 F.2d 521, 523 (5th Cir. 1981). “A



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facial attack consists of a Rule 12(b)(1) motion unaccompanied by supporting evidence that

challenges the court’s jurisdiction based solely on the pleadings.” Harmouche v. Consulate Gen.

of the State of Qatar, 313 F. Supp. 3d 815, 819 (S.D. Tex. 2018) (citing Paterson, 644 F.2d at

523). In considering a “facial attack,” the court “is required merely to look to the sufficiency of

the allegations in the complaint because they are presumed to be true. If those jurisdictional

allegations are sufficient the complaint stands.” Paterson, 644 F.2d at 523. Whereas, “[a] factual

attack challenges the existence of subject matter jurisdiction in fact, irrespective of the pleadings,

and matters outside the pleadings—such as testimony and affidavits—may be considered.”

Harmouche, 313 F. Supp. 3d at 819 (citing Paterson, 644 F.2d at 523). The “court is free to weigh

the evidence and satisfy itself as to the existence of its power to hear the case.” Williamson v.

Tucker, 645 F.2d 404, 413 (5th Cir. 1981) (citation omitted). “[N]o presumptive truthfulness

attaches to the plaintiff's allegations, and the existence of disputed material facts will not preclude

the trial court from evaluating for itself the merits of jurisdictional claims.” Id. When a factual

attack is made, the plaintiff, as the party seeking to invoke jurisdiction, must “submit facts through

some evidentiary method and . . . prov[e] by a preponderance of the evidence that the trial court

does have subject matter jurisdiction.” Paterson, 644 F.2d at 523.

           B. Ripeness

                     1. Parties’ Arguments

       AG Defendants claim that the “clearest dismissal ground is lack of ripeness.” (Doc. 39-1

at 18.) In sum, AG Defendants assert that (1) Plaintiffs claims are not fit for judicial decision, and

(2) even if they were, dismissal would pose no hardship on the parties. (Id. at 18–21.)

       As to the former, AG Defendants contend that Plaintiffs’ claims are contingent on events

that may not occur as anticipated or at all. (Id.) These defendants primarily rely on Staley v. Harris



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County, where the Fifth Circuit allegedly found that a First Amendment challenge to a Ten

Commandments display was not ripe because no decision had been made about the future display

of the monument, so the Court could not undertake the fact-intensive and context-specific analysis

required by the Supreme Court. (Id. at 18–19.) According to AG Defendants, Plaintiffs here face

the same problem, as no defendant has taken steps to carry out or comply with H.B. 71 and no

child has seen any display. (Id. at 19–20.) AG Defendants assert:

               And so critical questions are currently unanswered: What would any
               display viewed by Plaintiffs’ children actually look like? Would that
               display place the Ten Commandments in a certain context, and if so,
               what context? Where would the display be located in the
               classroom—by a teacher, on a side wall, on a back wall? How big
               would the display be? What would be included as part of the
               display? Would the same display appear in multiple classrooms, or
               would different classrooms have different versions? Will any
               particular school actually receive donated posters that a school opts
               to use? And these critical questions are compounded by the fact that
               there are countless ways a Defendant might comply with H.B.
               71. . . .

(Id. at 19.)

        AG Defendants then say, even if Plaintiffs could prove the first ripeness requirement, they

fail the second because they face no hardship: (1) no legal rights or obligations are created by H.B.

71; (2) no plaintiff faces any imminent display (or, indeed, even know how the AG Defendants

will comply with the law); and (3) there is no practical impediment to Plaintiffs filing suit once

their children actually view the displays. (Id. at 20–21.)

        Plaintiffs dispute these arguments, asserting first that the case is fit for judicial decision.

(Doc. 47 at 27.) Plaintiffs maintain that they will suffer serious, irreparable injury when the Act is

implemented and that the harm is not hypothetical. (Id.) Additionally, this case does not depend

on further factual development because it presents a purely legal issue: “Does the imposition of

the Ten Commandments on the minor-child Plaintiffs, in accordance with the minimum statutory

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dictates of the Act, violate the First Amendment?” (Id. at 27–28.) Plaintiffs distinguish Staley on

the grounds that Staley involved a Bible, not a Ten Commandments display, and that, more

importantly:

                Here, the legislature has already made a number of decisions
                regarding the Act’s mandatory, permanent displays, including
                where they will be posted (in every classroom in every public
                school, without exception); when they will be posted (no later than
                January 1, 2025); what the “central focus” will be (the state’s
                preferred, denominational version of the Ten Commandments); their
                size (no smaller than eleven by fourteen inches); and even how
                legible the commandments must be (printed in a “large, easily
                readable font”). See generally H.B. 71.

(Id. at 28–29.) “Displays posted in accordance with this statutory scheme will harm Plaintiffs and

violate their rights.” (Id. at 29.) As to hardship, Plaintiffs primarily rely on the standing analysis,

maintaining that the loss of their First Amendment freedoms, even briefly, will constitute

irreparable injury. (Id.)

        In reply, AG Defendants begin, “Plaintiffs seek to enjoin displays they have never seen,

that have never been posted, and whose ultimate form(s) [AG] Defendants have not determined (if

they will ever determine them at all).” (Doc. 54 at 8.) As to the first ripeness requirement, these

defendants again hammer Staley, contending that, there, “the court knew exactly what the ‘Mosher

monument’ entailed down to its inscription, the size of the open Bible on its façade, the details of

its refurbishment, and the precise location of its display case in the courthouse[,]” yet the Court

still found the display not ripe for review because no decision had been made about the context in

which the monument would be displayed. (Id. at 8–9.) Moreover, AG Defendants contend that

Plaintiffs cannot argue that the case presents a pure question of law, as that runs afoul of Barber

v. Bryant, 860 F.3d 345 (5th Cir. 2017); that is, Plaintiffs can have no standing without an

encounter with the offending item. (Doc. 54 at 9.) Such caution is critical in the context of the Ten



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Commandments, says AG Defendants, where some displays are allowed and some are not. (Id.)

AG Defendants assert:

                 So the problem persists that Plaintiffs have not seen an H.B. 71
                 display, nor does anyone know what any such display may look
                 like—and there is no basis to believe that H.B. 71 displays will look
                 anything like the standalone Ten Commandments displays at issue
                 in Stone v. Graham, 449 U.S. 39 (1980), see Defs.’ MTD 24–33
                 (illustrations of potential displays). See Ex. G, Faircloth Decl. ¶¶ 2–
                 8 (collecting Stone displays). Under Staley and Barber, therefore,
                 Plaintiffs’ claims are unfit for judicial decision.

(Id. at 9–10.)

        As to hardship, AG Defendants again contend that Plaintiffs do not allege the type of harms

required to constitute hardship for ripeness purposes; rather, they turn “the hardship inquiry [into]

a mashup of Article III injury and [the] irreparable harm standard.” (Id. at 10.) AG Defendants

then largely repeat their prior arguments. (Id.)

                      2. Applicable Law

        “Under Article III of the Constitution, federal courts are confined to adjudicating ‘cases’

and ‘controversies.’” Lower Colo. River Auth. v. Papalote Creek II, L.L.C., 858 F.3d 916, 922 (5th

Cir. 2017) (quoting United Transp. Union v. Foster, 205 F.3d 851, 857 (5th Cir. 2000)). “And to

be a case or controversy for Article III jurisdictional purposes, the litigation ‘must be ripe for

decision, meaning that it must not be premature or speculative.’” Id. (first quoting Shields v.

Norton, 289 F.3d 832, 835 (5th Cir. 2002); and then citing Choice Inc. of Tex. v. Greenstein, 691

F.3d 710, 715 (5th Cir. 2012) (“The justiciability doctrines of standing, mootness, political

question, and ripeness ‘all originate in Article III’s “case” or “controversy” language. . . .’”

(omission in original) (quoting DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352 (2006)))). See

also Thomas, 473 U.S. at 580 (“[The] basic rationale” of the ripeness doctrine “is to prevent the

courts, through premature adjudication, from entangling themselves in abstract disagreements.”

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(quoting Abbott Lab’ys v. Gardner, 387 U.S. 136, 148 (1967), abrogated on other grounds by

Califano v. Sanders, 430 U.S. 99 (1977))). “In other words, ‘ripeness is a constitutional

prerequisite to the exercise of jurisdiction.’” Lower Colo., 858 F.3d at 922 (quoting Shields, 289

F.3d at 835).

       “[R]ipeness is peculiarly a question of timing.” Thomas, 473 U.S. at 580 (quoting Reg’l

Rail Reorganization Act Cases, 419 U.S. 102, 140 (1974)). “[A] court must look at two factors to

determine ripeness: (1) ‘the fitness of the issues for judicial decision’ and (2) ‘the hardship to the

parties of withholding court consideration.’” Braidwood Mgmt., Inc. v. Equal Emp. Opportunity

Comm’n, 70 F.4th 914, 930 (5th Cir. 2023) (quoting Abbott Lab’ys, 387 U.S. at 149).

       “First, a claim is ‘fit for judicial decision’ if it presents a pure question of law that needs

no further factual development.” Id. (citing New Orleans Pub. Serv., Inc. v. Council of New

Orleans, 833 F.2d 583, 586–87 (5th Cir. 1987)). “So, if a claim is ‘contingent [on] future events

that may not occur as anticipated, or indeed may not occur at all,’ the claim is not ripe.” Id. at 930–

31 (quoting Thomas, 473 U.S. at 580–81 (quotation omitted)). But, “[i]ssues have been deemed

ripe when they would not benefit from any further factual development and when the court would

be in no better position to adjudicate the issues in the future than it is now.” Pearson, 624 F.3d at

684 (quoting Simmonds, 326 F.3d at 359). “One does not have to await the consummation of

threatened injury to obtain preventive relief. If the injury is certainly impending, that is enough.”

Thomas, 473 U.S. at 581 (quoting Reg’l Rail, 419 U.S. at 143 (quoting Pennsylvania v. West

Virginia, 262 U.S. 553, 593 (1923))).

       Second, the Court must evaluate if Plaintiffs have “shown that hardship will result if court

consideration is withheld at this time.” Choice Inc., 691 F.3d at 715. The question is whether “the

impact of the [laws] upon the [Plaintiffs] is sufficiently direct and immediate as to render the issue



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appropriate for judicial review at this stage.” Abbott Lab’ys, 387 U.S. at 152. “An assessment of

hardship often turns on a straight-forward prediction of the course events are likely to take.” 13B

Charles Alan Wright, Arthur R. Miller, & Edward H. Cooper, Federal Practice and Procedure §

3532.3 (3d ed. 2024). “Although it often is difficult to make secure predictions of the probable

occurrence or severity of future injury in any particular case, there is nothing complicated about

the process.” Id. Thus, for instance, in a case involving an abortion statute, the Fifth Circuit stated

generally that “hardship [ ] inhere[s] in legal harms, such as the harmful creation of legal rights or

obligations; practical harms on the interests advanced by the party seeking relief; and the harm of

being ‘force[d] . . . to modify [one’s] behavior in order to avoid future adverse consequences.’”

Choice Inc., 691 F.3d at 715 (quoting Texas v. United States, 497 F.3d 491, 499 (5th Cir. 2007)

(quoting Ohio Forestry Ass’n v. Sierra Club, 523 U.S. 726, 734 (1998))).

        “The assessment of hardship may be complicated, however, by the fact that some rights

are more jealously protected than others.” Wright & Miller, supra, at § 3532.3. “When such rights

are at issue, ripeness may require a lower probability and gravity of any predicted intrusion.” Id.

First Amendment rights have been identified as one of those “accorded special ripeness treatment”:

               First Amendment rights of free expression and association are
               particularly apt to be found ripe for immediate protection, because
               of the fear of irretrievable loss. In a wide variety of settings, courts
               have found First Amendment claims ripe, often commenting
               directly on the special need to protect against any inhibiting chill.
               Of course, not all First Amendment claims are ripe; at some point,
               claims of subjective chilling effect are put aside as too fanciful.
               Ripeness likewise may be denied if the plaintiff seems able to
               comply with a challenged regulation without significant cost, if the
               plaintiff has been able to defy the regulation without apparent loss,
               or if the desire to protect First Amendment values is offset by the
               risk that factual ignorance may jeopardize other important values.

Id.




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       Plaintiffs point to several cases which confirm Wright & Miller’s instruction that First

Amendment rights are “accorded special ripeness treatment.” Id. For instance, in Book People, the

Fifth Circuit found that a booksellers’ First Amendment challenge to a state-mandated book rating

system was ripe, even though the state argued that the “regulatory scheme [was] not yet

established.” 91 F.4th at 334. The appellate court found that “the hardship to Plaintiffs would not

be minimal, as the State contends,” because “Plaintiffs allege[d] that complying with the law

[would] cost valuable time and resources” and that, as to one book vendor, “compliance costs

alone could put it out of business.” Id.

       Even more relevant here, in Karen B. v. Treen, 653 F.2d 897 (5th Cir. 1981), aff’d, 455

U.S. 913 (1982), the Fifth Circuit evaluated whether a particular Louisiana statute violated the

Establishment Clause. “The challenged provision . . . provide[d] that a school board may authorize

the appropriate school officials to allow each classroom teacher to ask whether any student wishes

to offer a prayer and, if no student volunteers, to permit the teacher to pray.” Id. at 899. Though

ripeness was not at issue, the Fifth Circuit noted that the parish “program [had] yet to be put into

effect,” so “the nature and extent of state involvement in religious activity [was] in some measure

speculative at [that] time.” Id. at 902. Nevertheless, “[w]hat [was] certain [was] that the statute

itself ma[de] inappropriate governmental involvement in religious affairs inevitable.” Id.

       The Fifth Circuit relied on Karen B. favorably in Ingebretsen to find that a plaintiff had

standing to challenge a School Prayer Statute, even though the law had not yet been implemented.

88 F.3d at 278. The Fifth Circuit concluded, “There is no need for Ingebretsen to wait for actual

implementation of the statute and actual violations of his rights under the First Amendment where

the statute ‘makes inappropriate government involvement in religious affairs inevitable.’” Id.

(quoting Karen B., 653 F.2d at 902). The appellate court agreed with the district court that plaintiff



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had “clearly” shown “the sort of state involvement contemplated by Karen B.,” including (1) that

“implementation of the statute would inevitably lead to improper state involvement in school

prayer[;]” (2) that, “[u]nder the terms of the statute, the state or its representatives [would]

inevitably be forced to decide who prays and which prayers qualify as nonsectarian and

nonproselytizing[;]” and (3) that “[t]he state [would] also be in the position of punishing students

who attempt to leave so as to avoid hearing the prayers.” Id.

        As one district court said, “[t]he standard for constitutional ripeness mirrors the injury-in-

fact requirement for standing.” Schelske v. Austin, 649 F. Supp. 3d 254, 278 (N.D. Tex. 2022)

(citing Susan B. Anthony List v. Driehaus, 573 U.S. 149, 157–58 n.5 (2014)). “Both stem from

‘Article III’s case-or-controversy requirement, which mandates that an “actual controversy” exist

between the parties.’” Id. (quoting DM Arbor Ct., Ltd. v. City of Hous., 988 F.3d 215, 218 n.1 (5th

Cir. 2021) (quoting Campbell-Ewald Co. v. Gomez, 577 U.S. 153, 160 (2016))). Thus, the Fifth

Circuit’s conclusion in Ingebretsen remains highly relevant to the instant issue.

                      3. Analysis

        Having carefully considered the matter, the Court will deny AG Defs. MTD on this issue.

In short, this matter is ripe for adjudication.

        First, the Court agrees with Plaintiffs that this case involves a purely legal question: Does

the law mandating that defendants display the Ten Commandments in the classrooms of Plaintiffs’

minor children, according to the minimum statutory requirements of the Act, violate the First

Amendment? This issue is fit for judicial decision because it “would not benefit from any further

factual development,” and “the court would be in no better position to adjudicate the issues in the

future than it is now.” Pearson, 624 F.3d at 684. That is, regardless of what iterations of the

displays AG Defendants are able to conjure up for purposes of their briefing, the fundamental



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requirements of the Act mandate that the displays occur in a specific time, place, and manner that

contravene the First Amendment. Moreover, given the “fear of irretrievable loss” and the

“inhibiting chill[ing]” of their First Amendment rights, Wright & Miller, supra, at § 3532.3,

Plaintiffs would suffer a hardship if the Court delayed a decision until the Act was implemented,

see id.; Book People, 91 F.4th at 334; cf. Karen B., 653 F.2d at 902.

       AG Defendants’ ripeness argument essentially boils down to a reliance on Staley, but the

Court finds Staley distinguishable. That case dealt with a monument erected on courthouse

property. Staley v. Harris Cnty., 461 F.3d 504, 506 (5th Cir. 2006), on reh’g en banc, 485 F.3d

305 (5th Cir. 2007). The monument was built in 1953 by a Christian charity named Star of Hope

Mission and “measure[d] two feet, six inches by three feet, and [was] four feet, five inches high.”

Id. The death memorial was dedicated to an individual named William S. Mosher, who was a

prominent Houston businessman and philanthropist. Id. The monument contained an open Bible

on display in a glass case measuring twelve by sixteen inches. Id.

               Because the monument face[d] the main entrance to the Courthouse,
               it [wa]s readily visible to attorneys, litigants, jurors, witnesses, and
               other visitors to the Courthouse. However, a passerby would have
               to walk up to the monument to observe that it contain[ed] a Bible
               and would have to stand in front of it to read the Bible.

Id. In 1995, a newly elected state district judge, who “campaigned on a platform of putting

Christianity back into government,” refurbished the monument, restored the Bible to the display

case, and added a “red neon light outlining the Bible.” Id. at 507. After 1997, Star of Hope Mission

“maintained the monument and turned the pages of the Bible.” Id.

       The district court found this monument violated the Establishment Clause and ordered the

Bible removed. Staley, 485 F.3d at 307. The Fifth Circuit initially affirmed but then granted

rehearing en banc. Id. “[O]nly days before oral argument in [the] en banc case, the County removed



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the monument from the public grounds and placed it in storage, to permit the ongoing renovation

of the Courthouse and its grounds.” Id. The Fifth Circuit thus found the case moot. Id.

       In deciding this, the Fifth Circuit also determined that the case was not ripe for

adjudication. Id. at 309. “[T]he County emphasize[d] that no decision has been made regarding

when, where, or under what circumstances the monument will be displayed again in the future.”

Id. at 308. Even though the county “specifically [ ] asserted that it [would] display the monument

again after [ ] renovations [were] complete[d]” a few years later, the County argued that “the

monument’s future [was] too speculative to determine whether the monument [would] violate the

Establishment Clause in the future.” Id. at 307–08.

       The Fifth Circuit agreed. Id. at 309. The en banc court explained that:

               In determining the constitutionality of a religious display, the
               Supreme Court has made clear that “under the Establishment Clause
               detail is key.” McCreary County, Ky. v. ACLU of Ky., 545 U.S. 844,
               867–68 [ ] (2005) (citing County of Allegheny v. ACLU, Greater
               Pittsburgh Chapter, 492 U.S. 573, 595 [ ] (1989) (“[T]he question
               is what viewers may fairly understand to be the purpose of the
               display. That inquiry, of necessity, turns upon the context in which
               the contested object appears”) (internal quotation marks and citation
               omitted)).

               The importance of facts and context is evident from the respective
               outcomes in two recent Supreme Court decisions addressing the
               constitutionality of Ten Commandments displays. See McCreary,
               545 U.S. at 844 [ ]; Van Orden v. Perry, 545 U.S. 677 [ ] (2005). In
               both McCreary and Van Orden, the issue before the Supreme Court
               was whether a Ten Commandments display violated the
               Establishment Clause. See McCreary, 545 U.S. at 850 [ ]; Van
               Orden, 545 U.S. at 681 [ ]. The two cases, however, involved very
               different facts, and based on the specific facts and context of each
               case, the Supreme Court upheld the display in Van Orden but struck
               down the displays in McCreary. See McCreary, 545 U.S. at 881 [ ];
               Van Orden, 545 U.S. at 692 [ ].

Id. at 308. See also id. at 308–09 (discussing the specific factual and legal distinctions between

McCreary and Van Orden). Turning to the facts of its own case, the Staley court determined:

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               [A]ny dispute over a probable redisplay of the Mosher monument is
               not ripe because there are no facts before us to determine whether
               such a redisplay might violate the Establishment Clause. Indeed, no
               decision has been made regarding any aspect of the future display
               of the monument. In the absence of this evidence, we are unable to
               conduct the fact-intensive and context-specific analysis required by
               McCreary and Van Orden. Thus, any claim that the Establishment
               Clause may be violated after the Courthouse and grounds have been
               renovated, is not ripe for review. See United States v. Carmichael,
               343 F.3d 756, 761 (5th Cir. 2003) (“A claim is not ripe for review if
               ‘it rests upon contingent future events that may not occur as
               anticipated, or indeed may not occur at all.’ ” (citing Texas v. United
               States, 523 U.S. 296, 300 [ ] (1998) (internal quotation marks
               omitted))).

Id. at 309.

        Staley is distinguishable for several reasons. First, Staley, Van Orden, and McCreary all

involved displays at courthouses, not schools. As Staley itself acknowledged, “[i]n [the Van

Orden] opinion, the plurality distinguished the display from classroom Ten Commandments

displays held unconstitutional in Stone v. Graham, 449 U.S. 39 [ ] (1980) (per curiam), noting a

‘far more passive use of those texts than was the case in Stone,’” Staley, 485 F.3d at 308 (quoting

Van Orden, 545 U.S. at 691), “where . . . the text confronted elementary school students every

day,” Van Orden, 545 U.S. at 691. Moreover, in Justice Breyer’s concurring opinion in Van Orden,

which the Fifth Circuit found controlling, Staley, 485 F.3d at 308–09, he explained that, “[t]he

display [was] not on the grounds of a public school, where, given the impressionability of the

young, government must exercise particular care in separating church and state,” Van Orden, 545

U.S. at 703 (citing Lee, 505 U.S. at 592; Stone, 449 U.S. 39). Thus, again, there are heightened

concerns in this case that simply aren’t present in monuments cases.

        Second, and equally important, the Act provides sufficient context concerning the

placement of the Ten Commandments so that the Court can evaluate the Act’s constitutionality at

this time. As described above, H.B. 71 requires a specific Protestant version of the Ten

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Commandments to be posted all year long, in “each public school,” in every “classroom in each

school,” regardless of the subject matter or the age of the student, with the “minimum

requirements” that the Decalogue “shall be displayed on a poster or framed document that is at

least eleven inches by fourteen inches,” with the Ten Commandments as “the central focus of the

poster or framed document” and “printed in a large, easily readable font,” and obtained by either

school “funds” or private donations, all by January 1, 2025. H.B. 71(B)(1), (5) (emphasis added).

Thus, unlike Staley, where “no decision ha[d] been made regarding any aspect of the future display

of the monument,” Staley, 485 F.3d at 309 (emphasis added), here, it is “known when, where,

[and] under what circumstance” the Ten Commandments will be displayed in public schools, id.

at 307, and the “pure question of law” to be addressed by this Court is whether the displays, as

mandated by the State, violate the Establishment and Free Exercise Clauses of the First

Amendment, Braidwood Mgmt., 70 F.4th at 930 (citation omitted).

       The Court also finds Barber v. Bryant distinguishable. There, plaintiffs challenged a

Mississippi statute which prohibited the state government from discriminatory actions against

persons who act in accordance with certain beliefs under specific circumstances. 860 F.3d at 350–

51. The statute identified three particular “religious beliefs or moral convictions” which dealt with

marriage being between a man and a woman, sexual relations being confined to marriage, and a

person’s sex being immutable and “objectively determined by anatomy and genetics at time of

birth.” Id. at 351 (quoting 2016 Miss. Law H.B. 1523 § 2). Section 3 of the act described the set

of circumstances in which adverse state action was restricted; for example, “[r]eligious

organizations are protected when they make decisions regarding employment, housing, the

placement of children in foster or adoptive homes, or the solemnization of a marriage based on a




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belief listed in Section 2,” and “[b]usinesses that offer wedding-related services are protected if

they decline to provide them on the basis of a Section 2 belief.” Id. (citation omitted).

       Plaintiffs were Mississippi residents and two organizations that did not share the Section 2

beliefs. Id. They challenged the law as violating, inter alia, “the Establishment Clause because it

endorse[d] specific religious beliefs . . . .” Id. at 352. “The district court issued a preliminary

injunction against the implementation of H.B. 1523.” Id.

       The Fifth Circuit determined that plaintiffs did not have standing and reversed. Id. at 350.

Plaintiffs claimed they “suffered a stigmatic injury from the statute’s endorsement of the Section

2 beliefs,” but the appellate court explained:

                 “[T]he concept of injury for standing purposes is particularly elusive
                 in Establishment Clause cases,” but we are not without guidance.
                 [Murray v. City of Austin, 947 F.2d 147, 151 (5th Cir. 1991)]
                 (quoting Saladin v. City of Milledgeville, 812 F.2d 687, 691 (11th
                 Cir. 1987)). In cases involving religious displays and exercises, we
                 have required an encounter with the offending item or action to
                 confer standing. See id.; Doe v. Tangipahoa Par. Sch. Bd., 494 F.3d
                 494, 497 (5th Cir. 2007) (en banc) (addressing religious
                 invocations). . . .

                 A plaintiff has standing to challenge a religious display where his
                 stigmatic injury results from a “personal[ ] confront[ation]” with the
                 display. See Murray, 947 F.2d at 150–51. For comparison, the
                 caselaw offers some examples of such a confrontation. There is
                 standing where a plaintiff personally encounters a religious symbol
                 on his public utility bill. Id. at 150. Personally encountering a
                 religious message on the currency a plaintiff regularly handles is
                 also sufficient. But once that display is removed from view, standing
                 dissipates because there is no longer an injury. See Staley[, 485 F.3d
                 at 309]. The personal confrontation must also occur in the course of
                 a plaintiff’s regular activities; it cannot be manufactured for the
                 purpose of litigation. ACLU–NJ v. Twp. of Wall, 246 F.3d 258, 266
                 (3d Cir. 2001).

Id. at 353–54.




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        The Barber plaintiffs attempted to analogize to the injury-in-fact law in religious-display

cases, but the Fifth Circuit rejected the argument. Id. at 354. These plaintiffs made “no clear

showing of a personal confrontation with Section 2: The beliefs listed in that section exist only in

the statute itself.” Id. The appellate court concluded:

                Just as an individual cannot “personally confront” a warehoused
                monument, he cannot confront statutory text. See Staley, 485 F.3d
                at 309. Allowing standing on that basis would be indistinguishable
                from allowing standing based on a “generalized interest of all
                citizens in” the government's complying with the Establishment
                Clause without an injury-in-fact. See Valley Forge Christian Coll.
                v. Ams. United for Separation of Church and State, Inc., 454 U.S.
                464, 483 (1982)]. That, we know, “cannot alone satisfy the
                requirements of Art. III without draining those requirements of
                meaning.” Id. The religious-display cases do not provide a basis for
                standing to challenge the endorsement of beliefs that exist only in
                the text of a statute.

Id. at 354.

        Barber is not controlling, and this is clear by returning to first principles of standing, which,

as will be discussed below, is connected to ripeness. “An injury sufficient to satisfy Article III

must be ‘concrete and particularized’ and ‘actual or imminent, not “conjectural” or

“hypothetical.”’” Driehaus, 573 U.S. at 158 (quoting Lujan, 504 U.S. at 560 (some internal

question marks omitted)). “An allegation of future injury may suffice if the threatened injury is

‘certainly impending,’ or there is a ‘“substantial risk” that the harm will occur.’” Id. (quoting

Clapper v. Amnesty Int’l USA, 568 U.S. 398, 414 n.5, 133 S. Ct. 1138, 1150 n.5 (2013) (emphasis

deleted and internal quotation marks omitted)). Thus, in Barber, plaintiffs lacked standing because

there could be no possible way of being confronted with the law at issue; “[t]he beliefs listed in

that section exist only in the statute itself.” 860 F.3d at 354. Conversely, here, the risk of a future

encounter by the Plaintiff children, who are required under the Act to attend classes with displays

of the Ten Commandments and their statutorily “minimum requirements” by January 1, 2025, is

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“certainly impending,” and there is a “substantial risk that the harm will occur.” Driehaus, 573

U.S. at 158; see also Mack, 49 F.4th at 949 (recognizing under Barber that, “[f]or a plaintiff to sue

under the Establishment Clause, his ‘regular activities’ must prompt ‘personal confrontation’ with

the challenged religious exercise,” but also recognizing that, “[w]hen a plaintiff seeks only

prospective relief, he must show that future confrontation is substantially likely.” (first quoting

Barber, 860 F.3d at 354; and then citing Crawford v. Hinds Cnty. Bd. of Supervisors, 1 F.4th 371,

375–76 (5th Cir. 2021))).

       Again, “[o]ne does not have to await the consummation of threatened injury to obtain

preventive relief. If the injury is certainly impending, that is enough.” Thomas, 473 U.S. at 581

(cleaned up). Under Ingebretsen, “[t]here is no need for [Plaintiffs] to wait for actual

implementation of the statute and actual violations of his rights under the First Amendment where

the statute ‘makes inappropriate government involvement in religious affairs inevitable.’” 88 F.3d

at 278. Because Plaintiffs have shown that the Act makes such involvement inevitable, and because

the Plaintiffs will suffer hardship in the form of an infringement of their First Amendment rights

if the Act is allowed to be implemented, this matter is ripe for decision.

           C. Standing

                     1. Parties’ Arguments

       AG Defendants assert, “[t]he same considerations tee up Plaintiffs’ lack of Article III

standing.” (Doc. 39-1 at 21.) AG Defendants maintain that Plaintiffs fail each requirement for

standing. (Id.)

       First, AG Defendants argue that Plaintiffs do not show a “concrete, particularized, actual

or imminent injury-in-fact.” (Id.) Here, nothing has been done to implement H.B. 71, so Plaintiffs

make only a facial attack on the law. (Id.) According to AG Defendants, Barber holds that there



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is no standing to challenge religious displays existing only in statutory text. (Id. at 21–22.)

Additionally, Plaintiffs are advancing an alleged “offended observer standing,” which they lack

because they have not been exposed to the challenged action. (Id. at 22.) First Amendment cases,

say AG Defendants, require an encounter with the offending item, and Plaintiffs have not alleged

an exposure to any display of H.B. 71. (Id. at 22–23.) Moreover, Plaintiffs cannot establish

imminent harm because there has been no decision on how the Ten Commandments will be

displayed, so there may be no concrete, particularized injury. (Id. at 23–24.) Further, Plaintiffs’

notion that they will be offended by any form the display takes runs afoul of Barber. (Id. at 23–

24.)

         Second, AG Defendants attack traceability. (Id. at 24.) Here, there is no allegation that the

school boards and state officials somehow “caused” any harm resulting from H.B. 71; rather,

Plaintiffs claim only unspecified harm from future H.B. 71 displays. (Id.) That is to say, the alleged

harms are not linked to any defendant, which, AG Defendants say, is not surprising since no

defendant took any action to implement the Act. (Id. at 24–25.) Further, Plaintiffs treat all

defendants as a unified whole, but standing must be established for each defendant for each claim.

(Id. at 25.)

         Third, Plaintiff fails to establish redressability. (Id. at 25–26.) In short, there is no injury

for the Court to address. (Id.)

         Finally, AG Defendants contend that Plaintiffs cannot manufacture standing solely because

of the Stone decision. (Id. at 26.) Stone is not controlling, but, even if it were, Plaintiffs must still

prove standing to establish jurisdiction. (Id.)

         Plaintiffs respond that they satisfy all requirements for standing. (Doc. 47 at 18.) First, they

have asserted sufficient injuries under the Supreme Court’s ruling in School District of Abington



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Township v. Schempp, 374 U.S. 203 (1963). (Doc. 47 at 18.) Their injuries are concrete and

particularized. (Id.) Plaintiffs do not assert only “offended observer standing,” as AG Defendants

say, but rather:

                   As stated in the Complaint, the minor-child Plaintiffs will be
                   subjected to a state-mandated, religiously preferential version of the
                   Ten Commandments in every classroom, for at least 177 days every
                   school year, for the entire remainder of their elementary and
                   secondary public-school education. Compl. ¶¶ 70–77. Plaintiffs
                   further allege that Defendants’ imposition of this scripture will
                   injure them by, among other harms, (1) promoting and forcibly
                   subjecting the minor-child Plaintiffs to religious doctrine in a
                   manner that violates and contradicts their families’ religious or non-
                   religious beliefs and practices, (2) pressuring the minor-child
                   Plaintiffs to observe, meditate on, venerate, and adopt the state’s
                   preferred religious doctrine and to suppress expression of their own
                   religious backgrounds and views at school, and (3) interfering and
                   conflicting with the ability of the parent-Plaintiffs to direct their
                   children’s religious education and upbringing. Supra pp. 2–3.

(Id. at 18–19.)

        Plaintiffs then attack AG Defendants’ legal authority. (Id. at 19–20.) Plaintiffs say Barber

is distinguishable because the statute at issue “had no effect on the Barber plaintiffs beyond the

fact that they knew about the alleged endorsement.” (Id. at 19 (citation omitted).) In Barber, there

was no required confrontation with a religious display or exercise, which is not the case here. (Id.

at 19.) “Furthermore, the Act has an obvious legal effect on Plaintiffs: It conditions their access to

Louisiana’s public schools on their acquiescence to unavoidable, state-mandated displays of

scripture.” (Id.) Defendant’s reliance on Doe v. Tangipahoa Parish School Board is also

misplaced, as, in that case, there was no evidence any plaintiff had been personally and directly

subjected to the challenged practice of school-board prayers. (Id. at 20.) Here, conversely, the law

will take effect by January 1, 2025, and each “minor-child Plaintiff will come into direct contact

with the Act’s displays.” (Id.)



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       Plaintiffs then contend that the future injuries are “certainly impending.” (Id.) Plaintiffs

rely on Ingebretsen. (Id. at 21.) Again, “[a]n allegation of future injury” is adequate for purposes

of Article III standing if the “threatened injury is certainly impending, or there is a substantial risk

that the harm will occur.” (Id. (quoting Driehaus, 573 U.S. at 158).) Plaintiffs then cite certain

cases involving the Americans with Disabilities Act to support their position. (Id. at 21–22.) AG

Defendants say no child will experience harm or a violation of rights, but, again, “the threatened

harms to Plaintiffs will occur as a result of Defendants’ implementation of the Act’s minimum

requirements alone.” (Id. at 22.)

       As to traceability, Plaintiffs say this is not a proximate cause requirement, and, for each

defendant, there need be only one plaintiff with standing to seek an injunction. (Id. at 22–23

(citations omitted).) Here, the BESE Members are required for oversight and governance of all

public elementary and secondary schools in Louisiana, and the Act specifically requires BESE to

adopt rules and regulations “to ensure the proper implementation of” the Act. (Id. at 23.)

Additionally, “the State Superintendent of Education, Defendant Cade Brumley[,] is statutorily

responsible for administering and implementing all policies and programs adopted by BESE,” so

he shares in the responsibility for implementing the Act. (Id.) Finally, each School Board

Defendant is pled to be a “public-school governing authority,” and they are required under the Act

to display the Ten Commandments by January 1, 2025. (Id.) Each has jurisdiction over at least one

school attended by at least one minor Plaintiff. (Id. at 23–24.) In sum:

               Because the Act requires the display of the Ten Commandments in
               every public school in the state, including the schools attended by
               the minor-child Plaintiffs, these allegations demonstrate that
               Plaintiffs’ injuries are fairly traceable to the BESE Defendants and
               Superintendent Brumley, whose implementation responsibilities
               under the Act are statewide. . . . Similarly, because each School
               Board Defendant is required, under the Act, to display the Ten
               Commandments, Plaintiffs’ injuries are fairly traceable to each

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                Board that is the public-school governing authority for each of the
                minor-child Plaintiffs’ schools.

(Id. at 25 (citations omitted).) As to AG Defendants’ argument that the future harm is inadequate,

Plaintiffs refer to the harm that will necessarily take place with the required implementation of the

Act. (Id.)

        Finally, Plaintiffs assert that AG Defendants’ redressability argument is largely a

reiteration of their injury-in-fact one. (Id. at 26.) But a favorable decision would protect children

from unavoidable unconstitutional displays required by the Act, prevent religious coercion, and

“shield[ ] them from an officially sponsored religious message that they are lesser in the eyes of

the State because of their own religious or non-religious beliefs.” (Id.) Moreover, “[i]t will also

preserve the ability of the parent-Plaintiffs to direct their children’s religious education and

upbringing.” (Id.)

        In reply, AG Defendants reiterate that Plaintiffs have not met their burden for standing.

(Doc. 54 at 10.) First, they have not established a “concrete, particularized, and actual or imminent”

injury-in-fact because (a) there can be no facial challenges for Establishment Clause claims and

(b) they have suffered no encounter with any display. (Id. at 11.) AG Defendants maintain that

Schempp and Ingebretsen do not trump Barber; in Schempp, the exercises were conducted in

plaintiff’s classroom at the time suit was filed, and in Ingebretsen, the law made “inappropriate

government involvement in religious affairs inevitable,” which, AG Defendants argue, is not the

case here. (Id. at 11–12 (quoting Ingebretsen, 88 F.3d at 278).) The disability cases are also

distinguishable. (Id. at 12.)

                Moreover, Plaintiffs’ standing theory “require[s] guesswork as to
                how independent decisionmakers will exercise their judgment.”
                Clapper[, 568 U.S. at 413]. No one has committed to donating
                displays (much less specific displays that could be analyzed for
                context) or the funds for such a display, so it is entirely speculative

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                what sort of display (if any) a hypothetical donor may provide.
                Plaintiffs’ “theory of future injury” resulting from independent
                decisionmakers’ judgment “is too speculative to satisfy the well-
                established requirement that threatened injury must be ‘certainly
                impending.’” Id. at 401 (quoting Whitmore v. Arkansas, 495 U.S.
                149, 158 (1990)).

(Id. at 12.) Ultimately, “nothing prevents Plaintiffs from filing a new lawsuit if and when they

actually suffer an Article III injury.” (Id. at 13.)

        AG Defendants close with traceability and redressability. (Id.) As to the former, AG

Defendants point to Plaintiffs’ argument that the traceability link will occur as soon as AG

Defendants take actions. (Id.) These defendants then say that this is a concession that there is no

injury traceable at the time they filed suit and that no link exists today. (Id.) As to redressability,

AG Defendants again point to the injury-in-fact requirement to support their position. (Id.)

                      2. Applicable Law

        “A proper case or controversy exists only when at least one plaintiff ‘establish[es] that

[she] ha[s] standing to sue.’” Murthy v. Missouri, 144 S. Ct. 1972, 1985–86 (2024) (quoting Raines

v. Byrd, 521 U.S. 811, 818 (1997); Dep’t of Com. v. New York, 588 U.S. 752, 766 (2019)). A

plaintiff “must show that [he or] she has suffered, or will suffer, an injury that is ‘concrete,

particularized, and actual or imminent; fairly traceable to the challenged action; and redressable

by a favorable ruling.’” Id. at 1986 (quoting Clapper, 568 U.S. at 409 (internal quotation marks

omitted)). “These requirements help ensure that the plaintiff has ‘such a personal stake in the

outcome of the controversy as to warrant [his or her] invocation of federal-court jurisdiction.’” Id.

(quoting Summers v. Earth Island Inst., 555 U.S. 488, 493 (2009)).

        “The plaintiff ‘bears the burden of establishing standing as of the time [he or she] brought

th[e] lawsuit and maintaining it thereafter.’” Murthy, 144 S. Ct. at 1986 (first alterations by this

Court; second by Murthy) (quoting Carney v. Adams, 592 U.S. 53, 59 (2020)). The Plaintiff “must

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support each element of standing ‘with the manner and degree of evidence required at the

successive stages of the litigation.’” Id. (quoting Lujan, 504 U.S. 555, 561). “At the pleading stage,

general factual allegations of injury resulting from the defendant’s conduct may suffice, for on a

motion to dismiss we presume that general allegations embrace those specific facts that are

necessary to support the claim.” Hancock Cnty. Bd. of Supervisors v. Ruhr, 487 F. App’x 189, 195

(5th Cir. 2012) (quoting Lujan, 504 U.S. at 561 (internal quotation marks and alterations omitted)).

“At the preliminary injunction stage, then, the plaintiff must make a ‘clear showing’ that [he or]

she is ‘likely’ to establish each element of standing.” Murthy, 144 S. Ct. at 1986 (quoting Winter

v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008) (emphasis deleted)). “Where . . . the parties

have taken discovery, the plaintiff cannot rest on ‘mere allegations,’ but must instead point to

factual evidence.” Id. (quoting Lujan, 504 U.S. at 561 (internal quotation marks omitted)).

       Additionally, “standing is not dispensed in gross.” Id. at 1988 (quoting TransUnion LLC

v. Ramirez, 594 U.S. 413, 431 (2021)). “That is, ‘plaintiffs must demonstrate standing for each

claim that they press’ against each defendant, ‘and for each form of relief that they seek.’” Id.

(quoting TransUnion, 594 U.S. at 431). Thus, “for every defendant, there must be at least one

plaintiff with standing to seek an injunction.” Id.

                     3. Analysis

       Having carefully considered the matter, the Court will deny AG Defendants’ motion on

this issue. In sum, Court finds that Plaintiffs have satisfied the three requirements for standing for

each claim as to each defendant.

       Preliminarily, the injury-in-fact and redressability requirements can be easily dispensed

with. “To establish Article III standing, an alleged ‘injury in fact’ must be ‘concrete, particularized,

and actual or imminent.’” Consumer Data Indus. Ass’n v. Texas ex rel. Paxton, No. 21-51038,



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2023 WL 4744918, at *4 (5th Cir. July 25, 2023) (per curiam) (quoting Clapper, 568 U.S. at 409).

Again, “[a]n allegation of future injury may establish standing if the threatened injury is ‘certainly

impending or there is a substantial risk that the harm will occur.’” Id. (quoting Driehaus, 573 U.S.

at 158). As stated above, “[t]he standard for constitutional ripeness mirrors the injury-in-fact

requirement for standing.” Schelske, 649 F. Supp. 3d at 278 (citing Driehaus, 573 U.S. at 157–58).

Here, the Court finds that the analysis provided above for ripeness applies with equal force to the

injury-in-fact requirement, so this part of AG Defendants’ motion will be denied.

        The motion will also be denied as to the redressability requirement. “[T]o satisfy the third

element of redressability[,] . . . the plaintiff must show that the requested relief, if provided, will

likely redress the injury-in-fact.” Hancock Cnty., 487 F. App’x at 195 (citations omitted). “To

satisfy redressability, a plaintiff must show that ‘it is likely, as opposed to merely speculative, that

the injury will be redressed by a favorable decision.’ ” Reule v. Jackson, 114 F.4th 360, 368 (5th

Cir. 2024) (quoting Inclusive Cmtys. Project, Inc. v. Dep’t of Treas., 946 F.3d 649, 655 (5th Cir.

2019) (emphasis in original) (quoting Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC),

Inc., 528 U.S. 167, 181 (2000))). But, Plaintiffs are “not required to show that their requested relief

would certainly redress their injuries; rather, they are required to show that their requested relief

would likely (or substantially likely) redress their injuries.” Hancock Cnty., 487 F. App’x at 197

(citing Vt. Agency of Nat. Res. v. United States ex rel. Stevens, 529 U.S. 765, 771 (2000); Lujan,

504 U.S. at 561). “Moreover, the proper focus of the redressability inquiry is not whether the relief

is likely to be granted; rather, the focus is whether, assuming that the requested relief is granted,

that relief will likely redress the plaintiffs’ injuries.” Id. (citing Adar v. Smith, 639 F.3d 146, 150

(5th Cir. 2011) (en banc); Rogers v. Brockette, 588 F.2d 1057, 1063 (5th Cir. 1979) (“There must

be a substantial probability that, if the court affords the relief requested, the plaintiffs’ legal injuries



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will be remedied.”) (internal quotation marks and ellipses omitted)). Moreover, “[t]he relief sought

needn’t completely cure the injury, however; it’s enough if the desired relief would lessen it.”

Inclusive Cmtys., 946 F.3d at 655 (citing Sanchez v. R.G.L., 761 F.3d 495, 506 (5th Cir. 2014)).

But, “[r]elief that does not remedy the injury suffered cannot bootstrap a plaintiff into federal

court.” Id. (quoting Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 107 (1998)).

       Here, it is highly likely that Plaintiffs’ injuries to their First Amendment rights will be

remedied by an injunction prohibiting the display of the Ten Commandments according to the

minimum requirements of the Act and preventing the implementation of rules regarding same.

Indeed, the Court agrees with Plaintiffs that AG Defendants’ redressability argument boils down

to a reiteration of their injury-in-fact position. As a result, AG Defs. MTD will be denied on this

issue as well.

       This leaves only traceability. To establish traceability, a plaintiff must show “that there is

‘a causal connection between the injury and the conduct complained of—the injury must be fairly

traceable to the challenged action of the defendant, and not the result of the independent action of

some third party not before the court[.]’” Reule, 114 F.4th at 367 (quoting Bennett v. Spear, 520

U.S. 154, 167 (1997)). “Standing exists where the purported injury is connected to allegedly

unlawful government conduct.” Id. (citing Duarte ex rel. Duarte v. City of Lewisville, 759 F.3d

514, 520 (5th Cir. 2014)). Further, “[c]ausation . . . isn’t precluded where the defendant’s actions

produce a ‘determinative or coercive effect upon the action of someone else,’ resulting in injury.”

Inclusive Cmtys., 946 F.3d at 655 (quoting Bennett, 520 U.S. at 169). “Even though Article III

requires a causal connection between the plaintiff’s injury and the defendant’s challenged conduct,

it doesn’t require a showing of proximate cause or that ‘the defendant’s actions are the very last

step in the chain of causation.’” Id. (quoting Bennett, 520 U.S. at 169).



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         Here, the Court finds that Plaintiffs’ alleged injuries are fairly traceable to the action of

each defendant. First, as to the BESE Members, the Act requires that “[t]he State Board of

Elementary and Secondary Education shall adopt rules and regulations in accordance with the

Administrative Procedure Act to ensure the proper implementation of this Section.” H.B.

71(B)(6)(a). This is consistent with the general powers BESE has over such schools under the

Louisiana Constitution and the Louisiana Revised Statutes. See La. Const. art. VIII, § 3 (“The State

Board of Elementary and Secondary Education . . . shall supervise and control the public

elementary and secondary schools and special schools and shall have budgetary responsibility for

all funds appropriated or allocated by the state for those schools, all as provided by law.”); La.

R.S. § 17:6(A)(10) (giving BESE the power, in the exercise of its “supervision and control” and

“its budgetary responsibility,” to adopt “rules, regulations, and policies necessary or proper for the

conduct of the business of the board”). 6 All of this is plead in the Complaint as well. (Compl. ¶ 24,

Doc. 1.)

         Additionally, the Superintendent of Education, Defendant Cade Brumley, is empowered

by law to “execute and implement those educational policies and programs which are under the

supervision and control of the board.” La. R.S. § 17:21(A). Brumley “shall [also] administer and

implement policies and programs adopted by the board and shall serve as the administrative head

of the Department of Education.” Id. § 17:21(B)(1). One of his specific functions and duties is to

“[i]mplement the policies and programs of the board and the laws affecting schools under the

jurisdiction of the board.” La. R.S. § 17:22(3). Thus, as Plaintiffs allege, Brumley “is responsible




6
  See also La. R.S. § 17:6(A)(10) (“In the exercise of its supervision and control over the public elementary and
secondary schools and special schools under its jurisdiction, and in the exercise of its budgetary responsibility for all
funds appropriated or allocated by the state for public elementary and secondary schools and special schools placed
under its jurisdiction, the board shall have authority to: . . . Adopt, amend, or repeal rules, regulations, and policies
necessary or proper for the conduct of the business of the board.”).

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for the implementation of all state laws that fall under the jurisdiction of the State Board of

Elementary and Secondary Education, which includes H.B. 71.” (Compl. ¶ 21, Doc. 1.) Moreover,

under the Act, the Louisiana Department of Education must (1) “identify appropriate resources to

comply with the provisions” of the Act “that are free of charge” and, (2) “[o]nce identified, . . . list

the free resources on the department’s internet website.” H.B. 71(B)(6)(b).

        Lastly, Defendants do not seriously dispute that each School Board Defendant is, as

alleged, “the governing authority” for its respective parish that serves in a “policymaking capacity”

in each jurisdiction. See La. R.S. § 17:51 (“There shall be a parish school board for each of the

parishes . . . .”); La. R.S. § 17:81(A)(1) (“Each local public school board shall serve in a

policymaking capacity that is in the best interests of all students enrolled in schools under the

board’s jurisdiction.”); La. R.S. § 17:1373 (“The parish school board is the governing body of all

school districts created by it . . . .”). (See also Compl. ¶¶ 27–36, Doc. 1 (making these allegations

at to the School Board Defendants for the parishes of East Baton Rouge, Livingston, Vernon, and

St. Tammany).) Nor do AG Defendants argue that each parent plaintiff has plaintiff minors

enrolled as students in public schools in these parishes. 7 Nor can they argue that, under the Act,

“[n]o later than January 1, 2025, each public school governing authority shall display the Ten

Commandments in each classroom in each school under its jurisdiction.” H.B. 71(B)(1).

        In the face of these allegations and the AG Defendants’ legal duties, AG Defendants’

arguments ring hollow. Contrary to their assertions, Plaintiffs do in fact link the alleged

constitutional violations to each individual AG Defendant without treating them as a unified



7
  See Rev. Broadhurst Decl. ¶¶ 1—3, Doc. 20-4; Rev. Williams Decl. ¶¶ 1—3, Doc. 20-5; Compl. ¶ 10, Doc. 1; Sims
Decl. ¶¶ 1—2, Doc. 20-6; Compl. ¶ 11, Doc. 1; Harding Decl. ¶ 1, Doc. 20-7; Owens Decl. ¶ 1, Doc. 20-8; Compl. ¶
12, Doc. 1; Erin Hawley Decl. ¶¶ 1—2, Doc. 20-9; David Hawley Decl. ¶¶ 1—2, Doc. 20-10; Compl. ¶ 13, Doc. 1;
McCrory Decl. ¶ 1, Doc. 20-11; Compl. ¶ 14, Doc. 1; Alkire Decl. ¶ 1, Doc. 20-14; Compl. ¶ 16, Doc. 1. The standing
issues as to Plaintiffs Rev. Roake and Young, Sernovitz and Pulda, Herlands, and all of their minor children, (see
Compl. ¶¶ 9, 15, 17, Doc. 1), will be addressed infra in the Court’s discussion of OPSB MTD.

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whole. Moreover, AG Defendants’ arguments that they have not caused any harm yet is merely a

repackaging of their ripeness and injury-in-fact arguments.

        Rather, the Court agrees with Plaintiffs that Texas Democratic Party v. Abbott, 961 F.3d

389 (5th Cir. 2020) is controlling. There, state officials contended that there was no traceability or

redressability for Texas vote-by-mail statutes because “[a]cceptance or rejection of an application

to vote by mail falls to local, rather than state, officials.” Id. at 399. The Fifth Circuit rejected this

argument as to the Secretary of State, pointing to his statutory duty to “‘obtain and maintain

uniformity in the application, operation, and interpretation of’ Texas’s election laws, including by

‘prepar[ing] detailed and comprehensive written directives and instructions relating to’ those vote-

by-mail rules.” Id. (quoting Tex. Elec. Code § 31.003). Moreover, “the Secretary of State ha[d]

the power to ‘take appropriate action to protect’ Texans’ voting rights ‘from abuse by the

authorities administering the state’s electoral processes,’” which “include[d] the power to issue

orders and, if necessary, seek a temporary restraining order, injunction, or writ of mandamus.” Id.

at 399 & n.19 (first quoting Tex. Elec. Code § 31.005(a); and then citing § 31.005(b)). Thus, the

state officials failed to show that the plaintiffs lacked standing as to the Secretary of State. Id.

However, they had shown that there was no standing as to Governor Abbott because the plaintiffs

“pointed to nothing that outline[d] a relevant enforcement role for” him. Id. at 400.

        Book People also supports Plaintiffs’ position. There, the law in question (“READER”)

“require[d] school book vendors who want to do business with Texas public schools to issue

sexual-content ratings for all library materials they have ever sold (or will sell), flagging any

materials deemed to be ‘sexually explicit’ or ‘sexually relevant’ based on the materials’ depictions

of or references to sex.” Book People, 91 F.4th at 324. “The State admit[ted] that the Agency

Commissioner [in question] [was] empowered to enforce the Act against school districts, which



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mean[t] the school districts’ purchasing decisions are determined or coerced by the State through

READER.” Id. at 331. The Fifth Circuit concluded that the First Amendment violations were fairly

traceable to the Commissioner. Id. at 332–33. The Fifth Circuit cited as reasons:

               To enforce READER, Commissioner Morath is required to collect
               ratings from vendors and post them on the Agency’s website. He has
               discretion to review vendors’ ratings, and if he does, he must notify
               vendors of the updated ratings and their duty to conform their rating
               to the Agency’s. He must then post the names of the vendors that
               don’t accept the Agency’s updated ratings on the Agency’s website.

Id. Further, the Commissioner had “the authority to enforce § 35.003(d), which prohibit[ed] school

districts from purchasing books from vendors who are on the noncompliance list, through a special

investigation and sanctions.” Id. at 333. The appellate court concluded,

               Because Commissioner Morath oversees the challenged process and
               because his actions are among those that would contribute to
               Plaintiffs’ harm, Plaintiffs’ injuries can be traced to the
               Commissioner’s enforcement of READER. If Commissioner
               Morath is enjoined, he cannot prohibit school districts from
               purchasing books from any vendors, either because the vendors did
               not initially provide ratings or because they refused to accept the
               Agency’s updated ratings. . . . [E]njoining the Commissioner from
               enforcing READER would free Plaintiffs from the injurious
               dilemma that READER creates: either submit unconstitutionally
               compelled ratings to the Agency at great expense or refuse to
               comply and lose customers and revenue.

Id. (cleaned up).

       The same reasoning applies here. Plaintiffs have easily shown, through their extensive

allegations and reference to statutory duties, how each AG Defendant will have a role to play in

enforcing H.B. 71, which will directly lead to constitutional violations. See Book People, 91 F.4th

at 332–33; Tex. Democratic Party, 961 F.3d at 399–400. They have thus satisfied this element of

standing, particularly given the fact that “the injury must be fairly traceable to the challenged action

of the defendant[s],” Reule, 114 F.4th at 367 (emphasis added), but it need not rise to the level of



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“proximate cause” or be the “very last step in the chain of causation,” Inclusive Cmtys., 946 F.3d

at 655 (citation omitted).

       In sum, Plaintiffs have demonstrated all three requirements for standing. As a result, AG

Defs. MTD will be denied on this issue.

           D. Sovereign Immunity for Brumley and the BESE Members

                     1. Parties’ Arguments

       AG Defendants next assert that Defendants Brumley and BESE Members are entitled to

sovereign immunity. (Doc. 39-1 at 26.) Each of these defendants is sued in his or her official

capacity, so the suit is barred by the Eleventh Amendment. (Id. at 27.) Plaintiffs must rely on the

Ex parte Young exception, but AG Defendants claim that Plaintiffs cannot satisfy those

requirements. (Id.) First, Plaintiffs do not allege an ongoing violation of federal law, for all the

reasons AG Defendants gave previously. (Id.)

       Second, AG Defendants argue that Plaintiffs fail to allege that Brumley and the other BESE

Members have the requisite authority to enforce H.B. 71. (Id.) That is, Ex parte Young requires

that the “officer sued has some connection with the enforcement of the challenged act,” and, here,

there is none. (Id. (cleaned up).) AG Defendants maintain that Brumley simply has a general duty

to see that the laws are implemented, and this, they say, is insufficient. (Id. at 28.) Brumley has no

duty to enforce the law through “compulsion or constraint” either, and this is also fatal. (Id.)

Likewise, the BESE Members are just alleged to have general oversight and governance of all

public and elementary schools in Louisiana. (Id.) While BESE Members have the authority to

adopt rules and regulations, they have not done so yet, and the possibility they might in the future

is not enough. (Id.) Again, there is no compulsion or constraint, so Plaintiffs’ claims are defective.

(Id. at 28–29.)



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        Plaintiffs respond that they have satisfied the requirements of Ex parte Young. (Doc. 47 at

29.) Plaintiffs assert:

                Here, the Act specifically names BESE and states that BESE “shall
                adopt rules and regulations in accordance with the Administrative
                Procedure Act to ensure the proper implementation of this Section.”
                H.B. 71A(4) (emphasis added); see Compl. ¶¶ 24–25. Those rules
                and regulations, in BESE’s own words, “have the force and effect
                of law.” Furthermore, as the Superintendent of Education,
                Defendant Brumley is statutorily “responsible for administering and
                implementing all policies and programs adopted by [BESE].”
                Compl. ¶ 19 (citing La. R.S. § 17:21 et seq.). Accordingly, BESE’s
                and Brumley’s “connection with the enforcement” of the Act goes
                well beyond a “general duty to see that the laws of the state are
                implemented” and is based on far more than the required “scintilla”
                of legal obligation required under Ex Parte Young. See [Jackson v.
                Wright, 82 F.4th 362, 367 (5th Cir. 2023)] (internal quotation marks
                omitted).

(Doc. 47 at 29–30.) The defendants here have never suggested they will not carry out their

mandatory obligations under the Act, and they will necessarily take actions that result in constraint

or compulsion when they exercise their duty to adopt and administer “rules and regulations . . . to

ensure the proper implementation” of the law. (Id at 30.) “The minor-child Plaintiffs will be forced

to attend school and submit to unwanted and unconstitutionally coercive religious displays, and

the parent-Plaintiffs will be forced to acquiesce to schools’ usurpation of their right to direct their

children’s religious education.” (Id.) Plaintiffs rely on Book People, where the Fifth Circuit

purportedly found that the Texas Education Agency commissioner had a sufficient connection to

a certain law barring school districts from purchasing books from vendors that failed to place

sexual-content ratings on library materials. (Id. at 30–31.)

        Finally, Plaintiffs say AG Defendants cannot prevail by arguing that this is not an “ongoing

violation of federal law,” as Ex parte Young allows suits based on imminent harm. (Id. at 31.)

“Indeed, Ex Parte Young was itself a facial challenge to a state law, made prior to the law’s



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implementation and based on the plaintiffs’ alleged future injuries.” (Id. (citing Ex parte Young,

209 U.S. at 144 (“[T]he question really to be determined under this objection is whether the acts

of the legislature and the orders of the railroad commission, if enforced, would take property

without due process of law.” (emphasis added))).) Plaintiffs maintain that Ex parte Young does not

require that there be an actual violation of law before a Plaintiff files suit; a threat of future

enforcement is enough. (Id. at 31–32 (quoting Summit Med. Assocs., P.C. v. Pryor, 180 F.3d 1326,

1338 (11th Cir. 1999)).) Plaintiffs conclude, “Defendants’ reasoning would foreclose the relief

granted by the Supreme Court to the Ex Parte Young plaintiffs and preclude any pre-enforcement

challenges to state laws. Because courts have routinely recognized that the exception to sovereign

immunity applies in pre-enforcement challenges, Defendants’ position must be rejected.” (Id. at

32 (footnotes omitted).)

        In reply, AG Defendants reiterate that, under Ex parte Young, Plaintiffs cannot prevail

because there is no ongoing violation of federal law. (Doc. 54 at 14.) Moreover, Plaintiffs cannot

identify the requisite enforcement authority to invoke Ex parte Young’s “compulsion or constraint”

requirement. (Id.) AG Defendants say:

                The Fifth Circuit has repeatedly held that the “general duty to see
                that the laws of the state are implemented” is insufficient. Yet
                Plaintiffs retreat to the same allegations about BESE’s and
                Brumley’s generalized responsibilities to promulgate and
                implement rules concerning H.B. 71 that supposedly “will
                necessarily result in the constraint or compulsion of Plaintiffs.”

(Id. (citations omitted).)

        According to AG Defendants, the Act just requires the Department of Education to

“identify,” and “list,” “free [compliance] resources on the department’s internet website,” which

is considerably different than Book People, where the Texas Legislature had the authority to




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compel and constrain the plaintiffs. (Id. at 15 (citations omitted). Thus, Brumley is entitled to

sovereign immunity. (Id.)

       As to the BESE Members, “there is no basis to think any rule they promulgate will

necessarily compel or constrain anyone.” (Id.) For example, BESE has a rule about the “In God

We Trust” motto that merely tells schools to adopt “polices and procedures that address . . . display

of the national motto in each classroom in each school under its jurisdiction in accordance with

R.S. [§] 17:262.” (Id. (citing La. Admin. Code § 28:337(B)(41)).)

                     2. Applicable Law

       “Generally, ‘sovereign immunity bars private suits against nonconsenting states in federal

court.’” Book People, 91 F.4th at 334 (quoting City of Austin v. Paxton, 943 F.3d 993, 997 (5th

Cir. 2019)). “This bar also applies to suits like this one ‘against state officials or agencies that are

effectively suits against a state.’” Id. (quoting City of Austin, 943 F.3d at 997). “Under the Ex parte

Young exception to sovereign immunity, however, a plaintiff can seek prospective injunctive relief

‘against individual state officials acting in violation of federal law.’” Id. (quoting City of Austin,

943 F.3d at 997 (citation omitted)). “These state officials must ‘have some connection with the

enforcement of the allegedly unconstitutional law.’” Id. (quoting United States v. Abbott, 85 F.4th

328, 337 (5th Cir. 2023) (internal quotation marks and citation omitted)).

       “To satisfy the required enforcement connection, the state official must have a duty beyond

‘the general duty to see that the laws of the state are implemented.’” Id. at 335 (quoting City of

Austin, 943 F.3d at 999–1000 (quoting Morris v. Livingston, 739 F.3d 740, 746 (5th Cir. 2014))).

“Rather, the official must have ‘the particular duty to enforce the statute in question and a

demonstrated willingness to exercise that duty.’” Id. (quoting City of Austin, 943 F.3d at 1000

(quoting Morris, 739 F.3d at 746)). “This analysis is ‘“provision-by-provision”: The officer must



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enforce “the particular statutory provision that is the subject of the litigation.”’” Id. (quoting Tex.

All. for Retired Ams. v. Scott, 28 F.4th 669, 672 (5th Cir. 2022) (quoting Tex. Democratic Party v.

Abbott, 978 F.3d 168, 179 (5th Cir. 2020))). “We have defined ‘enforcement’ as ‘compulsion or

constraint,’ so if the official does not compel or constrain anyone to obey the challenged law,

enjoining that official could not stop any ongoing constitutional violation.” Id. (cleaned up).

       “Plaintiffs need only show a ‘scintilla of enforcement by the relevant state official.’” Id.

(quoting Tex. Democratic Party, 978 F.3d at 179 (internal quotation marks and citation omitted)).

The Fifth Circuit has “noted that the Article III standing analysis and Ex parte Young analysis

significantly overlap, such that a finding of standing tends toward a finding that a plaintiff may

sue the official under the Ex parte Young exception.” Id. (cleaned up).

       Additionally, “the inquiry into whether a suit is subject to the Young exception does not

require an analysis of the merits of the claim.” City of Austin, 943 F.3d at 998 (citing Verizon Md.,

Inc. v. Pub. Serv. Comm’n, 535 U.S. 635, 646 (2002)). “Rather, ‘a court need only conduct a

“straightforward inquiry into whether [the] complaint alleges an ongoing violation of federal law

and seeks relief properly characterized as prospective.”’” Id. (quoting Va. Off. for Prot. & Advoc.

v. Stewart, 563 U.S. 247, 255 (2011) (alteration in original) (quoting Verizon, 535 U.S. at 645)).

As one leading treatise explained:

               The ongoing violation requirement is satisfied when a state officer’s
               enforcement of an allegedly unconstitutional state law is threatened,
               even if that threat is not yet imminent. [Waste Mgmt. Holdings, Inc.
               v. Gilmore, 252 F.3d 316, 329–340 (4th Cir. 2001).] A threat that is
               sufficient to confer Article III standing . . . satisfies this element of
               Ex parte Young. [Russell v. Lundergan-Grimes, 784 F.3d 1037,
               1047 (6th Cir. 2015) (state attorney general’s threat of enforcement
               of no-political-speech buffer zone around polling locations satisfied
               Ex parte Young).] An Indian tribe’s challenge to the state’s
               application of Title VII against the tribe was cognizable under the
               Ex parte Young doctrine because the threats to tribal sovereignty,
               self-governance, and sovereign immunity posed by the

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               investigations themselves were sufficiently imminent even if
               enforcement was uncertain. [Aroostook Band of Micmacs v. Ryan,
               404 F.3d 48, 56–66 (1st Cir. 2005).]

17A Moore’s Federal Practice - Civil § 123.40 (Matthew Bender 3d ed. 2024).

        Thus, for instance, in Summit, the Eleventh Circuit found:

               Ex parte Young requires the allegation of an ongoing and continuous
               violation of federal law. This requirement does not mean that the
               enforcement of the allegedly unconstitutional state statute actually
               must be in progress against the particular plaintiffs initiating suit.
               Rather, . . . ongoing and continuous requirement merely
               distinguishes between cases where the relief sought is prospective
               in nature, i.e., designed to prevent injury that will occur in the future,
               and cases where relief is retrospective. . . . Thus, where there is a
               threat of future enforcement that may be remedied by prospective
               relief, the ongoing and continuous requirement has been satisfied.

180 F.3d at 1338 (citations omitted).

        The Fifth Circuit recognized the balance here in United States v. Abbott. There, the

appellate court found that Ex parte Young did not apply to allow an action against the governor

because the order at issue “plainly delegate[d] all remaining enforcement discretion to DPS,” not

the governor, who had “no ongoing authority over DPS.” 85 F.4th at 336. In doing so, the Fifth

Circuit explained:

               True, plaintiffs need not show that the Governor, like Attorney
               General Young, is so intent on bringing enforcement proceedings
               that he has, in violation of a court-issued injunction, obtained and
               served upon an individual plaintiff a court order mandating
               compliance with an allegedly unconstitutional state law; and only a
               stint in federal prison in contempt of court can stop him from
               instituting enforcement proceedings. See Ex parte Young, 209 U.S.
               at 126–27 [ ]; [Stewart, 563 U.S. at 254]. But plaintiffs do need to
               identify at least some enforcement action that the Governor will
               initiate for this court to enjoin. See [Whole Woman’s Health v.
               Jackson, 595 U.S. 30, 43 (2021)]. After all, we can only “enjoin
               named defendants from taking specified unlawful actions.” See id.
               at 44 [ ] (emphasis added).

Id.

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                     3. Analysis

       AG Defendants make two main arguments on this issue: (1) Ex parte Young requires

ongoing harm, not the prospect of future harm, and (2) Brumley and the BESE Members lack the

requisite connection to the Act. (Doc. 54 at 14–15.) In short, the Court finds neither argument

convincing.

       The first argument is easily dispensed with. Moore’s and the other authorities listed above

clearly demonstrate that Ex parte Young allows for threatened violations of federal law and not

merely ongoing ones. See Moore’s, supra, at § 123.40; Summit, 180 F.3d at 1338; cf. Abbott, 85

F.4th at 336. And for all the reasons given in the injury-in-fact discussion provided above, the

Court finds that the threatened constitutional violations here are both imminent and substantial,

not hypothetical or speculative. See Book People, 91 F.4th at 334–36 (linking standing and

sovereign immunity analysis). Thus, AG Defendants cannot prevail on this ground.

       They cannot prevail on their second ground either. In the traceability analysis above, this

Court detailed the duties that the BESE Members and Superintendent have with respect to H.B.

71. In sum, BESE “shall adopt rules and regulations in accordance with the Administrative

Procedure Act to ensure the proper implementation of this Section.” H.B. 71(B)(6)(a). Without

question, that specific statutory directive goes beyond “the general duty to see that the laws of the

state are implemented” and requires the BESE Members to “enforce the particular statutory

provision that is the subject of the litigation.” Book People, 91 F.4th at 335 (cleaned up). By law,

the BESE Members must compel the display of the Ten Commandments in classrooms, allegedly

in violation of the First Amendment rights of Plaintiffs and their minor children. See id. Thus,

contrary to AG Defendants’ position, an injunction against the BESE Members would stop a

threatened violation of federal law. See id.



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       While a closer call, the Court also finds that Brumley is subject to the Ex parte Young

exception. BESE is responsible for implementing the rules concerning the Ten Commandments

displays under the Act, and the Superintendent of Education remains responsible for

“[i]mplement[ing] the policies and programs of the board and the laws affecting schools under the

jurisdiction of the board.” La. R.S. § 17:22(3). Thus, Plaintiffs have identified a specific duty of

the Superintendent to enforce the Act and compel students to view the displays. As with the BESE

Members, an injunction against the Superintendent would prevent the implementation of any

regulations related to H.B. 71, thus preventing constitutional violations.

       Additionally, Plaintiffs have identified a willingness on the part of Brumley and BESE

Members to enforce the statutes at issue. On July 19, 2024, the AG—who is counsel for Brumley

and the BESE members—posted on her Facebook page:




(Slater Decl., Ex. B-2, Doc. 50-5 at 2.) Likewise, the AG announced on July 24:




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(Slater Decl., Ex. B-3, Doc. 50-6.) Meanwhile, BESE President Ronnie Morris testified that the

Board’s statutory duty under the Act was to “adopt rules and regulations that will govern the proper

implementation of the law[.]” (Morris Decl. ¶ 6, Doc. 39-3.) Thus, Plaintiffs have “demonstrated

willingness” by the state officials “to exercise [their] dut[ies]” under the Act to adopt and

implement rules requiring the posting of the Ten Commandments in every public-school

classroom, all year long, according to the minimum requirements of H.B. 71. Book People, 91

F.4th at 335 (cleaned up).
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       The Court agrees with Plaintiffs that Book People is controlling. There, the Commissioner

of the state agency that administered the book-rating system argued that he was entitled to

sovereign immunity. Book People, 91 F.4th at 334–35. The state argued that the commissioner’s

“only enforcement authority is over school districts and, if Plaintiffs are compelled to or

constrained from doing anything, it is by school districts, not the State.” Id. at 335. The Fifth

Circuit rejected this argument:

                 True, the enforcement here “is not the same type of direct
                 enforcement found in Ex Parte Young, for instance, where the
                 attorney general threatened civil and criminal prosecution.” [Air
                 Evac EMS, Inc. v. Tex., Dep’t of Ins., Div. of Workers’ Comp., 851
                 F.3d 507, 519 (5th Cir. 2017)]. But “such enforcement is not
                 required.” [Id.; see also City of Austin, 943 F.3d at 1001.] Plaintiffs
                 have identified specific actions that this court can enjoin:
                 Commissioner Morath is ultimately responsible for collecting and
                 posting the vendors’ lists of ratings, reviewing those ratings to
                 determine whether a corrected rating is required, notifying vendors
                 when their ratings are overridden, and posting lists of noncompliant
                 vendors on TEA’s website. And he is responsible for ensuring that
                 school districts comply with READER’s prohibition on buying
                 material from vendors that violate this statute. [See also supra Part
                 III.A.2; Air Evac EMS, 851 F.3d at 513–14 (“[T]here is significant
                 overlap between standing and Ex Parte Young's applicability.”).]

                 We agree with Plaintiffs that these acts “compel[ ] them to submit
                 ratings with which they disagree,” and “constrain[ ] them from
                 continuing to do business with school districts if they fail to submit
                 the required ratings or decline to acquiesce in the State’s revised
                 ratings.” That Commissioner Morath enforces the law through the
                 school districts doesn’t change our analysis.

Id. at 335–36.

       Similar reasoning applies here. The fact that H.B. 71 will be enforced through the School

Board Defendants does not gainsay the role of the Superintendent and BESE Members in

implementing and enforcing the Act. Like Book People, Plaintiffs have identified specific actions

that can be enjoined against these defendants—namely, in the case of BESE Members, adopting



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rules and regulations to ensure the implementation of the Act, and, in the case of Brumley,

implementing those regulations and policies. Thus, Book People shows why these defendants are

not entitled to relief.

        At oral argument, AG Defendants reiterated a contention made in briefing: that Plaintiffs

“do not (and cannot) challenge any such BESE rule or regulation [adopted to ensure the

implementation of the Act], and that BESE ‘might in the future promulgate’ a rule is insufficient

for Ex parte Young purposes.” (Doc. 39-1 at 28 (quoting Whole Woman’s Health v. Jackson, 595

U.S. 30, 44 (2021)).)

        But the Court finds Jackson distinguishable. There, abortion providers brought a pre-

enforcement challenge against a newly-enacted law (S.B. 8) prohibiting an abortion where a

physician detects a fetal heartbeat. Jackson, 595 U.S. at 35. The providers sought to enjoin, among

others, the Texas attorney general, but the Supreme Court rejected the argument. Id. at 43–44.

“While Ex parte Young authorizes federal courts to enjoin certain state officials from enforcing

state laws, the petitioners d[id] not direct this Court to any enforcement authority the attorney

general possesses in connection with [the challenged law] that a federal court might enjoin him

from exercising.” Id. at 43. “Maybe the closest the petitioners [came] [wa]s” identifying a state

law that allows the attorney general to bring actions for civil penalties for violations of that subtitle

(the Texas Occupational Code) or of a rule or order adopted by the Texas Medical Board. Id. at

44. But there was no such rule in place. Id. at 44. Writing for the majority, Justice Gorsuch then

said,

                To be sure, some of our colleagues suggest that the Board might in
                the future promulgate such a rule and the attorney general might then
                undertake an enforcement action. Post, at –––– (opinion of
                ROBERTS, C. J.) (citing 22 Tex. Admin. Code § 190.8(7) (West
                2021)). But this is a series of hypotheticals and an argument even
                the petitioners do not attempt to advance for themselves.

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               Even if we could overcome this problem, doing so would only
               expose another. Supposing the attorney general did have some
               enforcement authority under S. B. 8, the petitioners have identified
               nothing that might allow a federal court to parlay that authority, or
               any defendant’s enforcement authority, into an injunction against
               any and all unnamed private persons who might seek to bring their
               own S. B. 8 suits. The equitable powers of federal courts are limited
               by historical practice. Atlas Life Ins. Co. v. W. I. Southern, Inc., 306
               U.S. 563, 568 [ ] (1939). “A court of equity is as much so limited as
               a court of law.” Alemite Mfg. Corp. v. Staff, 42 F.2d 832 (CA2 1930)
               (L. Hand, J.). Consistent with historical practice, a federal court
               exercising its equitable authority may enjoin named defendants from
               taking specified unlawful actions. But under traditional equitable
               principles, no court may “lawfully enjoin the world at large,” ibid.,
               or purport to enjoin challenged “laws themselves,” [Whole Woman’s
               Health v. Jackson, 141 S. Ct. 2494, 2495 (2021)] (citing California
               v. Texas, [ ] 141 S. Ct. 2104, 2115-2116 [ ] (2021)).

Id.

        The instant case is a far cry from Jackson. Here, Plaintiffs do not seek to enjoin the AG or

the “world at large;” they are trying to enjoin specific state officials charged with adopting and

implementing rules for the enforcement of an unconstitutional law. Further, in Jackson, the

attorney general had no real enforcement power, whereas, here, the Court has identified the

specific powers of the BESE Members and Superintendent which can be curbed through injunctive

relief. Finally, and perhaps most critically, in Jackson, the majority concluded that it was a mere

“series of hypotheticals” that (1) future rules would be promulgated (2) for which the attorney

general could then bring actions for civil penalties. Conversely, here, the AG—who is the lawyer

for these defendants—is on record, on multiple occasions, stating that, absent Court intervention,

the Ten Commandments will be posted in classrooms according to the Act by January 2025. Thus,

Jackson does not prevent the application of Ex parte Young in this case.

        Again, “Plaintiffs need only show a scintilla of enforcement by the relevant state official,”

and “the Article III standing analysis and Ex parte Young analysis significantly overlap, such that

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a finding of standing tends toward a finding that a plaintiff may sue the official under the Ex parte

Young exception.” Book People, 91 F.4th at 335 (cleaned up). For all the above reasons, and

particularly those described in the standing section, the Court finds that Plaintiffs have satisfied

the requirements of the Ex parte Young exception and therefore AG Defs. MTD will be denied on

this issue.

IV.     RULE 12(B)(6) STANDARD

        “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Hamilton v. Dall. Cnty.,

79 F.4th 494, 499 (5th Cir. 2023) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007))). “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Id. (quoting Iqbal, 556 U.S. at 678).

        “To be plausible, the complaint’s ‘[f]actual allegations must be enough to raise a right to

relief above the speculative level.’” In re Great Lakes Dredge & Dock Co. LLC, 624 F.3d 201,

210 (5th Cir. 2010) (quoting Twombly, 550 U.S. at 555). “In deciding whether the complaint states

a valid claim for relief, we accept all well-pleaded facts as true and construe the complaint in the

light most favorable to the plaintiff.” Id. (citing Doe v. MySpace, Inc., 528 F.3d 413, 418 (5th Cir.

2008)). The Court does “not accept as true ‘conclusory allegations, unwarranted factual inferences,

or legal conclusions.’” Id. (quoting Ferrer v. Chevron Corp., 484 F.3d 776, 780 (5th Cir. 2007)).

“A claim for relief is implausible on its face when ‘the well-pleaded facts do not permit the court

to infer more than the mere possibility of misconduct.’” Harold H. Huggins Realty, Inc. v. FNC,

Inc., 634 F.3d 787, 796 (5th Cir. 2011) (quoting Iqbal, 556 U.S. at 679).




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        The Court’s “task, then, is ‘to determine whether the plaintiff has stated a legally

cognizable claim that is plausible, not to evaluate the plaintiff’s likelihood of success.’” Doe ex

rel. Magee v. Covington Cnty. Sch. Dist. ex rel. Keys, 675 F.3d 849, 854 (5th Cir. 2012) (quoting

Lone Star Fund V (U.S.), L.P. v. Barclays Bank PLC, 594 F.3d 383, 387 (5th Cir. 2010) (citing

Iqbal, 556 U.S. at 678)). “[A] claim is plausible if it is supported by ‘enough fact[s] to raise a

reasonable expectation that discovery will reveal evidence of [the alleged misconduct].’” Calhoun

v. City of Hous. Police Dep’t, 855 F. App’x 917, 919–20 (5th Cir. 2021) (per curiam) (quoting

Twombly, 550 U.S. at 556).

        Additionally, “[i]n determining whether a plaintiff’s claims survive a Rule 12(b)(6) motion

to dismiss, the factual information to which the court addresses its inquiry is limited to (1) the facts

set forth in the complaint, (2) documents attached to the complaint, and (3) matters of which

judicial notice may be taken under Federal Rule of Evidence 201.” Inclusive Cmtys. Project, Inc.

v. Lincoln Prop. Co., 920 F.3d 890, 900 (5th Cir. 2019) (citations omitted). “Although a ‘court

may also consider documents attached to either a motion to dismiss or an opposition to that motion

when the documents are referred to in the pleadings and are central to a plaintiff’s claims,’ . . . the

court need not do so.” Brackens v. Stericycle, Inc., 829 F. App’x 17, 23 (5th Cir. 2020) (per curiam)

(quoting Brand Coupon Network, L.L.C. v. Catalina Mktg. Corp., 748 F.3d 631, 635 (5th Cir.

2014)). See also Dorsey v. Portfolio Equities, Inc., 540 F.3d 333, 338 (5th Cir. 2008) (using

permissive language regarding a court’s ability to rely on documents incorporated into the

complaint by reference).

 V.     AG DEFS. MTD: RULE 12(B)(6) MOTION: THE ESTABLISHMENT CLAUSE CLAIM

        AG Defendants next contend that Plaintiffs fail to sufficiently allege a violation of the

Establishment Clause. (Doc. 39-1 at 29.) AG Defendants’ position boils down to the following:



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(1) because Plaintiffs make a facial challenge, they must demonstrate that the Act is

unconstitutional in every application, which they cannot do; (2) Stone is no longer good law, and,

even if it were, Stone is distinguishable; and (3) since Stone does not control, Plaintiffs must allege

an Establishment Clause claim in accord with Kennedy, which they fail to do. The Court will take

each of these arguments in turn.

            A. Facial Challenge

                      1. Parties’ Arguments

                            a. AG Defendants’ Original Memorandum (Doc. 39-1)

        AG Defendants assert that the first step is to characterize the nature of the claim. (Doc. 39-

1 at 30.) Here, AG Defendants argue that Plaintiffs assert a facial attack on the Act, as Plaintiffs

do not challenge any particular display implemented by H.B. 71. (Id.) Thus, say AG Defendants,

Plaintiffs’ claim is disfavored, and they must show “that there is no set of circumstances under

which the implementation of H.B. 71 is constitutional.” (Id. (cleaned up).) That is, the law must

be “unconstitutional in every application.” (Id. (cleaned up).) AG Defendants maintain that

Plaintiffs fail to satisfy this standard. (Id. at 30–31.)

        AG Defendants contend that H.B. 71 can be implemented “in countless ways that do not

implicate [the] ‘hallmarks of religious establishments’” set forth in Kennedy. (Id. at 31.) According

to AG Defendants, Justice Gorsuch has laid out six specific such “hallmarks of religious

establishment the framers sought to prohibit when they adopted the First Amendment[,]” most of

which “reflect forms of ‘coercion’ regarding ‘religion or its exercise.’” (Id. (cleaned up).)

“Therefore, Plaintiffs’ burden here is to plausibly allege that every potential display implementing

H.B. 71 will violate the Establishment Clause because it falls within one of these historical

hallmarks of religious establishments.” (Id. at 32 (citations omitted).)


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       AG Defendants argue that Plaintiffs cannot meet that burden. (Id.) To demonstrate this,

AG Defendants have provided twelve “Illustrations” of ways that the Ten Commandments could

be displayed in classrooms that would pass muster under the First Amendment. (Id. at 32–40.)

Some purport to “explain the historical role that the Ten Commandments have played in American

history, both in education and law”:




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(Illustrations 1 & 2, Doc. 39-1 at 33.) Some might be used by elementary schools:




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(Illustration 3, Doc. 39-1 at 34.) Some involve the Ten Commandments and their place at the

Supreme Court and at the House of Representatives:


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(Illustrations 4 & 5, Doc. 39-1 at 35.)

       “Along the same lines, a school, teacher, or civic non-profit looking to donate displays may

turn to Charlton Heston’s historic portrayal of Moses in The Ten Commandments and one of the

clever songs from Lin-Manuel Miranda’s Hamilton for their fine art[s] classroom”:




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(Illustration 6, Doc. 39-1 at 36.) One might turn to Justice Ruth Bader Ginsberg:




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(Illustration 7, Doc. 39-1 at 37.) Alternatively, schools could “highlight civil rights leaders”:




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(Illustrations 8 & 9, Doc. 39-1 at 37.) Other illustrations may be “humor-inspired” for computer

class or inspirational for speech classes:




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(Illustrations 10 & 11, Doc. 39-1 at 38.) AG Defendants continue, “[a] school, teacher, or civil

non-profit looking to donate displays also could explain the impact of non-profit organizations on

legislative and litigation processes in a government class”:




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(Illustration 12, Doc. 39-1 at 39.) “Or, using many of the same headlines, a school, teacher, or

civic non-profit may similarly highlight the impact of litigation on our governance by alluding to

pop culture by invoking Internet memes”:




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(Illustration 13, Doc. 39-1 at 39.) Finally, AG Defendants say these Illustrations can discuss how

the Supreme Court has dealt with the Ten Commandments:




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(Illustrations 14 & 15, Doc. 39-1 at 40.)

       AG Defendants assert:

               As these few examples demonstrate, there are quite literally
               innumerable ways to comply with H.B. 71. From different topics, to
               different content, to different fonts, to different colors, to different
               sizes, to different orientations—the possibilities are endless. See Ex.
               A ¶ 13 (in addition to considering these illustrations, the Department
               of Education “will likely also consider other illustratives with
               different themes, content, formats, layouts, graphics, typography,
               color schemes, sizes, styles, interactive elements, spacing, borders,
               and headings”). And that sets aside a whole host of other questions
               about where schools and teachers actually place the posters, what
               size the posters are, whether each classroom may have a different
               poster, and so on.

(Doc. 39-1 at 40–41.) AG Defendants maintain that Plaintiffs must demonstrate that each of these

displays reflects one of Justice Gorsuch’s six “historical hallmarks of an established religion.” (Id.

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at 41 (quoting Kennedy, 597 U.S. at 537 n.5 (citing Shurtleff v. City of Boston, 596 U.S. 243, 286

(2022) (Gorsuch, J., concurring); Croft, 624 F.3d at 164).) AG Defendants then go on to explain

how a few particular illustrations they have provided do not violate Justice Gorsuch’s hallmarks.

(Id. at 41–43.)

        “At bottom, Plaintiffs’ Establishment Clause claim must be dismissed because Plaintiffs

have not met—and cannot meet—the high standard for facial claims given the endless possibilities

of H.B. 71 displays that may be implemented.” (Doc. 39-1 at 44.)

                             b. Plaintiffs’ Opposition (Doc. 47)

        In response, Plaintiffs first argue that the standard AG Defendants advance—that Plaintiffs

must prove “no set of circumstances” under which the Act is constitutional—has never been used

by the Supreme Court in an Establishment Clause and Free Exercise Clause case and only once

been used by the Fifth Circuit, in Croft. (Doc. 47 at 33.) But, even if this standard did apply,

Plaintiffs would satisfy it. (Id.)

        Plaintiffs maintain that AG Defendants’ approach ignores the terms of the statute, which

is the proper focus for facial challenges. (Id. at 33–34.) Here, looking at the language of the statute

itself, the Act is unconstitutional, and “displays of the Ten Commandments posted pursuant to,

and in compliance with, that scheme will infringe Plaintiffs’ First Amendment rights—no matter

the content of any individual display.” (Id. at 34.)

                  Whatever else may be included in any individual display, lawmakers
                  have written the statute to ensure that, across the board, the Ten
                  Commandments are the displays’ defining feature and that students’
                  attention will be drawn to them. Subjecting the minor-child
                  Plaintiffs to permanent displays of a state-mandated,
                  denominational version of the Ten Commandments in every
                  classroom for the duration of their public-school education is, in and
                  of itself, patently unconstitutional under Stone and any applicable
                  First Amendment test.



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(Id.) Thus, the Act is unconstitutional in every application. (Id.) AG Defendants’ Illustrations do

not comply with Act, nor would they be constitutional on an individual basis. (Id.) But, ultimately,

the Illustrations are irrelevant because Plaintiffs are claiming that “no single implementation of the

Act can be separated from its unconstitutional statutory scheme as a whole.” (Id. at 34–35.)

                            c. AG Defendants’ Reply (Doc. 54)

        AG Defendants reply first:

                None of Plaintiffs’ counterarguments refute the obvious: Plaintiffs
                do not and cannot plausibly allege that every potential H.B. 71
                display violates the Establishment Clause or their Free Exercise
                rights. . . . [A]s Defendants’ illustrations demonstrate, there are
                endless ways to formulate H.B. 71-compliant displays that satisfy
                the Establishment Clause; indeed, all of them pass muster under the
                now-governing historical hallmarks test.”

(Doc. 54 at 15.) AG Defendants maintain that Croft is binding precedent which “makes good

sense” because it governs “most First Amendment facial challenges.” (Id. at 16.) The Court must

follow Croft and “explore the laws’ full range of applications . . . to decide, in this case, if there is

no set of circumstances under which the implementation of H.B. 71 is constitutional.” (Id. (cleaned

up).) Plaintiffs cannot prevail, AG Defendants say, even under Lemon-era cases because context

matters and because the Court must evaluate the Government’s displays in their “full setting.” (Id.

(citations omitted).) AG Defendants reiterate that Plaintiffs cannot demonstrate that every one of

their illustrations violate the Establishment Clause. (Id. at 16–17.)

                      2. Law and Analysis

        Plaintiffs do not seriously dispute that they make a facial attack, so the real question is:

how does this affect their challenge to H.B. 71?

        The issue is answered in part by Croft. There, plaintiffs were parents of minors who

attended public schools. Croft, 624 F.3d at 161. They “challenge[d] the Texas pledge of allegiance,



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as amended to include the phrase ‘one state under God,’ and a provision of the Texas Education

Code requiring students to recite the pledge daily.” Id.

        On appeal, plaintiffs argued that there was no distinction between facial and as-applied

challenges in Establishment Clause cases, so the government’s actions were to be reviewed solely

under the various tests used by the Supreme Court to identify Establishment Clause violations. Id.

at 163. That is, plaintiffs maintained that they need not meet the “heightened burden” of “showing

[ ] unconstitutionality under all circumstances . . . .” Id.

        The Fifth Circuit rejected this argument. Id. at 163–64. The appellate court first explained

that “[b]oth we and the Supreme Court have recognized the difference between facial and as-

applied Establishment Clause challenges.” Id. at 163 (citations omitted). “In fact, [the Fifth Circuit

has] . . . point[ed] out that ‘speculative possibilities may be fertile ground for as-applied challenges

if they occur,’ but were inappropriate on facial review.” Id. (quoting Croft v. Governor of Tex.,

562 F.3d 735, 750 (5th Cir. 2009)).

        “The Supreme Court has [ ] explained that where the ‘plaintiffs’ claim and the relief that

would follow . . . reach beyond the particular circumstances of th[o]se plaintiffs,’ the plaintiffs

must ‘satisfy our standards for a facial challenge to the extent of that reach.’” Id. at 164 (quoting

John Doe No. 1 v. Reed, 561 U.S. 186, 194, 130 S. Ct. 2811, 2817 (2010) (citing United States v.

Stevens, 559 U.S. 460, 472–73, 130 S. Ct. 1577, 1587 (2010)). The Fifth Circuit concluded that

the challenges were “clearly [ ] facial attack[s]” because “[n]one [were] limited to the ‘particular

circumstances of [the] plaintiffs’” and because the relief sought was “that the pledge be invalidated

in its entirety, not merely that it not be applied to them or their children.” Id.

        Consequently, the circuit court concluded: “To successfully mount a facial challenge, the

plaintiffs must show that there is no set of circumstances under which either the language of the



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pledge or the requirement that children recite the pledge in classrooms is constitutional. If the

plaintiffs successfully show either provision to be unconstitutional in every application, then that

provision will be struck down as invalid.” Id.

       Similar reasoning applies here. Again, Plaintiffs do not seriously dispute that they mount a

facial challenge, so, under Croft, they must prove the Act is “unconstitutional in every application”

and that there is “no set of circumstances under which” the Ten Commandments could be posted

in compliance with the Act that would be constitutional. See id. Plaintiffs lament that Croft is the

only Establishment Clause case in the Fifth Circuit to reach this result, but Croft remains binding

precedent that this Court must follow.

       AG Defendants treat this as a kill shot. They maintain that they can comply with the

Establishment Clause by surrounding the Ten Commandments with nonreligious matter no matter

how outlandish that material might be. That is to say, AG Defendants believe they can constantly

change their iterations, leaving potential challengers like Menelaus trying to seize and hold the

ever shape-shifting Proteus until Proteus eventually tires and divulges the hero’s way off the island.

See HOMER, THE ODYSSEY 135.391–142.644 (Robert Fagles trans., Penguin Books, 1997). Or,

phrased another way, AG Defendants would have aggrieved parents and children play an endless

game of whack-a-mole, constantly having to bring new lawsuits to invalidate any conceivable

poster that happens to have the Decalogue on it.

       AG Defendants overreach. Critically, they ignore the fact—both in briefing and in many

of their Illustrations—that the Act contains certain “minimum requirements” that the Ten

Commandments “shall be displayed on a poster or framed document that is at least eleven inches

by fourteen inches,” with the Decalogue as “the central focus of the poster or framed document”

and “printed in a large, easily readable font.” H.B. 71(B)(1). (emphasis added). Further, these



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displays must be posted in every “classroom in each school,” all year round, regardless of subject

matter, and regardless of the age of the student. Id. Thus, the question is not whether the Biblical

laws can ever be put on a poster; the issue is whether, as a matter of law, there is any constitutional

way to display the Ten Commandments in accordance with the minimum requirements of the Act.

       In short, the Court finds that there is not. First, Stone remains good law and is directly on

point, and this Court is bound to follow it. Second, even putting Stone aside, for purposes of this

Rule 12(b)(6) motion, Plaintiffs have adequately alleged that H.B. 71 fails to comply with the

Establishment Clause analysis laid out in Kennedy and Fifth Circuit precedent.

           B. Stone v. Graham

                        1. Parties’ Arguments

                            a. AG Defendants’ Original Memorandum (Doc. 39-1)

       AG Defendants declare, “Stone is dead and inapposite.” (Id. at 47.) Specifically, they

contend: (1) that Stone is no longer good law, and (2) that Stone has been narrowed by its own

language and subsequent Supreme Court cases, all of which makes it distinguishable from “the

myriad ways H.B. 71 may be implemented.” (Id.)

       As to the former, AG Defendants contend that Stone applied the test from Lemon v.

Kurtzman, 403 U.S. 602 (1971), but the Supreme Court rejected the Lemon test in Kennedy. (Id.

at 47–48.) That means: (1) Stone cannot be extended and is limited to the facts of its case, and (2)

under the Supreme Court’s own precedent, the Court should treat Stone as bad law. (Id. at 48

(citations omitted).)

       As to the latter, AG Defendants maintain that Stone is distinguishable. (Id.) The display in

Stone was “plainly religious,” and Stone emphasized that “[t]his is not a case in which the Ten

Commandments are integrated into the school curriculum, where the Bible may constitutionally


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be used in an appropriate study of history, civilization, ethics, comparative religion, or the like.”

(Id. at 48–49 (quoting Stone, 449 U.S. at 41–42).) That is, there was “no educational function” in

Stone. (Id. at 49 (quoting Stone, 449 U.S. at 42).) The Supreme Court has subsequently narrowed

Stone, emphasizing that Stone did not decide the constitutionality of every possible display of the

Ten Commandments and that Stone only applied to “plainly religious” displays with that “pre-

eminent purpose.” (Id. (cleaned up).) For similar reasons, each Illustration provided by the AG

Defendants lacks such a religious purpose, and their context reflects an educational one. (Id. at 49–

50.) Thus, AG Defendants argue that, even if Stone is good law, the Court should uphold H.B. 71.

(Id.)

                            b. Plaintiffs’ Opposition (Doc. 47)

          Plaintiffs respond that Stone remains binding and is dispositive. (Doc. 47 at 35.) “[O]nly

the Supreme Court may overrule its precedents even where subsequent decisions or factual

developments may appear to have significantly undermined the rationale for the earlier holding.”

(Id. (quoting Nat’l Coal. for Men v. Selective Serv. Sys., 969 F.3d 546, 549–50 (5th Cir. 2020)

(alteration and internal quotation marks omitted)).) Lower courts may not ignore Supreme Court

precedent unless the High Court itself so instructs. (Id.) Even if the continued validity of a Supreme

Court decision is called into doubt, that case controls, and lower courts should leave it to the

Supreme Court to overrule its own decisions. (Id. at 35–36.) AG Defendants point to Agostini v.

Felton, 521 U.S. 203 (1997), but that case (1) was unique because the Supreme Court was

evaluating the case in the context of a Rule 60(b)(5) motion, and (2) in any event, reaffirmed the

general rule that lower courts should not decide for themselves whether a Supreme Court decision

remains good law. (Doc. 47 at 36–37.) Likewise, the federal Second Circuit has also rejected the

position that all cases based on Lemon are no longer binding. (Id. at 37 (citing Jusino v. Fed’n of



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Catholic Teachers, Inc., 54 F.4th 95, 102 (2d Cir. 2022), cert. denied, 143 S. Ct. 1056 (2023)).)

Like the Second Circuit reasoned, Kennedy did not overrule Stone or even mention it, and, in any

event, Stone also relied on Schempp, which, as Van Orden recognized, reflects the special

treatment received by elementary and secondary schools. (Id. (citations omitted).)

       Additionally, AG Defendants’ efforts to distinguish Stone are not persuasive. (Id.) Both

cases involved a facial challenge to a law requiring the permanent display of the Ten

Commandments in all classrooms. (Id. at 37–38.) Moreover, (1) neither statute required the

commandments be displayed alone; (2) both statutes had minimum requirements for size; and (3)

each statute was accompanied by a context statement. (Id.) Plaintiffs conclude:

               Finally, as in Stone, the state’s purpose here is plainly religious, with
               the principal author and sponsor of the Act explaining: “It is so
               important that our children learn what God says is right and what He
               says is wrong, and to allow [the Ten Commandments] to be
               displayed in our classrooms as a visual aid, I believe, especially in
               this day and time is so important.” Compl. ¶ 79. The statutory
               scheme further belies [AG] Defendants’ claim that the displays
               mandated by the Act have a “non-religious objective.” Def. Br. at
               41. The Act does not tie the displays to any existing, possibly
               relevant curriculum, such as world history or world religions, or to
               any curriculum at all. Pl. Br. at 23–24. It mandates the display of
               only one (purportedly) historical document, regardless of
               instructional context: the Ten Commandments. Even the
               Declaration of Independence, one of the most consequential
               documents in U.S history, does not get this special treatment. And
               the other core Founding documents, the Constitution and Bill of
               Rights, are nowhere to be found in the Act. That’s because
               lawmakers had one aim: to impose the Ten Commandments on
               students in an effort to induce them to believe in and live by the
               state’s preferred religious doctrine. See Pl. Br. at 6 (Governor
               Landry defending the Act by questioning, “[s]ince when did the Ten
               Commandments become a bad way to live your life?!”).

(Id. at 38.) In sum, Stone is on point, and “[i]ndeed, the Act is more constitutionally egregious than

the Kentucky statute because it adopts and prescribes a specific, denominational version of the Ten

Commandments.” (Id. at 39 (citations omitted).)

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                           c. AG Defendants’ Reply (Doc. 54)

       AG Defendants begin their reply by emphasizing that Plaintiffs concede that the Lemon

test has been abandoned and that Lemon was the primary basis for Stone’s holding. (Doc. 54 at

17.) Further, the Supreme Court’s rejection of Stone’s underlying rationale should limit Stone to

the facts of that case, not just because of Kennedy but also because of other cases from other

circuits which predate Kennedy. (Id.)

       AG Defendants argue Stone is distinguishable in two ways. “First, Stone, unlike this case,

did not involve pre-enforcement adjudication of displays of unknown content[,]” and there were

“‘15,000 framed copies’ . . . ‘in all classrooms in 55 counties,’” (id. (quoting Stone v. Graham,

599 S.W.2d 157, 159 (Ky. 1980) (Lukowsky, J., for reversal)).) “The text of the Commandments

‘stood alone,’ with ‘no context that might have indicated an object beyond the religious character

of the text.’” (Id. (quoting McCreary, 545 U.S. at 867–68).) Conversely, here, no decision has been

made on what the displays will end up looking like, and the illustrations show there can be

numerous pedagogical purposes. (Id. at 17–18.) AG Defendants say that “context matters, . . . [a]nd

now that Kennedy has confirmed Lemon’s abrogation, Stone certainly does not apply to the kind

of elaborate, creative, and diverse displays that H.B. 71 permits and [AG] Defendants might

consider here.” (Id. at 18.)

       Second, in Stone, Kentucky failed to provide a “secular legislative purpose” for their

required displays, whereas, here, Louisiana has done so. (Id.) AG Defendants maintain that each

display contains the three-paragraph long context statement explaining the historical and

educational purpose of the law, and the Act itself cites historical sources to support those purposes.

(Id. at 19 (citations omitted).) In Stone, Kentucky failed to provide those bases, and Courts should




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defer to the “secular purpose” advanced by the Legislature, even if some legislators did have a

religious motive. (Id.) Thus, Stone is distinguishable and should not be extended. (Id.)

                     2. Law and Analysis

       AG Defendants assert that “Stone is dead and inapposite.” (Doc. 39-1 at 47.) The Court

will begin with an analysis of Stone before returning to AG Defendants’ arguments.

       In Stone, the Supreme Court found that “[a] Kentucky statute [which] require[d] the posting

of a copy of the Ten Commandments, purchased with private contributions, on the wall of each

public classroom in the State” violated the Establishment Clause. 449 U.S. at 39. That statute

provided in full:

               “(1) It shall be the duty of the superintendent of public instruction,
               provided sufficient funds are available as provided in subsection (3)
               of this Section, to ensure that a durable, permanent copy of the Ten
               Commandments shall be displayed on a wall in each public
               elementary and secondary school classroom in the Commonwealth.
               The copy shall be sixteen (16) inches wide by twenty (20) inches
               high.

               “(2) In small print below the last commandment shall appear a
               notation concerning the purpose of the display, as follows: ‘The
               secular application of the Ten Commandments is clearly seen in its
               adoption as the fundamental legal code of Western Civilization and
               the Common Law of the United States.’

               “(3) The copies required by this Act shall be purchased with funds
               made available through voluntary contributions made to the state
               treasurer for the purposes of this Act.”

Id. at 40 n.1 (quoting 1978 Ky. Acts, ch. 436, § 1 (effective June 17, 1978), Ky. Rev. Stat.

§ 158.178 (1980)).

       The High Court looked to the three-part test articulated by Lemon: “First, the statute must

have a secular legislative purpose; second, its principal or primary effect must be one that neither

advances nor inhibits religion . . .; finally[,] the statute must not foster ‘an excessive government



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entanglement with religion.’” Id. at 40 (quoting Lemon, 403 U.S. at 612–613 (citations omitted)).

The Supreme Court found that the statute “had no secular legislative purpose[ ] and [was] therefore

unconstitutional.” Id. at 41.

          Kentucky argued that the statute did have such a purpose. The state pointed to the fact “that

the legislature required the following notation in small print at the bottom of each display of the

Ten Commandments: ‘The secular application of the Ten Commandments is clearly seen in its

adoption as the fundamental legal code of Western Civilization and the Common Law of the

United States.’” Id.

          The Supreme Court rejected this argument, explaining that, “[u]nder this Court’s rulings,

however, such an ‘avowed’ secular purpose is not sufficient to avoid conflict with the First

Amendment.” Id. Stone relied upon Schempp, where the High Court found that “the daily reading

of Bible verses and the Lord’s Prayer in the public schools” was unconstitutional, even though the

school district argued “such secular purposes as ‘the promotion of moral values, the contradiction

to the materialistic trends of our times, the perpetuation of our institutions and the teaching of

literature.’” Id. (quoting Schempp, 374 U.S. at 223).

          After declaring that “[t]he pre–eminent purpose for posting the Ten Commandments on

schoolroom walls is plainly religious in nature[,]” 8 the Court then stated:



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    The Supreme Court explained:

                   The Ten Commandments are undeniably a sacred text in the Jewish and Christian
                   faiths, and no legislative recitation of a supposed secular purpose can blind us to
                   that fact. The Commandments do not confine themselves to arguably secular
                   matters, such as honoring one’s parents, killing or murder, adultery, stealing, false
                   witness, and covetousness. See Exodus 20: 12–17; Deuteronomy 5: 16–21.
                   Rather, the first part of the Commandments concerns the religious duties of
                   believers: worshipping the Lord God alone, avoiding idolatry, not using the
                   Lord’s name in vain, and observing the Sabbath Day. See Exodus 20: 1–11;
                   Deuteronomy 5: 6–15.

Stone, 449 U.S. at 41–42.

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               This is not a case in which the Ten Commandments are integrated
               into the school curriculum, where the Bible may constitutionally be
               used in an appropriate study of history, civilization, ethics,
               comparative religion, or the like. Abington School District v.
               Schempp, [374 U.S.] at 225 [ ]. Posting of religious texts on the wall
               serves no such educational function. If the posted copies of the Ten
               Commandments are to have any effect at all, it will be to induce the
               schoolchildren to read, meditate upon, perhaps to venerate and obey,
               the Commandments. However desirable this might be as a matter of
               private devotion, it is not a permissible state objective under the
               Establishment Clause.

               It does not matter that the posted copies of the Ten Commandments
               are financed by voluntary private contributions, for the mere posting
               of the copies under the auspices of the legislature provides the
               “official support of the State . . . Government” that the
               Establishment Clause prohibits. 374 U.S., at 222 [ ]; see Engel v.
               Vitale, 370 U.S. 421, 431 [ ] (1962). . . . Moreover, while the actual
               copies of the Ten Commandments were purchased through private
               contributions, the state nevertheless expended public money in
               administering the statute. . . . Nor is it significant that the Bible
               verses involved in this case are merely posted on the wall, rather
               than read aloud as in Schempp and Engel, for “it is no defense to
               urge that the religious practices here may be relatively minor
               encroachments on the First Amendment.” Abington School District
               v. Schempp, supra, at 225, [ ]. We conclude that § 158.178 (1980)
               violates the first part of the Lemon v. Kurtzman, test, and thus the
               Establishment Clause of the Constitution.

Stone, 449 U.S. at 42–43, 42 n.4. The Court also distinguished cases highlighted by the dissent as

“involving state assistance to private schools” before concluding, “[t]he posting of the Ten

Commandments on classroom walls has no such secular purpose.” Id. at 43 n.5.

       With that background, the Court returns to AG Defendants’ argument that “Stone is dead

and inapposite.” (Doc. 39-1 at 47.) As to the former, AG Defendants do not seriously argue that

Stone has been overruled; rather, they maintain in briefing that the Supreme Court has rejected

Lemon, which was “the doctrinal foundation for Stone,” and that, consequently, “this Court should

treat Stone as bad law altogether.” (Id. at 47–48.)




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        AG Defendants are only half right. Specifically, they are correct that the foundation of

Stone—the Lemon test—has been abandoned. See Kennedy, 597 U.S. at 534–35; 9 Groff v. DeJoy,

600 U.S. 447, 460 (2023) (describing Lemon as “now abrogated” by Kennedy). The Court will

discuss what replaced Lemon infra, but for present purposes, it is essential that Kennedy did not

overrule Stone, or even mention it.

        Why is that important? Because “[i]t is [the Supreme] Court’s prerogative alone to overrule

one of its precedents.” Bosse v. Oklahoma, 580 U.S. 1, 3 (2016) (per curiam) (quoting United

States v. Hatter, 532 U.S. 557, 567 (2001)). The High Court’s “decisions remain binding precedent

until [it] see[s] fit to reconsider them, regardless of whether subsequent cases have raised doubts

about their continuing vitality.” Id. (quoting Hohn v. United States, 524 U.S. 236, 252–53 (1998)).


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  In Kennedy, Justice Gorsuch, writing for the majority, explained the Court’s evolution on the Lemon test and why
the Supreme Court “abandoned” it:

                 [T]he “shortcomings” associated with this “ambitiou[s],” abstract, and ahistorical
                 approach to the Establishment Clause became so “apparent” that this Court long
                 ago abandoned Lemon and its endorsement test offshoot. [Am. Legion v. Am.
                 Humanist Ass’n, 588 U.S. 29, 139 S. Ct. 2067, 2079–81 (2019)] (plurality
                 opinion); see also Town of Greece v. Galloway, 572 U.S. 565, 575–577 [ ] (2014).
                 The Court has explained that these tests “invited chaos” in lower courts, led to
                 “differing results” in materially identical cases, and created a “minefield” for
                 legislators. [Cap. Square Rev. & Advisory Bd. v. Pinette, 515 U.S. 753, 768–69,
                 768 n.3 (1995)] (plurality opinion) (emphasis deleted). This Court has since made
                 plain, too, that the Establishment Clause does not include anything like a
                 “modified heckler’s veto, in which . . . religious activity can be proscribed” based
                 on “ ‘perceptions’ ” or “ ‘discomfort.’ ” Good News Club v. Milford Central
                 School, 533 U.S. 98, 119 [ ] (2001) (emphasis deleted). An Establishment Clause
                 violation does not automatically follow whenever a public school or other
                 government entity “fail[s] to censor” private religious speech. Board of Ed. of
                 Westside Community Schools (Dist. 66) v. Mergens, 496 U.S. 226, 250 [ ] (1990)
                 (plurality opinion). Nor does the Clause “compel the government to purge from
                 the public sphere” anything an objective observer could reasonably infer endorses
                 or “partakes of the religious.” [Van Orden, 545 U.S. at 699] (BREYER, J.,
                 concurring in judgment). In fact, just this Term the Court unanimously rejected a
                 city’s attempt to censor religious speech based on Lemon and the endorsement
                 test. See Shurtleff, 596 U. S., at –––– – ––––, 142 S. Ct., at 1587–1588; id., at ––
                 ––, 142 S. Ct., at 1595 (ALITO, J., concurring in judgment); id., at ––––, –––– –
                 ––––, 142 S. Ct., at 1587, 1588–1589 (opinion of GORSUCH, J.).

Kennedy, 597 U.S. at 534–35.


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“If a precedent of [the Supreme] Court has direct application in a case, yet appears to rest on

reasons rejected in some other line of decisions, [lower courts] should follow the case which

directly controls, leaving to th[e] [Supreme] Court the prerogative of overruling its own decisions.”

Rodriguez de Quijas v. Shearson/Am. Express, Inc., 490 U.S. 477, 484 (1989). “This is true even

if the lower court thinks the precedent is in tension with some other line of decisions.” Consumers’

Rsch. v. Consumer Prod. Safety Comm’n, 91 F.4th 342, 356 (5th Cir. 2024) (quoting Mallory v.

Norfolk S. Ry. Co., 600 U.S. 122, 136 (2023)).

       Thus, even if the “doctrinal foundation of Stone” has been undermined, as AG Defendants

argue, it remains binding precedent. See Jusino, 54 F.4th at 102 (finding that “[NLRB v. Catholic

Bishop of Chi., 440 U.S. 490, 496 (1979)] . . . remain[ed] good law notwithstanding its reliance . . .

on Lemon [ ], which was overruled by the Supreme Court” because Kennedy “did not . . .

overrule—or even mention—Catholic Bishop” and so, “unless and until the Supreme Court sees

fit to overrule Catholic Bishop directly, it remain[ed] binding on this Court.” (citation omitted)).

In short, this Court must follow Stone if it “directly controls.” Rodriguez, 490 U.S. at 484.

       Stone does directly control this case, as its facts and reasoning are on all fours. Again, H.B.

71 provides:

               No later than January 1, 2025, each public school governing
               authority shall display the Ten Commandments in each classroom
               in each school under its jurisdiction. The nature of the display shall
               be determined by each governing authority with a minimum
               requirement that the Ten Commandments shall be displayed on a
               poster or framed document that is at least eleven inches by fourteen
               inches. The text of the Ten Commandments shall be the central
               focus of the poster or framed document and shall be printed in a
               large, easily readable font.

The Act also requires that the Decalogue be “displayed with a context statement” which begins,

“[t]he Ten Commandments were a prominent part of American public education for almost three



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centuries.” Examples purportedly include, among other things, The New England Primer from

around 1688, McGuffey Readers written in the early 1800s, and textbooks published by Noah

Webster. H.B. 71 further states that a public-school governing authority is not required to spend

its funds to purchase a display; rather, “[a] governing authority may spend donated funds to

purchase the Ten Commandments or other historical documents provided for in [the Act] or may

accept donated displays.” Id.

         Thus, the unconstitutional law in Stone and H.B. 71 share the following similarities:

(1) both require that the Ten Commandments be displayed on the wall in every public elementary

and secondary school classroom in the state; (2) the two laws impose comparable minimum size

requirements for the display; (3) each statute contains a context statement purporting to describe

the historical basis for the display; (4) the two statutes allow for financing by private contributions;

(5) neither represents “a case in which the Ten Commandments are integrated into the school

curriculum, where the Bible may constitutionally be used in an appropriate study of history,

civilization, ethics, comparative religion, or the like,” Stone, 449 U.S. at 42 (citing Schempp, 374

U.S. at 225); see also generally La. Student Standards: Social Studies (updated May 11, 2023),

https://www.louisianabelieves.com/docs/ ; 10 and (6) the Louisiana and Kentucky laws both single

out the Decalogue for central display (in the case of the Louisiana statute, central focus) while

declining to give similar preferential treatment to foundational documents like the U.S.

Constitution, the Declaration of Independence, or the Magna Carta. As in Stone, “[i]f the posted

copies of the Ten Commandments are to have any effect at all, it will be to induce the




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  “[I]t is clearly proper in deciding a 12(b)(6) motion to take judicial notice of matters of public record.” Norris v.
Hearst Tr., 500 F.3d 454, 461 n.9 (5th Cir. 2007) (citing Cinel v. Connick, 15 F.3d 1338, 1343 n.6 (5th Cir. 1994) (“In
deciding a 12(b)(6) motion to dismiss, a court may permissibly refer to matters of public record.” (citation omitted))).

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schoolchildren to read, meditate upon, perhaps to venerate and obey, the Commandments[,]” and

that “is not a permissible state objective under the Establishment Clause.” Stone, 449 U.S. at 42.

       AG Defendants attempt to distinguish Stone on a number of grounds by relying on

McCreary and Van Orden. (Doc. 39-1 at 48–49.) But this position is undermined by a closer

reading of the two cases and their relationship to Stone.

       In McCreary, the Court found that various attempts to display the Ten Commandments on

the walls of a courthouse violated the Establishment Clause. 545 U.S. at 858. The McCreary Court

said of Stone:

                 Stone recognized that the Commandments are an “instrument of
                 religion” and that, at least on the facts before it, the display of their
                 text could presumptively be understood as meant to advance
                 religion: although state law specifically required their posting in
                 public school classrooms, their isolated exhibition did not leave
                 room even for an argument that secular education explained their
                 being there. 449 U.S., at 41, n.3 [ ] (internal quotation marks
                 omitted). But Stone did not purport to decide the constitutionality of
                 every possible way the Commandments might be set out by the
                 government, and under the Establishment Clause detail is key.
                 [County of Allegheny, 492 U.S. at 595 (opinion of Blackmun, J.)]
                 (“[T]he question is what viewers may fairly understand to be the
                 purpose of the display. That inquiry, of necessity, turns upon the
                 context in which the contested object appears” (internal quotation
                 marks and citation omitted)).

Id. at 867–68. The High Court traced the evolution of three displays attempted by the counties and

ultimately concluded that there was “ample support for the District Court’s finding of a

predominantly religious purpose behind the Counties’ third display” and so upheld the preliminary

injunction.” Id. at 881. In doing so, the Supreme Court rejected the counties’ “argu[ment] that

purpose in a case like this one should be inferred, if at all, only from the latest news about the last

in a series of governmental actions,” explaining that “the history of the government’s actions” was

“perfectly probative evidence.” Id. at 866 (citing, inter alia, Edwards, 482 U.S. at 595 (enquiry



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looks to “the historical context of the statute . . . and the specific sequence of events leading to [its]

passage”)).

        AG Defendants also point to Van Orden. As explained above, there the Supreme Court

upheld the placement of a Ten Commandments monument on the Texas Capital Grounds. Van

Orden, 545 U.S. at 691–92. The plurality opinion said of Stone:

                There are, of course, limits to the display of religious messages or
                symbols. For example, we held unconstitutional a Kentucky statute
                requiring the posting of the Ten Commandments in every public
                schoolroom. [Stone, 449 U.S. 39]. In the classroom context, we
                found that the Kentucky statute had an improper and plainly
                religious purpose. Id., at 41 [ ]. As evidenced by Stone’s almost
                exclusive reliance upon two of our school prayer cases, id., at 41–
                42 [ ] (citing [Schempp, 374 U.S. 203], and [Engel, 370 U.S. 421]),
                it stands as an example of the fact that we have “been particularly
                vigilant in monitoring compliance with the Establishment Clause in
                elementary and secondary schools,” [Edwards, 482 U.S. at 583–
                584]. Compare [Lee, 505 U.S. at 596–597] (holding unconstitutional
                a prayer at a secondary school graduation), with Marsh v.
                Chambers, [463 U.S. 783 (1983)] (upholding a prayer in the state
                legislature). Indeed, Edwards v. Aguillard recognized that Stone—
                along with Schempp and Engel—was a consequence of the
                “particular concerns that arise in the context of public elementary
                and secondary schools.” 482 U.S., at 584–585 [ ]. Neither Stone
                itself nor subsequent opinions have indicated that Stone’s holding
                would extend to a legislative chamber, see Marsh v. Chambers,
                supra, or to capitol grounds. . . . Nor does anything suggest that
                Stone would extend to displays of the Ten Commandments that lack
                a “plainly religious,” “pre-eminent purpose,” id., at 41 [ ]. See
                Edwards v. Aguillard, supra, at 593–594 [ ] (“[Stone] did not mean
                that no use could ever be made of the Ten Commandments, or that
                the Ten Commandments played an exclusively religious role in the
                history of Western Civilization”). Indeed, we need not decide in this
                case the extent to which a primarily religious purpose would affect
                our analysis because it is clear from the record that there is no
                evidence of such a purpose in this case.

                The placement of the Ten Commandments monument on the Texas
                State Capitol grounds is a far more passive use of those texts than
                was the case in Stone, where the text confronted elementary school
                students every day. Indeed, Van Orden, the petitioner here,



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               apparently walked by the monument for a number of years before
               bringing this lawsuit.

Van Orden, 545 U.S. at 690–91 & 691 n.11 (plurality opinion) (emphasis added). Likewise, Justice

Breyer’s controlling concurrence said:

               This case, moreover, is distinguishable from instances where the
               Court has found Ten Commandments displays impermissible. The
               display is not on the grounds of a public school, where, given the
               impressionability of the young, government must exercise particular
               care in separating church and state. See, e.g., [Lee, 505 U.S. at 592];
               [Stone, 449 U.S. 39]. This case also differs from McCreary County,
               where the short (and stormy) history of the courthouse
               Commandments’ displays demonstrates the substantially religious
               objectives of those who mounted them, and the effect of this readily
               apparent objective upon those who view them. See [545 U.S. 844,
               125 S. Ct. 2722, 2738–2740] (opinion of the Court). That history
               there indicates a governmental effort substantially to promote
               religion, not simply an effort primarily to reflect, historically, the
               secular impact of a religiously inspired document. And, in today’s
               world, in a Nation of so many different religious and comparable
               nonreligious fundamental beliefs, a more contemporary state effort
               to focus attention upon a religious text is certainly likely to prove
               divisive in a way that this longstanding, pre-existing monument has
               not.

Van Orden, 545 U.S. at 703 (Breyer, J., concurring).

       This Court concludes that Van Orden and McCreary do not undermine Plaintiffs’ position

for two reasons. First, as Stone found, “[t]he pre–eminent purpose for posting the Ten

Commandments on schoolroom walls is plainly religious in nature,” 449 U.S. at 41, and that is

certainly the case with H.B. 71. As the Fifth Circuit explained in Croft:

               Courts are normally deferential to a legislative articulation of a
               secular purpose. Nevertheless, we do review to ensure that the
               alleged secular purpose is the actual purpose, in other words, it must
               be sincere; a law will not pass constitutional muster if the secular
               purpose articulated by the legislature is merely a sham, or merely
               secondary to a religious one. However, the statute need not have
               exclusively secular objectives to meet the sincerity standard; the
               touchstone is neutrality, and it is only when the government acts
               with the ostensible and predominant purpose of advancing religion

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               that it violates the first prong of the Lemon test. Importantly, the
               eyes that look to purpose belong to an objective observer, and
               require no judicial psychoanalysis of a drafter’s heart of hearts. In
               sum, openly available data must support a commonsense conclusion
               that a religious objective permeated the government’s action. The
               purpose test is rarely . . . determinative.

624 F.3d at 166–67 (cleaned up). Here, Plaintiffs allege:

               These requirements are intended to, and will, ensure that students
               are more likely to observe, absorb, accept, and follow the Ten
               Commandments. For example, during the House Education
               Committee’s debate, Representative Horton, the primary author and
               sponsor of the bill, explained: “It is so important that our children
               learn what God says is right and what He says is wrong, and to allow
               [the Ten Commandments] to be displayed in our classrooms as a
               visual aid, I believe, especially in this day and time is so important.”
               Horton later told a reporter that she is only “concerned with our
               children looking and seeing what God’s law is.” Representative
               Sylvia Taylor, Horton’s co-author and co-sponsor of H.B. 71,
               similarly stated: “I really believe that we are lacking in direction. A
               lot of people, their children, are not attending churches or whatever
               . . . So what I’m saying is, we need to do something in the schools
               to bring people back to where they need to be.” And Representative
               Roger Wilder, another co-author and co-sponsor of H.B. 71,
               expressed his support for the law by claiming that those who oppose
               it are waging an “attack on Christianity” and suggesting that it
               would provide a religious counterbalance to students’ secular
               education: “My wife is a Christian and if she was a teacher she
               would be asked to teach evolution which is in complete
               contradiction with the theory of creation that we believe out of the
               Bible. . . . I am a parent and am asking for this [bill].”

(Compl. ¶ 79, Doc. 1.) AG Defendants do not dispute that these statements were in fact made.

Additionally, the Court takes judicial notice of an article in the local paper stating that Governor

Landry sent a fundraising email to supporters in response to the filing of this challenge to H.B. 71

urging them to help him “ADVANCE [] the Judeo-Christian values that this nation was built

upon.” Patrick Wall, Jeff Landry vows to defend ‘Judeo-Christian values’ after Ten

Commandments             lawsuit,         TIMES-PICAYUNE             (June         25,       2024),




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https://www.nola.com/news/politics/jeff-landry-lawsuit-ten-commandments-judeo-

christian/articl e_0555d6e6-3314-11ef-863e-1b07594ff87c.html.

       Granted, the Fifth Circuit has noted, “[o]f course, if one legislator was motivated by a

desire to advance religion, that is not enough to defeat other legislators’ sincere interest in

acknowledging the state’s religious heritage; that ‘[s]ome legislators may have religious motives .

. . does not invalidate an act with an otherwise secular legislative purpose.’” Croft, 624 F.3d at 167

n.4 (quoting Croft, 562 F.3d at 742–43 (citing Bd. of Educ. of Westside Cmty. Schs. v. Mergens,

496 U.S. 226, 249 (1990))). “Even if some legislators were motivated by a conviction that religious

speech in particular was valuable and worthy of protection, that alone would not invalidate” a

challenged act “because what is relevant is the legislative purpose of the statute, not the possibly

religious motives of the legislators who enacted the law.” Croft, 562 F.3d at 743 (quoting Mergens,

496 U.S. at 249)).

       But this case is far different than the one in Croft, where the law at issue merely included

the phrase “one state under God” in the daily state pledge recited by Texas school children, and

where the bill’s sponsor merely wanted to mirror the federal pledge in the reference to God but not

necessarily include other parts. Croft, 624 F.3d at 161–62. As the Croft court stated:

               Ultimately, the alleged secular purposes in mirroring the federal
               pledge and acknowledging the state’s religious heritage are not so
               implausible or inadequate that they ought not be credited. Nor have
               the plaintiffs presented other evidence indicating that the secular
               purposes are a “sham” or “secondary” to some overriding legislative
               interest in coercing Texas’s population into religious practice or
               reverence.

Id. at 167 (cleaned up). Conversely, here, H.B. 71’s primary sponsor expressed a much more

overtly religious and coercive purpose, which was echoed by the Governor, and which is evident

on the face of H.B. 71. That is, in light of the requirements of H.B. 71 itself and the undisputed



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statements of its proponents as to its purpose, the Act’s alleged secular purposes are “so

implausible [and] inadequate that they ought not be credited.” See id. (cleaned up).

       All of this is not intended to show compliance with the now-defunct Lemon test. Rather,

the above legislative history and statements support the conclusions that (1) here, any purported

secular purpose was not sincere but rather a sham; (2) that, under Stone, H.B. 71 is “plainly

religious in nature[;]” and (3) that, consequently, Stone is directly on point and controlling.

       Second, as stated above, the two opinions in Van Orden discussed above both recognized

the heightened First Amendment concerns in a public-school setting, given the impressionability

of young students and the fact that they are captive audiences. All of these concerns remain present

with H.B. 71, regardless of whether this is a facial challenge or an as-applied one. While the Court

of course must look at the context of the displays, see Staley, 485 F.3d at 308–309 (citing Van

Orden, 545 U.S. at 700 (Breyer, J., concurring) and McCreary, 545 U.S. at 874), the Court has

sufficient context, from both the language of the statute and the statements of lawmakers, to

conclude that H.B. 71’s minimum requirements for posting a specific version of the Ten

Commandments in every classroom, all year round, regardless of subject matter of the class or the

age of the student, which will certainly be seen by impressionable youths required to attend class,

runs afoul of Stone.

       In closing, the Court notes that, at oral argument, AG Defendants conceded that Stone

remains binding on this Court, but they attempted to downplay and distinguish it by asserting that,

unlike the displays in Stone, these posters are relatively small and unobtrusive and will be

incorporated into the curriculum. But, as the Court pointed out at the hearing, the “minimum

requirements” of the Act include that “[t]he text of the Ten Commandments shall be the central

focus of the poster or framed document and shall be printed in a large, easily readable font.” H.B.



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71(B)(1) (emphasis added). The illustrative example provided by AG Defendants (which was

made a part of the record) fails to satisfy those requirements, as the Decalogue was not “printed in

a large, easily readable font.” As to the latter argument, while the Court agrees—and Plaintiffs do

not dispute—that the Ten Commandments can be incorporated into a curriculum, for all the

reasons given above, the Court finds that the Act’s “minimum requirements” fail to do so in a

constitutionally permissible manner.

         For all these reasons, the Court finds that Stone remains binding on this Court and is

controlling. Consequently, AG Defs. MTD will be denied with respect to the Establishment Clause

claim.

            C. Kennedy v. Bremerton School District

                      1. Parties’ Arguments

                           a. AG Defendants’ Original Memorandum (Doc. 39-1)

         Again, AG Defendants maintain that Plaintiffs must demonstrate that each of these displays

reflects one of Justice Gorsuch’s six “historical hallmarks of an established religion.” (Doc. 39-1

at 41 (first quoting Kennedy, 597 U.S. at 537 n.5 (citing Shurtleff, 596 U.S. at 286 (Gorsuch, J.,

concurring)); and then citing Croft, 624 F.3d at 164).) AG Defendants then go on to explain how

a few particular illustrations they have provided do not violate Justice Gorsuch’s hallmarks. (Id. at

41–43.)

         AG Defendants also argue that, putting aside Plaintiffs’ failure to satisfy the Kennedy

hallmarks for all possible displays, H.B. 71 is also constitutional because of “the historical role of

the Ten Commandments not only in America, but also in American public education.” (Id. at 45.)

AG Defendants support this argument by quoting Supreme Court cases such as Van Orden and

American Legion v. American Humanist Ass’n, 588 U.S. 29 (2019). (Id.) AG Defendants then turn



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to the historical justification provided in the preamble to the Act, including the Ten

Commandments’ use in The New-England Primer and McGuffey Readers. (Id. at 45–46 (citations

omitted).) 11 “To be sure, much of the 19th-century curricula were (lamentably) non-ecumenical,”

but “the 19th-century debates were about whether more or different religious instruction should be

supported by the state, . . . not whether religious materials in schools could coexist with the

principles of disestablishment[.]” (Id. at 46–47 (cleaned up).) Ultimately, AG Defendants say,

                   [S]chools today act comfortably within historical norms when they
                   take one aspect of the religious material long presented in schools—
                   one that has ‘an undeniable historical meaning,’—and display it
                   passively and with context: not in textbooks, but on the wall; not to
                   be read and tested on, but merely available to be viewed (with
                   bemusement or admiration) as an aspect of legal, civic, and
                   educational history.

(Id. at 47 (quoting Van Orden, 545 U.S. at 690 (plurality opinion)).)

           AG Defendants dispute Plaintiffs’ position that any of the above illustrations are coercive,

particularly in light of the forms of coercion described by Kennedy. (Id. at 43.) AG Defendants

maintain:

                   Plaintiffs’ children are not required to do anything, nor does H.B. 71
                   require displays to be read, discussed, or even placed in an especially

11
     AG Defendants explain:

                   One example (of many) of how the Ten Commandments were used in public
                   education is a story called The Young Witness, which appeared in McGuffey’s
                   Readers. William Holmes McGuffey, McGuffey’s Fourth Eclectic Reader 207–
                   210 (1920 rev. ed.) (available at https://tinyurl.com/5n64bcsu). That story
                   described a nine-year-old girl who was called to testify at a criminal trial. The
                   defendant’s counsel sought to disqualify her on the ground that she “does not
                   understand the nature of an oath.” So, the judge asked her if she knew what the
                   Bible was (she did) and whether she knew what would happen if she lied after
                   placing her hand on the Bible and swearing to tell the truth. She replied that she
                   would be sent to prison and she would never go to Heaven. “How do you know
                   this,” the judge asked. She took the Bible from him, turned to the Commandments,
                   and explained, “Thou shalt not bear false witness against thy neighbor.” So, the
                   judge—moved by the sincerity of her belief and the seriousness with which she
                   took her oath—found her competent to testify.

(Doc. 39-1 at 46.)
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               visible part of the classroom; they are simply passive displays. This
               case thus “looks very different from those in which [the Supreme]
               Court has found prayer” and devotional Bible reading “involving
               public school students to be problematically coercive.” Kennedy,
               597 U.S. at 541; see [Schempp, 374 U.S. at 206–07, 225] (holding
               unconstitutional vocal, school-directed prayer and Bible reading at
               the beginning of each day).

(Id.) AG Defendants say children are not forced to participate in a religious activity here, because

“there is no religious activity occurring and nothing is required of Plaintiffs’ children.” (Id. at 43–

44.) Children may be offended, but AG Defendants maintain that, under Kennedy, “offense does

not equate to coercion.” (Id. at 44 (quoting Kennedy, 597 U.S. at 539 (cleaned up)).)

        Further, Plaintiffs’ contention that the AG Defendants are adopting an official position is,

to these defendants, implausible in light of the different illustrations provided above. (Id.)

AG Defendants emphasize the contextualizing note to be included on all displays as mitigation.

(Id.)

        AG Defendants again conclude: “At bottom, Plaintiffs’ Establishment Clause claim must

be dismissed because Plaintiffs have not met—and cannot meet—the high standard for facial

claims given the endless possibilities of H.B. 71 displays that may be implemented.” (Id.)

                           b. Plaintiffs’ Opposition (Doc. 47)

        According to Plaintiffs, even if Stone did not end the analysis, H.B. 71 would be

unconstitutional under Kennedy. (Doc. 47 at 39.) Plaintiffs take issue with AG Defendants’

argument that Justice Gorsuch’s six hallmarks represent the only possible way that violations of

the Establishment Clause can occur. (Id.)

               On the contrary, the Kennedy Court’s Establishment Clause
               approach was not so circumscribed, commanding only that “the
               Establishment Clause must be interpreted by reference to historical
               practices and understandings.” 597 U.S. at 535; see also, e.g.,
               [Chambers, 463 U.S. at 792] (citing an “unambiguous and unbroken
               history” of legislative prayer as the reason for finding against an

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                  Establishment Clause violation); Town of Greece v. Galloway, 572
                  U.S. 565, 577 (2014) (reiterating that it is “not necessary to define
                  the precise boundary of the Establishment Clause where history
                  shows that the specific practice is permitted” (emphases added)).

(Id. at 39–40.)

         Plaintiffs then turn to the history supporting their position. (Id. at 40.) Plaintiffs say the

Founding Fathers would have taken issue with the State’s efforts to establish an official

government version of the Ten Commandments in a statute “that imposes religious teachings” on

citizens. (Id.) Relying on their expert, Dr. Steven K. Green, 12 Plaintiffs assert that these Framers

believed the First Amendment was built on the principles that government should not take a

position on religious doctrine and that it should not coerce or promote religious beliefs, on which

the Founding Fathers took a broad view. (Id. at 40–41 (citing Green Report ¶¶ 13–32, Doc. 47-2).)

Jefferson was concerned not only with “‘fine & imprisonment’” but also with “government action

that could result in ‘some degree of proscription perhaps in public opinion.’” (Id. at 41 (quoting

Letter from Jefferson to S. Miller, Jan. 23, 1808).) Madison agreed. (Id. (citing Green Report ¶ 21,

Doc. 47-2).)

         Plaintiffs then assert that “[t]he Ten Commandments do not form the basis of the U.S. legal

system or government.” (Id.) “Consistent with the leading Founders’ general reproach toward

government support for, or interference with, religion, neither the Constitution nor the Bill of




12
  Dr. Green’s qualifications are discussed further in the Court’s ruling on AG Defendants’ Motion to Exclude Putative
Expert Testimony (Doc. 53), which this Court denied, (Doc. 83). As stated in that ruling, Green earned a B.A. degree
in History and Political Science, Magna Cum Laude, from Texas Christian University in 1978 where his minor was
Religious Studies. (Green Report, Doc. 47-2 at 32.) He graduated from the University of Texas Law School in 1981,
earning a J.D. degree. (Id.) In 1987, he received a Master’s degree in American Religious History from the University
of North Carolina, Chapel Hill and a Ph.D. in Constitutional History from the same university in 1997. (Id.) He is
currently the Fred H. Paulus Professor of Law and Affiliated Professor of History and Religious Studies at Willamette
University in Salem, Oregon, where he was also the Director of the Willamette Center for Religion, Law and
Democracy from 2007 to 2020. (Id.) He has authored “seven books and more than fifty scholarly articles and book
chapters” in the area of “the intersection of law, religion, and history.” (Id. at 3; see also id. at 33–40.)


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Rights—the core foundational documents for the American legal system and government—

mentions God, the Bible, or any commandment.” (Id. (citing U.S. Const. & amends.; Green Report

¶ 29, Doc. 47-2).) The Federalist Papers make no mention either. (Id. at 41–42 (citing Green

Report ¶ 31, Doc. 47-2).) After quoting Green, Plaintiffs point out, “With the exception of a few

generic quotes from Supreme Court opinions, [AG] Defendants fail to offer any evidence

demonstrating any influence of the Ten Commandments on the American legal system and

government at the Founding.” (Id. at 41–42.)

       Plaintiffs next contend that the historical record shows no longstanding, widespread

tradition of displaying the Ten Commandments permanently in classrooms in public elementary

and secondary schools. (Id. at 42.) Plaintiffs rely on Green’s expert report here. (Id.) For example,

the Act cites the New England Primer, but Green explains that this “was used chiefly, if not

exclusively, in religiously run schools” and “fell into disuse during the early decades of the

nineteenth century, before the rise of public education.” (Id. at 42.) Likewise, Plaintiffs maintain

that while some versions of the McGuffey Readers contained lessons with the Ten Commandments

in their entirety or that reference particular commandments, others did not. (Id. at 42–43.) Even

when used, they were not a significant part of the texts, and the extent of their use compared to

other readings cannot be verified. (Id. at 43.) Regardless, references were largely eliminated from

the Readers in later versions, and reliance on them tapered in the early twentieth century as public

schools looked at other available options. (Id.) Ultimately:

               This limited history does not support the Act’s expansive claim in
               the context statement that “[t]he Ten Commandments were a
               prominent part of American public education for almost three
               centuries,” H.B. 71(B)(3), and the use of privately written textbooks
               with discrete passages referring to the commandments most
               certainly does not prove a longstanding, “unambiguous and
               unbroken” history of permanently displaying the Ten
               Commandment in public-school classrooms. See Pl. Br. at 8–10.

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(Id.) Green also notes that there is an absence in the record of late 1800s surveys by the U.S.

Commissioner of Education about “specific, routine practices of displaying the Ten

Commandments in classrooms” or using them for instruction. (Id.) “Simply put, there is no

‘evidence of a longstanding, let alone unbroken, historical acceptance and practice of widespread,

permanent displays of the Ten Commandments in public schools.’” (Id.) Plaintiffs also assert that

AG Defendants do not identify “a single piece of historical evidence specifically involving the Ten

Commandments and schools, other than the use of the New England Primer and McGuffey

Readers.” (Id. at 44.) Rather, they rely primarily on general quotes about religion in public life

pulled from Van Orden and American Legion plurality opinions, neither of which deal with public

schools. (Id.) And the displays are not presumptively constitutional, as AG Defendants contend.

(Id.)

        Plaintiffs next note that AG Defendants concede the Act mandates a particular, Protestant

version of the Ten Commandments that does not comport with Catholic or Jewish faiths. (Id.)

Instead, AG Defendants dispute that the Act takes an official position on religious matters or a side

on a theological question and point to their many Illustrations as evidence. (Id. at 44–45.) Plaintiffs

respond that they “take issue with the statutory regime in its entirety” and its mandate that only

one specific version be posted in classrooms, despite the Supreme Court’s holding that “one

religious denomination cannot be officially preferred over another.” (Id. at 45 (citing Larson v.

Valente, 456 U.S. 228, 244 (1982)).) AG Defendants’ failure to address this argument (or to

advance any compelling interest or narrow tailoring to satisfy strict scrutiny) amounts to a waiver.

(Id.)

        Plaintiffs then argue that “[t]he displays mandated by H.B. 71 are religiously coercive.”

(Id. at 45.) Plaintiffs maintain that AG Defendants’ position rests on a faulty premise, namely, that

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the outcome depends on the content of specific displays. (Id.) “Rather, the Court must consider

whether students will be religiously coerced under the mandatory provisions of the statutory

scheme, which will subject students, including the minor-child Plaintiffs, to a state-approved,

Protestant version of the Ten Commandments in every classroom for every day of their public-

school education.” (Id.) AG Defendants contend that students don’t have to do anything with the

displays, but Plaintiffs respond that “[t]he Supreme Court has repeatedly recognized that children

are particularly susceptible to religious indoctrination at school,” because (1) “they are captive

audiences to the state’s religious messages” and (2) they are “vulnerable to the immediate

impressions and judgments of their teachers and classmates if they” do not conform their conduct.

(Id. at 45–46 (citing Lee, 505 U.S. at 593; Santa Fe Indep. Sch. Dist. v. Doe, 530 U.S. 290 (2000)).)

Plaintiffs further state, “Lee is the seminal and binding Supreme Court precedent pertaining to

religious coercion of students,” but AG Defendants do not address or cite it. (Id. at 46.) AG

Defendants also ignore the fact that students are “a quintessentially captive audience.” (Id. (citing

Ingebretsen, 88 F.3d at 279–80).) Thus, it is not implausible for Plaintiffs to plead that their

“minor-child Plaintiffs will feel pressured to observe, meditate on, venerate, and adopt or obey the

state’s preferred religious doctrine.” (Id.)

        Plaintiffs then assert:

                Defendants’ “illustrations,” even if they were not irrelevant to
                Plaintiffs’ facial challenge, would merely put a finer point on the
                matter, demonstrating that the State is deeply and bizarrely obsessed
                with imposing the commandments on students and will do whatever
                it can to shoehorn its preferred version of that religious doctrine into
                any number of displays. Whether schools decide to display one or
                more of Defendants’ hypothetical posters, or use posters featuring
                other content, the common denominator, from classroom to
                classroom and school to school, will be the State’s mandatory
                version of the Ten Commandments. Students will be acutely aware
                of the lengths to which the State has gone in ensuring that they
                encounter these displays in every classroom for nearly every minute

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               of their school day, and students will reasonably feel religiously
               coerced by the State’s desperate insistence that they take heed of the
               commandments. The Supreme Court effectively recognized this in
               Stone, holding that the only function served by such permanent and
               pervasive displays is “to induce . . . schoolchildren to read, meditate
               upon, perhaps to venerate and obey, the Commandments.” 442 U.S.
               at 42.

(Id. at 46–47.) Additionally, AG Defendants argue that, unlike Schempp[,] here “there is no

religious activity,” but the Supreme Court has rejected this:

               In Schempp, the Court recognized that daily scriptural readings
               constituted “religious exercise,” 374 U.S. at 224–25; and in Stone,
               the Court held that it is not “significant that the Bible verses
               involved in this case are merely posted on the wall, rather than read
               aloud as in Schempp and Engel.” 449 U.S. at 42. School-promoted
               religious activity is no less unconstitutional merely because it is
               silent. See Wallace v. Jaffree, 472 U.S. 38, 60–61 (1985) (holding
               that state law improperly encouraged students to engage in silent
               prayer); Pl. Br. at 18.

(Id.) For all these reasons, Plaintiffs contend that the Act violates the Establishment Clause. (Id. at

47.)

                           c. AG Defendants’ Reply (Doc. 54)

       AG Defendants respond: “Kennedy instructs courts to look elsewhere—to the six hallmarks

of religious establishments the framers sought to prohibit.” (Doc. 54 at 19 (cleaned up).) According

to AG Defendants, Plaintiffs cannot escape these hallmarks because the Fifth Circuit and this Court

have decided Establishment Clause cases “with reference to them.” (Id. at 19–20 (citations

omitted).) “The hallmarks question is not whether a practice is itself old; it is whether the practice

(old or new) fits within one of the historical ‘hallmarks of an established religion.’” (Id. at 20

(quoting Kennedy, 597 U.S. at 537 & n.5).) This requires an examination of what the “public

understanding” of an establishment was “when the [provision] was adopted.” Id. (quoting N.Y.

State Rifle & Pistol Ass’n, Inc. v. Bruen, 597 U.S. 1, 37 (2022)).) Plaintiffs’ expert fails to address


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the hallmarks, and, in any event, the Court should “reason[ ] by analogy” without the need of

experts but rather perform “a commonplace task for any lawyer or judge.” (Id. at 20 (citing Bruen,

597 U.S. at 28–29).)

       AG Defendants maintain that they need not show an “‘unambiguous and unbroken’ history

of ‘the specific practice’ tracing back to the Founding . . . .” (Id. at 20–21 (citation omitted).)

Kennedy, they argue, undertook no such analysis. (Id. at 21.)

       According to AG Defendants, even if the Court adopted Plaintiffs’ method of historical

analysis, H.B. 71 is still constitutional. (Id.) AG Defendants refer to a seal proposed for the United

States by Jefferson and Franklin that depicted “Moses leading the Israelites across the Red Sea,”

(id. (citing Shurtleff, 596 U.S. at 287 n.11 (Gorsuch, J., concurring in judgment))), and there is a

tradition of religious content in public schools, including the Ten Commandments, (id. (citing

Town of Greece, 572 U.S. at 577; H.B. 71(B)(3))). AG Defendants argue that Plaintiffs’ expert

largely agrees with AG Defendants’ historical assessment about the New England Primer and

McGuffey Readers, despite the “nitpick[ing].” (Id.) In short, Green may think the Ten

Commandments were not “prominent,” but courts should not decide the sufficiency of “the

historical analysis contained in documentary exhibits appearing on public grounds.” (Id. at 21–22

(citation omitted).) Here, they contend, the Supreme Court has already reaffirmed the importance

of the Ten Commandments on the legal system of this country. (Id. at 22 (citing Van Orden, 351

F.3d at 181; Am. Legion, 588 U.S. at 53).)

       AG Defendants take issue with Plaintiffs’ reliance on Lee and its alleged prohibition on

coercion in the school context. (Id.) AG Defendants maintain that Kennedy states that Lee bars the

government from “forcing citizens to engage in a formal religious exercise” such as reading the




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Bible or prayer. (Id. (cleaned up).) AG Defendants say that the Fifth Circuit has likewise prohibited

only religious exercises or activity. (Id. (citations omitted).) AG Defendants continue:

                  Meanwhile, neither the Supreme Court nor the Fifth Circuit has ever
                  adopted the bizarre notion that being in the same room with passive
                  religious symbols amounts to being coerced to engage in a religious
                  exercise. Rather, the Justices have repeatedly taken as given the
                  constitutionality of the Ten Commandments displays in buildings
                  throughout our Nation’s capital, see Am. Legion, 588 U.S. at 53,
                  even though citizens must walk by them on a daily basis and even
                  sit beneath them in the Supreme Court’s courtroom. The Fifth
                  Circuit has upheld a “Latin cross with three crosslets” on a city seal,
                  though the plaintiff was required to see it if he wanted to pay utility
                  bills or visit the municipal building. Murray, 947 F.2d at 150. And
                  if Plaintiffs were right, any student in any of the States or
                  municipalities whose “seals and flags . . . include religious symbols
                  or mottos” could demand that those flags be taken down from their
                  classrooms. Freedom From Religion Found., Inc. v. County of
                  Lehigh, 933 F.3d 275, 284 (3d Cir. 2019); see, e.g., Am. Legion, 588
                  U.S. at 55–56 & n.23 (Maryland’s flag includes “two crosses”);
                  Briggs v. Mississippi, 331 F.3d 499, 503 (5th Cir. 2003) (upholding
                  former Mississippi flag, which featured a symbol “frequently . . .
                  described as . . . a St. Andrew’s Cross”). That is not the law.

(Id. at 22–23.)

       Larson is also distinguishable, argue AG Defendants, because that case involved a law

imposing “legal obligations (registration and reporting requirements) on some religious

organizations but not others. . . .” (Id. at 23.) The Supreme Court has also distinguished Larson

and allowed a nativity scene on government property (in Lynch v. Donnelly, 465 U.S. 668, 687

n.13 (1984)) and a Latin cross on public land (in Am. Legion, 588 U.S. 29). AG Defendants contend

that H.B 71 used the King James version of the Ten Commandments because it was upheld in Van

Orden. (Id.) AG Defendants close by arguing that facial challenges are hard to win, and, again,

Plaintiffs have not shown that every application of H.B. 71 is unconstitutional. (Id. at 24.)




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                            d. AG Defs. Daubert Motion (Doc. 53)

        In AG Defendants’ Motion to Exclude Putative Expert Testimony (Doc. 53) (“AG Defs.

Daubert Motion”), AG Defendants argue, inter alia, that Plaintiffs’ expert does not provide

testimony that is relevant to the Establishment Clause claim. (Doc. 53-1 at 10–12.) While

Plaintiffs’ expert opinions bear more on Pls. MPI than AG Defs. MTD, where the sufficiency of

the Complaint controls, the parties’ disagreement about the appropriate standard to apply is

relevant to the instant analysis.

        In AG Defs. Daubert Motion, these defendants contend:

                Whether Ten Commandments displays existed in public or private
                schools in prior centuries, or whether the Ten Commandments were
                taught in public or private schools, is not determinative of the
                relationship between today’s displays and the historical hallmarks
                identified by the Supreme Court. Similarly, the history of a “specific
                practice” tracing back to the Founding, or the private “views of
                Madison and Jefferson” on the practice, are not “facts at issue” for
                purposes of Rule 702. Pls.’ Reply & MTD Resp. 28–29, ECF 47;
                Green Rep. 7–10, 18–26. Of course, the longstanding prominent role
                of the Ten Commandments in American classrooms is of great
                educational relevance—presumably no one thinks schoolchildren
                should be kept intentionally ignorant of those historical facts—but
                here what is educationally relevant is not legally relevant.

(Id. at 11.)

        AG Defendants maintain that “Plaintiffs’ overall approach to their case” relies on “a

misunderstanding of the relevant historical analysis.” (Id.) According to AG Defendants, the

Supreme Court provided the “historical hallmarks of a religious establishment” in Kennedy, so

that, now, this Court needs only to “determine whether a challenged modern practice displays any

of those hallmarks, using the ‘reasoning by analogy’ that is ‘a commonplace task for any lawyer

or judge.’” Id. (quoting Bruen, 597 U.S. at 28–29). The hallmarks were intended to give lower




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courts guidance so that they did not have to scour the historical record or look to experts. (Id. at

11–12 (citing Shurtleff, 596 U.S. at 285–86 (Gorsuch, J., concurring in judgment)).)

       AG Defendants close by urging that Plaintiffs do not dispute much of the history cited in

the Act; rather, they only disagree that the presence of the Ten Commandments in those documents

counts as “‘prominent’ or ‘widespread.’” (Id. at 12.)

                           e. Plaintiffs’ Opposition to AG Defs. Daubert Motion (Doc. 61)

       Plaintiffs respond first that AG Defendants mischaracterize the “original meaning and

history” test in Kennedy. (Doc. 61 at 19–22.) Plaintiffs claim that AG Defendants’ efforts to reduce

this standard to Justice Gorsuch’s six hallmarks in the Shurtleff concurrence is unsupported by

Kennedy or Shurtleff itself. (Id. at 19–20.)

       Plaintiffs maintain that, “[w]hile Justice Gorsuch’s Shurtleff opinion may be useful with

respect to assessing the validity of certain challenged practices under the Establishment Clause, it

does not purport to set forth the entire universe of permitted or prohibited practices.” (Id. at 20

(citing Shurtleff, 596 U.S. at 285 (Gorsuch, J., concurring in judgment)).) “Rather, the opinion

identifies ‘some helpful hallmarks [of establishment] that localities and lower courts can rely on.’”

(Id. (quoting Shurtleff, at 285).) Justice Gorsuch explained that “‘founding-era religious

establishments often bore certain other telling traits’ that ‘explain many of th[e] Court’s

Establishment Clause cases.’” (Id. (quoting Shurtleff, at 286 (emphasis added)).)

       Further, Plaintiffs argue, Kennedy does not require such a limited reading of the “original

meaning and history” test. (Id.) According to Plaintiffs, Kennedy reaffirmed the standard in Town

of Greece v. Galloway and stated that “the Establishment Clause must be interpreted by ‘reference

to historical practices and understandings.’” (Id. (quoting Kennedy, 597 U.S. at 535 (quoting Town

of Greece, 572 U.S. at 576)).)



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       Plaintiffs maintain that Town of Greece demonstrates how this standard operates. (Id. at

20–21.) Plaintiffs say that the Town of Greece court examined the “specific practice” in question

and asked whether it “accorded with history and reflected the Founders’ understanding.” (Id.

(quoting Town of Greece, 572 U.S. at 577).)

                  The Court held that the challenged legislative invocations were
                  constitutional because there was an ‘“unambiguous and unbroken
                  history of more than 200 years . . . of opening legislative sessions
                  with a prayer[,]’” which dates back to the First Congress and ‘“has
                  become part of the fabric of our society.’” [Town of Greece, 572
                  U.S.] at 576 (quoting [Chambers, 462 U.S. at 792]). In other words,
                  the practice “was accepted by the Framers and has withstood the
                  critical scrutiny of time and political change.” Id.; . . . As the Court
                  recognized in Town of Greece, “sweep[ing] away what has so long
                  been settled would create new controversy and begin anew the very
                  divisions along religious lines that the Establishment Clause seeks
                  to prevent.” 572 U.S. at 577.

                  Defendants’ insistence that the Kennedy Court’s footnoted citation
                  to Justice Gorsuch’s Shurtleff concurrence somehow transforms and
                  elevates his “hallmarks” passage—itself a nonexclusive treatment
                  of some traits of religious establishment—into a binding, hard-and-
                  fast checklist would effectively negate the Court’s discussion of the
                  “historical practices and understandings” analysis in Kennedy and
                  Town of Greece. . . . Even the Court’s short parenthetical explaining
                  Justice Gorsuch’s Shurtleff opinion makes clear that his treatment of
                  this issue is not exhaustive, noting that he discusses “coercion and
                  certain other historical hallmarks of an established religion.” See
                  Kennedy, 597 U.S. at 537 n.5 (emphasis added).

(Id. at 21–22.)

       Plaintiffs conclude by explaining how Green’s testimony will be relevant; “[i]t will help

the Court draw the line ‘between the permissible and the impermissible’ by elucidating historical

facts that illuminate whether the challenged practice ‘accor[ds] with history and faithfully

reflec[ts] the understanding of the Founding Fathers.’” (Id. at 22 (quoting Kennedy, 597 U.S. at

535–36 (internal quotation marks omitted)).) After describing this, Plaintiffs then point out how

AG “Defendants repeatedly rely on the historical significance of the Ten Commandments,

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especially their purported use in public school[,]” which undermines AG Defendants’ position that

the history is not relevant. (Id. at 23–25.)

                            f. Reply in Support of AG Defs. Daubert Motion (Doc. 63)

        AG Defendants reply that, because the Green Report does not address Plaintiffs’ burden

under Kennedy or the six “hallmarks,” it is irrelevant. (Doc. 63 at 9.) Plaintiffs claim that this Court

should follow Town of Greece’s historical analysis of asking if the “specific practice” was engaged

in at the Founding and continued as an “unambiguous and unbroken history,” but (1) the Kennedy

court did not undertake that analysis but rather looked to the hallmarks, and (2) Fifth Circuit

caselaw after Kennedy has specifically rejected the idea that an “unambiguous and unbroken

history” is required. (Id. at 9–10 (cleaned up).)

        AG Defendants also dispute the idea that they have the burden under the Kennedy test and

rely on a Fourth Circuit case for this point. (Id. at 10–11 (citations omitted).) Otherwise, they

claim, every government action would be presumptively unconstitutional until the government

identified a specific historical practice to support it. (Id. at 11.)

        Experts are also not required, say AG Defendants; that is clear from Justice Gorsuch’s

hallmarks test and the fact that the author did not rely on it in his opinions in Kennedy and Shurtleff.

(Id. (citations omitted).) Even if historical analysis was required, none of the cases Plaintiffs cite

relied on the use of expert testimony. (Id.) And, by Plaintiffs’ line of reasoning, some of their

arguments would also need a theological or scriptural scholar rather than a law professor

specialized in history. (Id. at 11–12.)




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                     2. Law and Analysis

       Again, the Court found above that Stone controls and that the Act violates the holding of

that case. On that ground alone, the Court could deny AG Defs. MTD with respect to the

Establishment Clause claim.

       But, even if the Court did examine this claim under the standards laid out by Kennedy and

subsequent caselaw, AG Defs. MTD would again be denied. The Court will begin by discussing

the appropriate standard to be applied under Kennedy before applying that standard to the

allegations of Plaintiffs’ Complaint.

                           a. The Relevant Standard

       Preliminarily, the parties dispute the appropriate standard to apply. AG Defendants

maintain that the Court must evaluate and decide the issue based on Justice Gorsuch’s six

hallmarks, while Plaintiffs look to other standards endorsed by the Supreme Court.

       Both sides somewhat miss the mark. This Court will first examine the case law before and

after Kennedy and will then extrapolate some guiding principles.

                                 i.     Pre-Kennedy

       Before Kennedy, “[t]he Supreme Court generally applied at least one of three tests under

the Establishment Clause,” Am. Humanist Ass’n v. McCarty, 851 F.3d 521, 525 (5th Cir. 2017)

(citations omitted), though the High Court “repeatedly emphasized [its] unwillingness to be

confined to any single test or criterion in this sensitive area[,]” id. at 525 n.9 (quoting Lynch v.

Donnelly, 465 U.S. 668, 679 (1984)). The first test, Lemon, was covered above. “Under [the second

test,] the endorsement test, a ‘[g]overnment unconstitutionally endorses religion whenever it

appears to take a position on questions of religious belief, or makes adherence to a religion relevant

in any way to a person’s standing in the political community.’” Id. at 525 n.11 (quoting



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Ingebretsen, 88 F.3d at 280). “The government creates this appearance when it conveys a message

that religion is favored, preferred, or promoted over other beliefs.” Id. (quoting Ingebretsen, 88

F.3d at 280). “Under [the third test,] the coercion test, unconstitutional coercion occurs where ‘(1)

the government directs (2) a formal religious exercise (3) in such a way as to oblige the

participation of objectors.’” Id. at 525 n.12 (quoting Doe ex rel. Doe v. Beaumont Indep. Sch. Dist.,

173 F.3d 274, 285 (5th Cir. 1999)).

       That standard evolved somewhat in “legislative-prayer cases.” Id. at 526. Specifically, the

Fifth Circuit explained:

               [I]n Marsh v. Chambers, 463 U.S. 783, 784–85[ ] (1983), a member
               of the Nebraska Legislature sued state officials, claiming that the
               practice of opening each session with a chaplain’s prayer violated
               the Establishment Clause. The Court upheld the practice without
               applying any of the conventional tests, observing that “[t]he opening
               of sessions of legislative and other deliberative public bodies with
               prayer is deeply embedded in the history and tradition of this
               country.” Id. at 786 [ ].

               The Court revisited the issue in Town of Greece v. Galloway, [ ],
               134 S. Ct. 1811, 1827–28 [ ] (2014), stating unequivocally that the
               legislative-prayer exception in Chambers extends to prayers
               delivered at town-board meetings. Those prayers, however, must not
               “denigrate nonbelievers or religious minorities, threaten damnation,
               or preach conversion.” Id. at 1823. Moreover, “[t]he principal
               audience for these invocations is not . . . the public but lawmakers
               themselves, who may find that a moment of prayer or quiet
               reflection sets the mind to a higher purpose and thereby eases the
               task of governing.” Id. at 1825.

McCarty, 851 F.3d at 525–26. But the Fifth Circuit also emphasized that “school-prayer cases”

were treated differently:

               As distinguished from legislative-prayer cases, however, the
               Supreme Court, in school-prayer cases such as Santa Fe
               Independent School District v. Doe, 530 U.S. 290 [ ] (2000), Lee v.
               Weisman, 505 U.S. 577 [ ] (1992), and County of Allegheny v.
               ACLU, 492 U.S. 573 [ ] (1989), has applied the conventional
               Establishment Clause tests. In Weisman, a graduation-prayer case,

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               the Court, 505 U.S. at 592 [ ], explained that “there are heightened
               concerns with protecting freedom of conscience from subtle
               coercive pressure in the elementary and secondary public schools”
               and that “prayer exercises in public schools carry a particular risk”
               of unconstitutional coercion. The Court distinguished Weisman
               from Chambers, noting that the legislative-prayer exception does
               not apply in “the public school context.” Id. at 597 [ ]. In ACLU, the
               Court opined that “state-sponsored prayer in public schools” is
               “unconstitutional.” [492 U.S. at 590 n.40 (citing Schempp, 374 U.S.
               203)].

Id. at 526. Thus, in McCarty, “[t]he key question” was whether “whether [the] case [was]

essentially more a legislative-prayer case or a school-prayer matter.” Id.

       Then, in 2022, the Supreme Court decided two cases: Shurtleff and Kennedy. In Shurtleff,

the Supreme Court evaluated a decision by the city of Boston to refuse the petitioner’s request to

fly a Christian flag outside city hall, even though no request had before been denied. 596 U.S. at

247. The Supreme Court found that “Boston’s refusal to let Shurtleff and [his] Camp Constitution

raise their flag based on its religious viewpoint ‘abridg[ed]’ their ‘freedom of speech.’” Id. at 248

(quoting U.S. Const. amend. I).

       One of the issues raised in that case was the city’s claim that it could not raise the religious

flag because doing so would violate the Establishment Clause. Id. at 258. The High Court rejected

this argument, explaining, “[w]hen a government does not speak for itself, it may not exclude

speech based on ‘religious viewpoint’; doing so ‘constitutes impermissible viewpoint

discrimination.’” Id. (quoting Good News Club v. Milford Cent. Sch., 533 U.S. 98 (2001)). Since

Boston denied petitioner’s “request solely because the Christian flag he asked to raise ‘promot[ed]

a specific religion’ . . . that refusal discriminated based on religious viewpoint and violated the

Free Speech Clause.” Id. at 258–59.

       Justice Gorsuch, joined by Justice Thomas, filed a concurring opinion attributing Boston’s

erroneous view of the Establishment Clause to Lemon, which, “instead of bringing clarity to the

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area, [ ] produced only chaos.” Id. at 277 (Gorsuch, J., concurring in judgment). Justice Gorsuch

looked back at recent cases like Town of Greece and American Legion, both of which “direct[ed]

and redirect[ed] the inquiry to original meaning as illuminated by history,” before addressing two

particular reasons why lower courts still erroneously applied Lemon. Id. at 283–87. Relevant here:

               Second, it seems that Lemon may occasionally shuffle from its grave
               for another and more prosaic reason. By demanding a careful
               examination of the Constitution’s original meaning, a proper
               application of the Establishment Clause no doubt requires serious
               work and can pose its challenges. Lemon’s abstract three-part test
               may seem a simpler and tempting alternative to busy local officials
               and lower courts. But if this is part of the problem, it isn’t without
               at least a partial remedy. For our constitutional history contains
               some helpful hallmarks that localities and lower courts can rely on.

               Beyond a formal declaration that a religious denomination was in
               fact the established church, it seems that founding-era religious
               establishments often bore certain other telling traits. See M.
               McConnell, Establishment and Disestablishment at the Founding,
               Part I: Establishment of Religion, 44 Wm. & Mary L. Rev. 2105,
               2110–2112, 2131 (2003) (Establishment and Disestablishment).
               First, the government exerted control over the doctrine and
               personnel of the established church. Second, the government
               mandated attendance in the established church and punished people
               for failing to participate. Third, the government punished dissenting
               churches and individuals for their religious exercise. Fourth, the
               government restricted political participation by dissenters. Fifth, the
               government provided financial support for the established church,
               often in a way that preferred the established denomination over other
               churches. And sixth, the government used the established church to
               carry out certain civil functions, often by giving the established
               church a monopoly over a specific function. See id., at 2131–2181.
               Most of these hallmarks reflect forms of “coerc[ion]” regarding
               “religion or its exercise.” [Lee, 505 U.S. 577 [ ]; id., at 640 [ ]
               (Scalia, J., dissenting); Van Orden, 545 U.S. at 693 [ ] (THOMAS,
               J., concurring).

               These traditional hallmarks help explain many of this Court’s
               Establishment Clause cases, too. . . . The thread running through
               these cases derives directly from the historical hallmarks of an
               establishment of religion—government control over religion
               offends the Constitution, but treating a church on par with secular



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                entities and other churches does not. See Establishment and
                Disestablishment 2205–2208.

Id. at 285–87. Justice Gorsuch ultimately concluded, “[t]his Court long ago interred Lemon, and it

is past time for local officials and lower courts to let it lie.” Id. at 288.

                                  ii.    Kennedy

        Kennedy came a month after Shurtleff and was authored by Justice Gorsuch. 597 U.S. 507.

There, the issue was whether a high school football coach’s First Amendment rights were violated

when he knelt at midfield after games to pray quietly. Kennedy, 597 U.S. at 512. The Court

evaluated the coach’s claim under the Free Exercise Clause (which this Court will have more to

say about below) before turning to the school district’s argument that its conduct was justified to

prevent an Establishment Clause violation. Id at 532.

        In doing so, the Court discussed “the shortcomings” of the Lemon and endorsement test,

described the Supreme Court’s “unambiguous reject[ion] [of] a city’s attempt to censor religious

speech” on those bases, id. at 533–35 (citing Shurtleff, 142 S. Ct. at 1587–88; id. at 1595 (Alito,

J., concurring in judgment); id. at 1587, 1588–89 (opinion of Gorsuch, J.)), and noted “[i]n the last

two decades, th[e] Court ha[d] often criticized or ignored Lemon and its endorsement test

variation,” id. at n.4 (collecting cases). The Supreme Court then explained:

                In place of Lemon and the endorsement test, this Court has instructed
                that the Establishment Clause must be interpreted by “ ‘reference to
                historical practices and understandings.’ ” Town of Greece, 572 U.S.
                at 576 [ ]; see also American Legion, [ ] 139 S. Ct., at 2087 (plurality
                opinion). “ ‘[T]he line’ ” that courts and governments “must draw
                between the permissible and the impermissible” has to “ ‘accor[d]
                with history and faithfully reflec[t] the understanding of the
                Founding Fathers.’ ” Town of Greece, 572 U.S. at 577 [ ] (quoting
                [Schempp, 374 U.S. at 294] (Brennan, J., concurring)). An analysis
                focused on original meaning and history, this Court has stressed, has
                long represented the rule rather than some “ ‘exception’ ” within the
                “Court’s Establishment Clause jurisprudence.” 572 U.S. at 575 [ ];
                see American Legion, [ ] 139 S. Ct., at 2087 (plurality opinion);

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                 Torcaso v. Watkins, 367 U.S. 488, 490 [ ] (1961) (analyzing certain
                 historical elements of religious establishments); McGowan v.
                 Maryland, 366 U.S. 420, 437–440 [ ] (1961) (analyzing Sunday
                 closing laws by looking to their “place . . . in the First Amendment's
                 history”); Walz v. Tax Comm’n of City of New York, 397 U.S. 664,
                 680 [ ] (1970) (analyzing the “history and uninterrupted practice” of
                 church tax exemptions).

Id. at 535–36.

       The Supreme Court then rejected the district court’s position that the coach coerced

students to pray as being unsupported by the evidence. Id. at 536–37. The Court first acknowledged

the role coercion plays in Establishment Clause cases:

                 To be sure, this Court has long held that government may not,
                 consistent with a historically sensitive understanding of the
                 Establishment Clause, “make a religious observance compulsory.”
                 Zorach v. Clauson, 343 U.S. 306, 314 [ ] (1952). Government “may
                 not coerce anyone to attend church,” ibid., nor may it force citizens
                 to engage in “a formal religious exercise,” [Lee, 505 U.S. at 589].
                 No doubt, too, coercion along these lines was among the foremost
                 hallmarks of religious establishments the framers sought to prohibit
                 when they adopted the First Amendment. [See, e.g., Lee, 505 U.S.
                 at 640–642] (Scalia, J. dissenting); Shurtleff, 142 S. Ct., at 1608–
                 1610 (opinion of GORSUCH, J.) (discussing coercion and certain
                 other historical hallmarks of an established religion); 1 Annals of
                 Cong. 730–731 (1789) (Madison explaining that the First
                 Amendment aimed to prevent one or multiple sects from
                 “establish[ing] a religion to which they would compel others to
                 conform”); M. McConnell, Establishment and Disestablishment at
                 the Founding, Part I: Establishment of Religion, 44 Wm. & Mary L.
                 Rev. 2105, 2144–2146 (2003).] Members of this Court have
                 sometimes disagreed on what exactly qualifies as impermissible
                 coercion in light of the original meaning of the Establishment
                 Clause. Compare Lee, 505 U.S. at 593 [ ] with id., at 640–641 [ ]
                 (Scalia, J., dissenting).

Id. at 536–37, 537 n.5.

       The Court concluded that “in this case Mr. Kennedy’s private religious exercise did not

come close to crossing any line one might imagine separating protected private expression from

impermissible government coercion.” Id. at 537. In short, Mr. Kennedy did not seek to direct any

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prayers to students or require anyone else to participate.” Id. at 538. While some would have seen

him pray, the Supreme Court advised, “learning how to tolerate speech or prayer of all kinds is

‘part of learning how to live in a pluralistic society,’ a trait of character essential to ‘a tolerant

citizenry.’” Id. (quoting Lee, 505 U.S. at 590).

               This Court has long recognized as well that “secondary school
               students are mature enough . . . to understand that a school does not
               endorse,” let alone coerce them to participate in, “speech that it
               merely permits on a nondiscriminatory basis.” Mergens, 496 U.S. at
               250 [ ] (plurality opinion). Of course, some will take offense to
               certain forms of speech or prayer they are sure to encounter in a
               society where those activities enjoy such robust constitutional
               protection. But “[o]ffense . . . does not equate to coercion.” Town of
               Greece, 572 U.S. at 589 [ ] (plurality opinion).

Id. at 538–39. Moreover, though the district argued that kids could be compelled to participate in

the prayers, the Supreme Court rejected this stance: “There is no indication in the record that

anyone expressed any coercion concerns to the District about the quiet, postgame prayers that Mr.

Kennedy asked to continue and that led to his suspension. Nor is there any record evidence that

students felt pressured to participate in these prayers.” Id. at 539.

       The Supreme Court then rejected the “District[’s] suggest[ion] that any visible religious

conduct by a teacher or coach should be deemed—without more and as a matter of law—

impermissibly coercive on students.” Id. at 540. The High Court explained:

               Such a rule would be a sure sign that our Establishment Clause
               jurisprudence had gone off the rails. In the name of protecting
               religious liberty, the District would have us suppress it. Rather than
               respect the First Amendment’s double protection for religious
               expression, it would have us preference secular activity. . . . It is a
               rule that would defy this Court’s traditional understanding that
               permitting private speech is not the same thing as coercing others to
               participate in it. See Town of Greece, 572 U.S. at 589 [ ] (plurality
               opinion). It is a rule, too, that would undermine a long constitutional
               tradition under which learning how to tolerate diverse expressive
               activities has always been “part of learning how to live in a
               pluralistic society.” Lee, 505 U.S. at 590 [ ]. We are aware of no

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              historically sound understanding of the Establishment Clause that
              begins to “mak[e] it necessary for government to be hostile to
              religion” in this way. Zorach, 343 U.S. at 314[ ].

Id. at 540–41. The Supreme Court then distinguished those cases in which public-school prayers

were found to be coercive.

              Meanwhile, this case looks very different from those in which this
              Court has found prayer involving public school students to be
              problematically coercive. In Lee, this Court held that school officials
              violated the Establishment Clause by “including [a] clerical
              membe[r]” who publicly recited prayers “as part of [an] official
              school graduation ceremony” because the school had “in every
              practical sense compelled attendance and participation in” a
              “religious exercise.” 505 U.S. at 580, 598 [ ]. In Santa Fe
              Independent School Dist. v. Doe, the Court held that a school district
              violated the Establishment Clause by broadcasting a prayer “over
              the public address system” before each football game. 530 U.S. 290,
              294 [ ] (2000). The Court observed that, while students generally
              were not required to attend games, attendance was required for
              “cheerleaders, members of the band, and, of course, the team
              members themselves.” Id., at 311 [ ]. None of that is true here. The
              prayers for which Mr. Kennedy was disciplined were not publicly
              broadcast or recited to a captive audience. Students were not
              required or expected to participate. And, in fact, none of Mr.
              Kennedy’s students did participate in any of the three October 2015
              prayers that resulted in Mr. Kennedy’s discipline. . . .

Id. at 541–42. The Court concluded:

              Respect for religious expressions is indispensable to life in a free
              and diverse Republic—whether those expressions take place in a
              sanctuary or on a field, and whether they manifest through the
              spoken word or a bowed head. Here, a government entity sought to
              punish an individual for engaging in a brief, quiet, personal religious
              observance doubly protected by the Free Exercise and Free Speech
              Clauses of the First Amendment. And the only meaningful
              justification the government offered for its reprisal rested on a
              mistaken view that it had a duty to ferret out and suppress religious
              observances even as it allows comparable secular speech. The
              Constitution neither mandates nor tolerates that kind of
              discrimination. Mr. Kennedy is entitled to summary judgment on his
              First Amendment claims. The judgment of the Court of Appeals is
              Reversed.



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Id. at 543–44.

                                 iii.   Post-Kennedy

       To this Court’s knowledge, the Fifth Circuit has only interpreted one Establishment Clause

claim in light of Kennedy, and that was in Freedom From Religion Found., Inc. v. Mack, 49 F.4th

941 (5th Cir. 2022). There, plaintiffs filed suit against a justice of the peace named Mack because

he “open[ed] his court with a ceremony that include[d] a prayer.” Id. at 944.

       The Fifth Circuit began its analysis by “identify[ing] the legal standard.” Id. at 950.

Plaintiffs maintained that Mack had to show “that legislative prayer was supported by

‘unambiguous and unbroken history of more than 200 years.’” Id. (quoting Chambers, 463 U.S. at

792). The appellate court rejected this argument, explaining, “offering that language as a legal

standard confuses a sufficient condition for a necessary one.” Id. The Court instead turned to Town

of Greece v. Galloway:

                 [In Town of Greece], the Court asked whether the town’s prayer
                 practice “fit[ ] within,” [572 U.S. at 577], or was “consistent with
                 the tradition of legislative prayer,” id. at 578 [ ]. Accordingly, the
                 Court identified only three historical instances of sectarian prayer
                 before concluding that the standard for consistency was satisfied.
                 See id. at 578–79 [ ].

                 We follow the Court’s lead. So we ask whether courtroom prayer is
                 consistent with a broader tradition of public, government-sponsored
                 prayer. See [McCarty, 851 F.3d at 527] (concluding that prayer
                 before school board meetings was consistent with the broader
                 tradition of “opening meetings of deliberative bodies with
                 invocations”).

Mack, 49 F.4th at 951.

       The Fifth Circuit then looked at the four categories of historical evidence offered by

plaintiffs: “first, the behavior of early federal judges and Justices in court-related proceedings;

second, the in-court behavior of those judges and Justices; third, the in-court behavior of non-



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federal judges; and fourth, indirect evidence of the prevalence of courtroom prayer.” Id. The Court

explained:

                That evidence is relevant, if at all, because widespread practice
                around the Founding helps reveal an amendment’s original public
                meaning. See McDonald v. City of Chicago, 561 U.S. 742, 769–70
                [ ] (2010). We address an incorporated amendment’s application to
                a state, so we must also consider practice around the time of
                incorporation [in 1868]. See id. at 770–78 [ ] Our analysis depends
                on “original meaning and history,” with particular attention paid to
                “historical practices.” [Kennedy, 142 S. Ct. at 2428] (quotation
                omitted).

Id. at 951 & n.7.

        After undertaking this historical analysis (which included an examination of briefs filed by

amici), see id. at 954–57, the Fifth Circuit ultimately determined that, though some of plaintiffs’

criticism that Mack had provided “selective, acontextual ‘law-office history’ . . . ha[d] merit[,] . . .

on the whole, Mack [had] identified enough evidence to satisfy the legal standard.” Id. at 954. In

doing so, the Court also “consider[ed] the two most prominent Establishment Clause tests

previously used by the Supreme Court: ‘the endorsement test[ ] and the coercion test.’” Id. (quoting

McCarty, 851 F.3d at 525 (footnotes omitted)). But the appellate court emphasized:

                We do not suggest that those tests govern our overall analysis.
                History—not endorsement—matters. Kennedy, 142 S. Ct. at 2427–
                28. Here, we look to those tests for the limited purpose of deciding
                whether historical evidence is similar enough to the challenged
                practice to establish consistency.

                We do not, however, consider the Lemon test. Its long Night of the
                Living Dead, Lamb’s Chapel v. Moriches Union Free Sch. Dist.,
                508 U.S. 384, 398 [ ] (1993) (Scalia, J., concurring in the judgment),
                is now over, Kennedy, 142 S. Ct. at 2427. And it is too easily
                manipulated to shed light on history’s relevance.

Id. at 954 n. 20.




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        After conducting this analysis, the Fifth Circuit found that it would “include the first and

second categories of historical evidence in deciding whether courtroom prayer is consistent with

the relevant tradition.” Id. at 956. The appellate court rejected the third category, which consisted

of “scattered instances of state-court prayer, some of which occurred before the Establishment

Clause was incorporated against the states.” Id. at 956–57. The appellate court found:

                The history cannot tell us about what “coexisted with the principles
                of disestablishment,” Chambers, 463 U.S. at 786 [ ], if the actors did
                not consider themselves bound by the principles of
                disestablishment. And, although it is clear that prayer happened in
                state courts, there is too little evidence too thinly spread to conclude
                that those prayers occurred regularly.

Id. at 957. The fourth category was likewise rejected, as “[i]t reflect[ed] the reality that courtroom

prayer was at least conceivable to some Americans[,] [b]ut it [could not] independently establish

anything with enough certainty.” Id. Looking at all of this evidence, the Fifth Circuit summarized

its findings:

                So, on the whole, we have convincing evidence that it was common
                for Founding-era Justices to preside over court-term-opening
                ceremonies at which chaplains delivered prayers. We have
                comparable evidence that those Justices also personally delivered
                short, ecumenical supplications in charges to grand jurors and,
                sometimes, in their judicial opinions. And we have a litany of short,
                ecumenical supplications that federal courts have recited from the
                Founding to the present.

                We conclude that, under the methodology of [Town of Greece], the
                evidence establishes that courtroom prayer “fits within,” 572 U.S. at
                577 [ ], and is “consistent with the tradition,” id. at 578 [ ], of prayer
                before “deliberative bodies,” McCarty, 851 F.3d at 527. Although,
                as the plaintiffs and their amici have pointed out, the probative value
                of each item is less, there are still far more instances than the
                Supreme Court considered sufficient to establish consistency.
                [Town of Greece], 572 U.S. at 578–79 [ ].

Id.




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       The Fifth Circuit then “ask[ed] whether Mack’s particular practice [was] consistent with

that tradition.” Id. In doing so, the Court addressed three arguments raised by plaintiffs as to “why

that might not be so.” Id.

       First, these plaintiffs contended that “Mack’s practice [ ] include[d] prayers that [were]

often decidedly sectarian.” Id. (internal quotations omitted). The Fifth Circuit found that any

factual dispute here was “immaterial,” as the “‘content of the prayer is not of concern to judges.’”

Id. (quoting Town of Greece, 572 U.S. at 581 (quotation omitted)). “Once it invites prayer into the

public sphere, government must permit a prayer giver to address his or her own God or gods as

conscience dictates, unfettered by what an administrator or judge considers to be nonsectarian.”

Id. (quoting Town of Greece, 572 U.S. at 582).

               There is, however, a limiting principle: “If the course and practice
               over time shows that the invocations denigrate nonbelievers or
               religious minorities, threaten damnation, or preach conversion,” the
               invocations are inconsistent with the public-prayer tradition.
               [Galloway, 572 U.S.] at 583 [ ]. Prayer must be “solemn and
               respectful in tone” and invite officials to “reflect upon shared ideals
               and common ends.” Id.

Id. at 958. Plaintiffs failed to meet this burden, as “[a]t most, the plaintiffs’ accounts [ ] show[ed]

that the contents of the prayers delivered in Mack’s courtroom are quite like the contents of the

prayers in the historical record” and “[t]here [was] no suggestion that Mack’s chaplains ha[d]

preached damnation, denigration, or conversion.” Id.

       Second, the Mack plaintiffs argued that the justice of the peace “fail[ed] to maintain a

policy of nondiscrimination,” id. at 957, but the Fifth Circuit rejected this stance, id. at 958. While

Mack was required to “maintain[ ] a policy of nondiscrimination,” he did not need to “search” or

attempt “to achieve religious balancing.” Id. (quoting Town of Greece, 572 U.S. at 585–86). The

appellate court concluded:



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                  Mack maintains a policy of nondiscrimination so long as (1)
                  members of any faith are free to participate in the JCC Program and
                  (2) he selects prayer-givers from among those members without
                  regard for belief. The plaintiffs have identified no evidence that
                  suggests those elements are unsatisfied. So there is no material
                  factual dispute on nondiscrimination.

Id.

         Third, plaintiffs argued that Mack’s practice was inconsistent with the above tradition

because “courtroom prayer inherently coerces attendees and that even if not, the specific attributes

of Mack’s prayer practice evince coercion.” Id. at 957–58. “The coercion test asks whether the

government obliged objectors to participate in ‘a formal religious exercise.’” Id. at 954 (quoting

McCarty, 851 F.3d at 525 n.12). The Fifth Circuit “turn[ed] once again to” Town of Greece and

ultimately “assume[d], without deciding, that Justice Kennedy’s approach in [Town of Greece]

controls the coercion standard.” Id. at 958–59. 13 The Fifth Circuit summarized that standard as

follows:

                  A three-Justice plurality, led by Justice Kennedy, recognized that
                  objective evidence that a person has been treated differently from
                  others, even if that difference is abstract, can show coercion. The
                  plurality’s approach is “fact-sensitive” and holistic. [Town of
                  Greece], 572 U.S. at 587 [ ]. But it emphasizes that subjective
                  offense “does not equate to coercion.” Id. at 589 [ ]. Reports of
                  subjective pressure to participate require “evidentiary support,” such

13
   The Fifth Circuit recognized that “[t]he [Town of Greece] Court could not agree on the standard for showing that
the government coerced religious exercise.” Id. at 958 (citing Kennedy, 142 S. Ct. at 2429). The Fifth Circuit explained
that there were “four opinions relevant to the question [of] whether Mack’s practice [was] coercive,” but the Court
ultimately assumed that Justice Kennedy’s controlled because:

                  Where no majority opinion governs an issue, ordinarily we ask which position
                  could sustain the Supreme Court’s judgment “on the narrowest grounds,”
                  provided that “there is some common denominator upon which all of the Justices
                  of the majority can agree.” But there is no reason to decide whether Justice
                  Kennedy’s or Justice Thomas’s approach is the narrower ground for decision
                  because any practice deemed coercive under the latter approach will also be
                  coercive under the former. So if a plaintiff’s challenge fails under Justice
                  Kennedy’s approach, it “fails under either standard.” Bormuth v. Cnty. of Jackson,
                  870 F.3d 494, 516 (6th Cir. 2017) (en banc). As we will explain, that is so here.

Mack, 49 F.4th at 959 (footnotes omitted).

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                  as indications that “leaders allocated benefits and burdens based on
                  participation in the prayer, or that citizens were received differently
                  depending on whether they joined the invitation or quietly
                  declined.” Id. Courts must assess “whether coercion is a real and
                  substantial likelihood.” Id. at 590 [ ].

Mack, 49 F.4th at 958–59. 14

         Applying this test, the Fifth Circuit rejected “plaintiffs’ theory that courtrooms are

inherently coercive [as] conflict[ing] with that test” because the Court was “not free to invent [its]

own legal standard” given the “many factual similarities to Town of Greece” and the town-board

meetings there. Id. at 960. The plaintiffs could also not rely on a “perceived risk of prejudice”

because “[t]he plaintiffs must present evidence that any such perception is objectively

reasonable—evidence from which we can conclude that ‘coercion is a real and substantial

likelihood.’” Id. The appellate court went on to analyze the “two categories of evidence[—]first,

evidence regarding entry and exit from Mack’s courtroom; and second, evidence concerning

Mack’s decisions in cases involving nonpraying litigants”—before concluding that “Mack’s

practice [was] noncoercive.” Id. at 961.

         In sum, the Fifth Circuit found that the “history, character, and context of Mack’s ceremony

show that it is no establishment” of religion. Id. (cleaned up). “To maintain a lawful prayer

ceremony, Mack must ensure that (1) he has a policy of denominational nondiscrimination and

that (2) anyone may choose not to participate and suffer no consequences. Mack has shown that

the plaintiffs fail materially to dispute those elements.” Id.




14
  Justice Thomas’ “stricter coercion test . . . would recognize coercion only as compulsion of religious orthodoxy and
of financial support by force of law and threat of penalty. In other words, the perception of subtle pressure or
government endorsement doesn’t count.” Mack, 49 F.4th at 959 (cleaned up).

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                                 iv.   Synthesizing the Above Law

       Having considered the history and development of the recent Establishment Clause cases,

the Court lays out the following principles it draws therefrom and will use in deciding this opinion.

       First, while Kennedy did eliminate the Lemon and endorsement tests, its focus on history

and tradition was consistent with cases that came before it like Town of Greece. See Kennedy, 597

U.S. at 535–36 (relying in part on Town of Greece, 572 U.S. at 576); see also Mack, 49 F.4th at

950–51. Under Town of Greece and Kennedy, as interpreted by Mack, the issue is whether the

practice at issue “fits within” and is “consistent with a broader tradition.” See Mack, 49 F.4th at

951 (quoting Town of Greece, 572 U.S. at 577–78); see also Firewalker-Fields v. Lee, 58 F.4th

104, 122 n.6 (4th Cir. 2023) (“Identify the relevant tradition, then determine whether the

challenged practice is in or out.”).

       Second, historical evidence is relevant because “widespread practice around the Founding

helps reveal an amendment’s original public meaning[,]” as does the practice “around the time of

incorporation” in 1868. See Mack, 49 F.4th at 951 & n.7 (citation omitted). See also id. at 957

(“So, on the whole, we have convincing evidence that it was common for Founding-era Justices to

preside over court-term-opening ceremonies at which chaplains delivered prayers. We have

comparable evidence that those Justices also personally delivered short, ecumenical supplications

. . . .” (emphasis added)). Again, the “analysis depends on ‘original meaning and history,’ with

particular attention paid to ‘historical practices.’” Id. at 951 (quoting Kennedy, 597 U.S. at 535).

The Fifth Circuit has relied on amici to shed light on the historical analysis, and, for the same

reasons, the Court finds expert testimony on this issue relevant (though by no means dispositive).

See id. at 951–57. The burden on this claim remains with the Plaintiff. See Croft, 624 F.3d at 164

(finding plaintiff asserting facial challenges under the Establishment Clause had the burden). See



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also Firewalker-Fields, 58 F.4th at 123 n.7 (“[T]he plaintiff has the burden of proving a set of

facts that would have historically been understood as an establishment of religion. That requires

proving both a set of facts, like in all litigation, and proving that those facts align with a historically

disfavored establishmentarian practice.” (citing Bruen, 597 U.S. at 25 n.6, 142 S. Ct. at 2130 n.6)).

Indeed, Mack’s reliance on Town of Greece’s analysis and its approach as a whole make clear that

historical evidence is not only relevant but essential to resolving these motions.

         Third, Kennedy did not limit Establishment Clause claims to Justice Gorsuch’s six

hallmarks found in his Shurtleff concurrence. See Kennedy, 597 U.S. at 536–37 & n.5. In Kennedy,

Justice Gorsuch used language indicating that his Shurtleff hallmarks were not an exhaustive list

adopted by the Court. See id. 15 Moreover, Kennedy acknowledged that, “Members of this Court

have sometimes disagreed on what exactly qualifies as impermissible coercion in light of the

original meaning of the Establishment Clause.” Id. at 537 (comparing Lee, 505 U.S. at 593, with

id., at 640–41 (Scalia, J., dissenting)). Kennedy did not attempt to resolve that uncertainty and

disagreement. Finally, even AG Defendants acknowledged at oral argument that Justice Gorsuch’s

six hallmarks are not an exhaustive set of criteria for determining the viability of an Establishment

Clause claim.

         Fourth, Mack provides general guidance within the Fifth Circuit for determining (a) what

the relevant tradition is and (b) whether a particular practice was consistent with the tradition at

issue. As to the former, the Court must take heed “not to steer between Scylla and Charybdis— /


15
   The Kennedy opinion’s parenthetical explanation for Justice Gorsuch’s Shurtleff concurrence specifically stated that
it “discuss[ed] coercion and certain other historical hallmarks of an established religion[.]” 597 U.S. at 537 n.5
(emphasis added) (citing Shurtleff, 596 U.S. at 284–87, 142 S. Ct. at 1608–1610 (Gorsuch, J., concurring)). Moreover,
in Kennedy, the Court recognized that “coercion along the[ ] lines” of certain types recognized by the Supreme Court,
such as the prohibition on the government from “coerc[ing] anyone to attend church,” id. at 537 (quoting Zorach, 343
U.S. at 314), or “forc[ing] citizens to engage in ‘a formal religious exercise,’” id. (quoting Lee, 505 U.S. at 589), were
“among the foremost hallmarks of religious establishments the framers sought to prohibit when they adopted the First
Amendment[,]” id. (emphasis added) (citing, inter alia, Shurtleff, 596 U.S. at 284–87, 142 S. Ct. at 1608–1610
(Gorsuch, J., concurring)).

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only a razor-edge between the devil and deep blue sea . . . .” VIRGIL, THE AENEID 125.789–90

(Robert Fagles trans., Penguin Books, 2008). That is to say, the Court must not construe the

tradition too broadly (e.g., as the Ten Commandments in all of public life at the time of the

Founding or Incorporation) or too narrowly (e.g., as exclusively the posting of the Decalogue

according to the minimum requirements of the Act during that time). Rather, just as Mack

identified the relevant tradition as “a broader tradition of public, government-sponsored prayer,”

Mack, 49 F.4th at 951, so too does this Court characterize the “broader tradition” as the use of the

Ten Commandments in public-school education. While AG Defendants advanced at oral argument

a different framing of the broader tradition, 16 the Court agrees with their characterization of the

relevant practice as: the permanent posting of the Ten Commandments in public-school

classrooms. Again, the question is whether there was a “widespread practice” or whether the

practice was “common for Founding-era” public schools. See Mack, 49 F.4th at 951, 957. Evidence

is insufficient if there are only “scattered instances” or “too little evidence too thinly spread to

conclude that [the practice] occurred regularly.” See id. at 957.

        Fifth, again, Mack also provides general guidance as to whether a particular practice is

consistent with the tradition at issue. One (but not the only) way a practice may be inconsistent is

when it is sectarian; that is, the practice “denigrate[s] nonbelievers or religious minorities, threaten

damnation, or preach conversion” rather than be “solemn and respectful in tone” and inviting

others “to reflect upon shared ideals and common ends.” Id. at 958 (quoting Town of Greece, 572

U.S. at 583). Additionally, the practice must “maintain[ ] a policy of nondiscrimination.” Id. at

958 (quoting Town of Greece, 572 U.S. at 585). The government does so by ensuring that

“members of any faith are free to participate in the [ ] [p]rogram” and, in the context of public


16
  AG Defendants argued that the broader tradition in which Plaintiffs must fit their challenge was Justice Gorsuch’s
six hallmarks. For the reasons given above, this Court disagrees.

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prayer, ensuring that the government “selects prayer-givers from among [its] members without

regard for belief.” Id.

          Sixth, under Kennedy and Mack, a particular practice can also be inconsistent with the

broader historical tradition because it coerces religious exercise. As a general matter, the analysis

is “‘fact-sensitive’ and holistic.” Mack, 49 F.4th at 958–59 (quoting Town of Greece, 572 U.S. at

587). “[S]ubjective offense ‘does not equate to coercion.’” Id. (quoting Town of Greece, 572 U.S.

at 589). A plaintiff can show coercion with “objective evidence that [he] has been treated

differently from others, even if that difference is abstract. . . .” Id. at 959 (citing Town of Greece,

572 U.S. at 587). The key questions are “whether coercion is a real and substantial likelihood,”

id., and whether “anyone may choose not to participate and suffer no consequences,” id. at 961.

          Seventh, in the public-school context, the Establishment Clause is not violated by “any

visible religious conduct” by a teacher or coach, as that would reflect a “hostilit[y] to religion” that

is prohibited. Kennedy, 597 U.S. at 540–41. But, coercion has been found in the public-school

context where “the school ha[s] ‘in every practical sense compelled attendance and participation

in’ a ‘religious exercise.’” Id. at 541–42 (quoting Lee, 505 U.S. at 580, 598); see also id. (citing

Sante Fe Indep. Sch. Dist., 530 U.S. at 294, 311). Students cannot be a “captive audience” or

“required or expected to participate.” See id. Ultimately, as Justice Breyer said in Van Orden, in

distinguishing a display of the Ten Commandments on courthouse grounds from the display in

classrooms in Stone, the “government must exercise particular care in separating church and state

. . . on the grounds of a public school . . . given the impressionability of the young. . . .” Van Orden,

545 U.S. at 703 (Breyer, J., concurring in judgment) (citing Lee, 505 U.S. at 592). And, as Lee

stated:

                 [T]here are heightened concerns with protecting freedom of
                 conscience from subtle coercive pressure in the elementary and

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                 secondary public schools. . . . Our decisions in Engel [ ] and
                 [Schempp] recognize, among other things, that prayer exercises in
                 public schools carry a particular risk of indirect coercion. The
                 concern may not be limited to the context of schools, but it is most
                 pronounced there. See [County of Allegheny, 492 U.S. at 661]
                 (KENNEDY, J., concurring in judgment in part and dissenting in
                 part). What to most believers may seem nothing more than a
                 reasonable request that the nonbeliever respect their religious
                 practices, in a school context may appear to the nonbeliever or
                 dissenter to be an attempt to employ the machinery of the State to
                 enforce a religious orthodoxy.

505 U.S. at 592.

                             b. Analysis

        Having carefully considered the allegations of the Complaint and accepting them as true at

the Rule 12(b)(6) phase—which the Court must do—the Court finds that Plaintiffs have adequately

pled a violation of the Establishment Clause under Kennedy. As a result, AG Defs. MTD will be

denied on this issue.

        With respect to history, Plaintiffs allege:

                 There is no longstanding tradition of permanently displaying the
                 Ten Commandments in public-school classrooms in Louisiana or
                 the United States more generally. Indeed, for nearly half a century,
                 it has been well settled that the First Amendment forbids public
                 schools from posting the Ten Commandments in this manner. See
                 Stone v. Graham, 449 U.S. 39 (1980)

(Compl. ¶ 2, Doc. 1; see id. ¶ 45.) The Complaint also maintains that “[t]he Act includes false

statements relating to a purported history and connection between the Ten Commandments and

government and public education in the United States[,]” such as the quote allegedly attributed to

James Madison, which Plaintiffs claim “is fabricated” and was never said by Madison “in any of

his public or private writings or in any of his speeches.” (Id. ¶¶ 42–44.) 17



17
  The Court notes that Green’s testimony that this Madison quote was fabricated was uncontradicted and, indeed,
unchallenged by AG Defendants.

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         Even if there were a broader tradition, Plaintiffs also sufficiently allege that the practice is

not consistent with any tradition by being discriminatory and coercive. 18 Concerning

discrimination, the Complaint demonstrates—“by the nature of the mandatory displays

themselves, the history of H.B. 71,” and statements of purpose made by various lawmakers—“that

the state’s main interest in enacting and implementing H.B. 71 is the imposition of religious beliefs

on public-school children.” (Compl. ¶ 55, Doc. 1.) Moreover,

                  H.B. 71 is not neutral with respect to religion. By design, it expressly
                  requires the display of religious scripture—the Ten
                  Commandments—in every public-school classroom, and it requires
                  a specific, state-approved version of that scripture to be posted,
                  taking sides on theological questions regarding the correct content
                  and meaning of the Decalogue.

(Id. ¶ 56.) This Act requires this despite the fact that many Louisianians (like the Plaintiffs) (a) do

not subscribe to the specific version of the Ten Commandments listed in the Act; (b) are not

religious and do not agree with any version of the Decalogue; or (c) believe in other religions (such

as Hinduism, Buddhism, and Taoism) that “generally do not consider the commandments to be

part of their belief system.” (Id. ¶¶ 57–62.) The Complaint also highlights that H.B. 71 requires a

version of the Ten Commandments that many Protestants use and that this is inconsistent with

versions recognized by Jews or Catholics. (Id. ¶¶ 63–67.) Ultimately, while the Act need not

“search or try to achieve religious balancing,” Mack, 49 F 4th at 958 (cleaned up), as pled, H.B. 71

fails to select both historical documents generally and versions of the Ten Commandments in

particular “without regard for belief,” cf. id., and is thus discriminatory as a matter of law.


18
   The Court passes on the question of whether the Act is sectarian. Specifically, the Court need not address whether
H.B. 71’s mandatory display of “the first part of the Commandments concern[ing] the religious duties of believers:
worshipping the Lord God alone, avoiding idolatry, not using the Lord’s name in vain, and observing the Sabbath
Day,” Stone, 449 U.S. at 42 (citing Exodus 20: 1–11; Deuteronomy 5: 6–15), are inconsistent with historical practices
by “denigra[ting] nonbelievers or religious minorities, threaten[ing] damnation, or preach[ing] conversion” rather than
inviting students to “reflect upon shared ideals and common ends,” Mack, 49 F.4th at 958 (citation omitted). While
Plaintiffs make numerous allegations of the extent to which they feel so denigrated, it is unnecessary to resolve this
issue in this ruling.

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           Additionally, Plaintiff adequately pleads that the Act is coercive. The Complaint concisely

summarizes this assertion as follows:

                    Permanently posting the Ten Commandments in every Louisiana
                    public-school     classroom—rendering        them      unavoidable—
                    unconstitutionally pressures students into religious observance,
                    veneration, and adoption of the state’s favored religious scripture. It
                    also sends the harmful and religiously divisive message that students
                    who do not subscribe to the Ten Commandments—or, more
                    precisely, to the specific version of the Ten Commandments that
                    H.B. 71 requires schools to display—do not belong in their own
                    school community and should refrain from expressing any faith
                    practices or beliefs that are not aligned with the state’s religious
                    preferences. And it substantially interferes with and burdens the
                    right of parents to direct their children’s religious education and
                    upbringing.

(Compl. ¶ 3, Doc. 1.)

           Plaintiffs elaborate in detail on these allegations. The Complaint correctly references the

fact that, by law, parents must send their minor children to school and ensure attendance during

regular school hours at least 177 days per year. (Id. ¶¶ 69–70 (citing La. R.S. §§ 17:221(A)(1)(c),

154.1(A)(1)).) Further, as stated above, many children and their families do not subscribe to this

version of the Ten Commandants, or any version. (Id. ¶¶ 72–75.) “Under H.B. 71, each of these

children will be forcibly subjected to the state’s official version of the Ten Commandments for

nearly every hour that they are in school,” which, cumulatively, amounts to at least 2,124 minimum

number of school days from age six to eighteen. (Id. ¶¶ 76–77.) Plaintiffs also highlight certain

requirements of the Act—that the Decalogue be the “central focus,” in a certain size, and printed

in “large, easily readable font”—before asserting, “[t]hese requirements are intended to, and will,

ensure that students are more likely to observe, absorb, accept, and follow the Ten

Commandments.” (Id. ¶¶ 78–79.) That, indeed, is what the authors of the Act intended. 19 The


19
     Again, the Complaint alleges:


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Complaint recounts the legislative history (which this Court quoted above) before concluding that,

“[a]s a result of the displays mandated by H.B. 71, students who do not subscribe to the state’s

official version of the Ten Commandments—including minor-child Plaintiffs—will” (1) “be

pressured into religious observance, veneration, and adoption of this religious scripture;” and (2)

“will feel pressure to avoid fully expressing or practicing their own faiths and religious beliefs or

nonreligious beliefs in view of their peers, teachers and other school staff.” (Id. ¶¶ 79–81.) After

describing in detail the specific ways each of the named Plaintiffs will be harmed by H.B. 71, (see

Section II, “The Named Plaintiffs,” supra (citing generally Compl. ¶¶ 82–155, Doc. 1)), the

Complaint concludes this point by stating:

                 As a result of the Ten Commandments displays mandated by H.B.
                 71, Louisiana students—including minor-child Plaintiffs—will be
                 unconstitutionally coerced into religious observance, veneration,
                 and adoption of the state’s favored religious scripture, and they will
                 be pressured to suppress their personal religious beliefs and
                 practices, especially in school, to avoid the potential disfavor,
                 reproach, and/or disapproval of school officials and/or their peers.

(Compl. ¶ 160, Doc. 1.)




                 For example, during the House Education Committee’s debate, Representative
                 Horton, the primary author and sponsor of the bill, explained: “It is so important
                 that our children learn what God says is right and what He says is wrong, and to
                 allow [the Ten Commandments] to be displayed in our classrooms as a visual aid,
                 I believe, especially in this day and time is so important.” Horton later told a
                 reporter that she is only “concerned with our children looking and seeing what
                 God’s law is.” Representative Sylvia Taylor, Horton’s co-author and co-sponsor
                 of H.B. 71, similarly stated: “I really believe that we are lacking in direction. A
                 lot of people, their children, are not attending churches or whatever . . . So what
                 I’m saying is, we need to do something in the schools to bring people back to
                 where they need to be.” And Representative Roger Wilder, another co-author and
                 co-sponsor of H.B. 71, expressed his support for the law by claiming that those
                 who oppose it are waging an “attack on Christianity” and suggesting that it would
                 provide a religious counterbalance to students’ secular education: “My wife is a
                 Christian and if she was a teacher she would be asked to teach evolution which is
                 in complete contradiction with the theory of creation that we believe out of the
                 Bible. . . . I am a parent and am asking for this [bill].”

(Compl. ¶ 79, Doc. 1.)

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       Having considered Louisiana’s laws (including the challenged Act and those dealing with

mandatory attendance) and having evaluated the above allegations in light of the “fact-sensitive”

and “holistic” inquiry required by the Fifth Circuit in Mack, the Court finds that these plaintiffs’

concerns rise far beyond “subjective offense”; rather, Plaintiffs have shown a real and substantial

likelihood of coercion, 49 F.4th at 958–59, particularly given the fact that, in the school context,

coercion has been found where “the school has in every practical sense compelled attendance and

participation in a religious exercise,” Kennedy, 597 U.S. at 541–42 (cleaned up) (relying upon Lee,

505 U.S. at 580, 598, and Sante Fe Indep. Sch. Dist., 530 U.S. at 311); cf. Mack, 49 F.4th at 961

(stressing that, to be constitutional, “anyone may choose not to participate and suffer no

consequences.”). Each of the Plaintiffs’ minor children will be forced “in every practical sense,”

through Louisiana’s required attendance policy, to be a “captive audience” and to participate in a

religious exercise: reading and considering a specific version of the Ten Commandments, one

posted in every single classroom, for the entire school year, regardless of the age of the student or

subject matter of the course. And, despite the differences among the Plaintiffs’ religious beliefs

(be they Unitarian Universalist, Reform Jewish, Presbyterian, or atheist/agnostic), the common

threads are (1) that the required posting of the Decalogue conflicts with specific parts of their faith,

and (2) that one of those articles of faith, shared by nearly all Plaintiff parents, is raising their

children in accordance with their own beliefs and values. Considering the totality of the

circumstances, the Court finds that the Act and its requirements are coercive and inconsistent with

the history of First Amendment and public education.

       In sum, Plaintiffs have sufficiently alleged that the Act violates the Establishment Clause

because it does not fit within and is not consistent with a broader tradition in place at the time of

the Founding or incorporation. Moreover, even if there were a broader tradition in play, the practice



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mandated by the Act would be inconsistent with that tradition because it is discriminatory and

coercive. For all these reasons, AG Defs. MTD on this issue will be denied.

VI.     AG DEFS. MTD: RULE 12(B)(6) MOTION: THE FREE EXERCISE CLAUSE CLAIM

           A. Parties’ Arguments

                     1. AG Defendants’ Original Memorandum (Doc. 39-1)

        AG Defendants assert that the Complaint is implausible with respect to the Free Exercise

claim for three reasons. (Doc. 39-1 at 50.) First, “it defies common sense to say that students will

feel any alleged pressure if they happen to view” one of the Illustrations offered by AG Defendants

such as Illustration 13, “Memes and Law,” or Illustration 6, concerning Hamilton and Charlton

Heston’s The Ten Commandments. (Id. at 50–52.) “[S]eeing Lin-Manuel Miranda’s clever spin on

the Ten Commandments may prompt an observer to watch Hamilton, but it would not burden their

religion or force them to change it any more than it would coerce a student to duel.” (Id. at 52.)

        Second, AG Defendants argue:

               More fundamentally, the Free Exercise Clause is not implicated
               here. As its name suggests, the Free Exercise Clause protects only
               religious exercise—believing, professing, and engaging in “conduct
               motivated by religious belief.” Church of Lukumi Babalu Aye, Inc.
               v. City of Hialeah, 508 U.S. 520, 543 (1993). And nothing in the
               Free Exercise Clause obligates the State to “comport with the
               religious beliefs of particular citizens,” or “demand[s] that the
               Government join in [their] chosen religious practices.” Bowen v.
               Roy, 476 U.S. 693, 699–700 (1986).

(Id.) AG Defendants maintain that the nonreligious Plaintiffs are not exercising religion at all, so

their Free Exercise claim must fail. (Id. at 53.) Others complain of “objecting to” or being

“offended” by H.B. 71, but, AG Defendants claim, this too does not constitute an exercise of

religion. (Id.) Ultimately, “the Free Exercise Clause does not compel government to affirm

Plaintiffs’ chosen religious practices.” (Id. at 53 (citing Bowen, 476 U.S. at 699).)



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               In reality, Plaintiffs’ Free Exercise claim boils down to a redux of
               their Establishment Clause coercion theory—but this time
               characterized as a substantial burden on their religious exercise. To
               be sure, the Free Exercise Clause protects against “indirect coercion
               or penalties on the free exercise of religion, not just outright
               prohibitions.” Carson v. Makin, 596 U.S. 767, 778 (2022) (citation
               omitted). But the government “do[es] not engage in impermissible
               coercion merely by exposing constituents to [something] they would
               rather not hear and in which they need not participate.” Town of
               Greece, 572 U.S. at 590 (emphasis added). Nor does “[o]ffense . . .
               equate to coercion.” Kennedy, 597 U.S. at 539 (quoting Town of
               Greece, 572 U.S. at 589). That is no less true in classrooms where,
               “[i]f no religious activity is at issue, any speculation as to whether
               students might feel pressured to participate is irrelevant.” Beaumont
               Indep. Sch. Dist., 240 F.3d at 470 (emphasis added).

(Id.)

        AG Defendants look to case law for comparable situations. First, they analogize to students

objecting to the Pledge of Allegiance; schools cannot force a student objecting on the basis of

religion to recite the Pledge or stand, but hearing the Pledge does not cause any Free Exercise

violation. (Id. at 53–54 (citations omitted).) Additionally, AG Defendants say this case is like the

motto “In God We Trust,” which also is permissible. (Id. at 54.) These defendants conclude this

point by saying that, while the State cannot force religious objectors to participate in a religious

exercise, “non-participatory exposure is not” forbidden; though students may opt out of specific

activities, “they do not have a right to remove content from the curriculum (or the classroom wall)

because the presence allegedly offends them.” (Id.)

        Third, AG Defendants say that Plaintiffs cannot demonstrate that the Act is “not neutral or

generally applicable.” (Id. (quoting Kennedy, 597 U.S. at 525).) “Government fails to act neutrally

when it proceeds in a manner intolerant of religious beliefs or restricts practices because of their

religious nature.” (Id. at 54–55 (quoting Fulton v. City of Philadelphia, 593 U.S. 522, 533 (2021)

(citations omitted)).) Here, H.B. 71 does not restrict anything and is not “intolerant of religious



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beliefs.” (Id. (citations omitted).) “If anything, it is exceedingly tolerant of beliefs across faith

traditions that espouse the Ten Commandments, by urging education about the role of the Ten

Commandments in Louisiana, America[ ], and world history.” (Id. at 55.) According to AG

Defendants, any argument that the State is being intolerant of other faiths would contradict the

Supreme Court’s Establishment Clause cases, like Van Orden and American Legion, which upheld

the display of the Latin Cross. (Id.) Thus, H.B. 71 is neutral as contemplated by the Supreme Court.

(Id.)

        Further, they claim the Act is generally applicable. (Id.) Indeed, AG Defendants maintain

that Plaintiffs do not argue otherwise. (Id. at 55–56.)

                       2. Plaintiffs’ Opposition (Doc. 47)

        Plaintiffs respond that AG Defendants’ argument about their allegedly innocuous

illustrations are a “red herring that prove[s] nothing other than the extraordinary efforts that public

schools might make to infuse scripture into their classrooms, draw students’ attention to it, and

pressure them into observing, meditating on, venerating, and living by its faith tenets.” (Doc. 47

at 48.) According to Plaintiffs, AG Defendants concede that the Free Exercise Clause prohibits

direct and “indirect coercion and penalties on the free exercise of religion, not just outright

prohibitions.” (Id. (quoting Carson v. Makin, 596 U.S. 767, 778 (2022)).) Despite this, AG

Defendants maintain that the Act is merely “non-participatory exposure” to “unwelcomed

content.” (Id. (quoting Doc. 39-1 at 45).) But:

                  That characterization does not reflect the wide-ranging, all-
                  pervading nature of the statutory regime, which capitalizes on the
                  State’s compulsory-education laws . . . and the coercive school
                  context . . . to impose on students constant and unavoidable displays
                  of the Ten Commandments—the State’s preferred version, no less—
                  that will follow them throughout their educational journeys.

(Id. at 48–49.)

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        Plaintiffs also take issue with the analogies AG Defendants draw upon from case law. For

example, AG Defendants rely on Town of Greece to support their position that the Act imposes

mere “offense,” but Plaintiffs respond:

               [T]he Court’s assessment of coercion there was premised wholly on
               the fact that the objectors were “mature adults” who voluntarily
               attended government meetings and were “free to enter and leave
               with little comment and for any number of reasons.” Town of
               Greece, 572 U.S. at 590 (quoting Lee, 505 U.S. at 597). The minor-
               child Plaintiffs, by contrast, are students who are compelled by law
               to attend school and are under the thumb of State control while
               there—a distinction recognized by the Court itself in Town of
               Greece. Id. at 590–91 (citing Lee, 505 U.S. at 597). According to
               the Court, “[s]hould nonbelievers choose to exit the room during a
               prayer they find distasteful, their absence will not stand out as
               disrespectful or even noteworthy[,]” and “should they remain, their
               quiet acquiescence will not, in light of our traditions, be interpreted
               as an agreement with the words or ideas expressed.” Id. at 590. It is
               an entirely different story for children, who are “readily susceptible
               to religious indoctrination or peer pressure.” See id. (internal
               quotation marks omitted).

(Id. at 49.)

        Likewise, AG Defendants’ reliance on Pledge of Allegiance cases fails. (Id.) There, courts

have emphasized that the students were confronted with secular conduct, whereas, here, the

activity is religious. (Id.) Moreover, there, students could opt out, which they cannot do here. (Id.

at 49–50.) The same goes for AG Defendants’ hypothetical challenge to evolution lessons or

homework on world affairs, both of which involve secular instruction, not religious scripture. (Id.

at 50.) Again, there is simply no right to opt out of or avoid the displays mandated by the Act, and,

in any event, the State’s curriculum does not mention the Ten Commandments or tie them to same.

(Id.)

               In sum, the Act cannot be constitutionally implemented because its
               mandatory, permanent displays of the Ten Commandments in every
               classroom will “effectively induce [] schoolchildren to meditate
               upon the Commandments during the school-day.” See City of

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               Elkhart v. Books, 532 U.S. 1058, 1061 (2001) (Rehnquist, C.J.,
               dissenting from denial of certiorari); see also Van Orden, 545 U.S.
               at 690–91 (plurality opinion). The Act provides no path for objectors
               to opt out, and the permanent, ubiquitous nature of the displays
               offers no relief from them. As a result, students will be coercively
               indoctrinated in the State’s favored religious beliefs and
               concomitantly pressured to suppress their own religious beliefs and
               practices at school. That is anathema to the “freedom of conscience
               and worship” that the Free Exercise Clause embraces. See Lee, 505
               U.S. at 591; Pl. Br. at 20–22.

(Id. at 50–51.) In sum, Plaintiffs argue they have shown a sufficient burden on their religious

practice, “including but not limited to the coercive effect the Act’s displays will have on the minor-

Plaintiffs’ expression and practice at school, and the Act’s interference with the parent-Plaintiffs’

right to direct the religious education and upbringing of their children.” (Id. (citing Wisconsin v.

Yoder, 406 U.S. 205, 232 (1972)).)

       Plaintiffs also contend that the Act is not religiously neutral. (Id. at 50, 52.) Plaintiffs

maintain that the relevant factors for determining neutrality under the Free Exercise Clause include

“the historical background of the decision under challenge, the specific series of events leading to

the enactment or official policy in question, and the legislative or administrative history, including

contemporaneous statements made by members of the decisionmaking body.” (Id. at 52 (quoting

Masterpiece Cakeshop, Ltd. v. Colo. Civ. Rts. Comm’n, 584 U.S. 617, 638 (2018) (internal

quotation marks omitted)).) Plaintiffs maintain that the “lack of neutrality” is “evident from its

text” and “is two-fold: (1) The Act mandates the display of explicitly religious doctrine, and (2)

the particular text of the religious doctrine prescribed by the Act is Protestant.” (Id.) This is

particularly clear given the fact that many Plaintiffs do not adhere to these commandments, either

generally or to the particular version at issue. (Id.) Further, “[t]he legislative history also evinces

legislators’ deviation from neutrality.” (Id.) Plaintiffs then recount some of the statements from

legislators supporting this. (Id. at 52–53.)

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        AG Defendants cannot “evade what is obvious from the text of the Act itself and its

legislative history” by relying on Van Orden. (Id. at 53.) The setting in Van Orden was “wildly

different” from this one, and, in that case, “the government there did not mandate the creation of

the display or select and approve its denominationally preferential text,” whereas, “[h]ere, the State

went out of its way to require public-school displays of the commandments and to select, vote on,

and officially approve the specific text to be used . . . .” (Id.)

        Plaintiffs argue that, as a result of the above analysis, AG Defendants then have the burden

of satisfying strict scrutiny. (Id.) They claim that AG Defendants fail to advance a compelling

interest in “subjecting students—for nearly every minute of the school day, year after year—to

religiously preferential displays of scripture in order to show children ‘what God’s law is.’” (Id.)

Moreover, even if there were an educational or historical interest, the law lacks narrow tailoring

because “BESE could simply update its own curricular standards, which currently omit any

mention of the commandments . . . and address the commandments objectively through ‘an

appropriate study of history, civilization, ethics, comparative religion, or the like.’” (Id. at 53–54

(quoting Stone, 449 U.S. at 42).)

                      3. AG Defendants’ Reply (Doc. 54)

        In reply, AG Defendants reiterate their assertion that the Free Exercise claim is merely an

effort to “repackage” Plaintiffs’ Establishment Clause claim. (Doc. 54 at 24.) AG Defendants first

argue, “Plaintiffs fail to cite a single case in which a court has held passive religious symbolism to

violate the Free Exercise Clause. That is because mere non-participatory exposure to objectionable

speech does not violate the Free Exercise Clause.” (Id.) As with the Pledge of Allegiance, they

say, objectors have the right to opt out, but not the right to stop it. (Id.) Though Plaintiffs maintain

they cannot opt out, here “there is nothing for students to opt out from.” (Id.) Students are required



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to recite the pledge, but, here, they need not do anything with the displays mandated by H.B. 71.

(Id.)

        Additionally, AG Defendants’ legal authority cannot be written off on the grounds that the

action there involved “secular conduct.” (Id. at 25.)

               The Free Exercise Clause does not depend on whether the
               government’s action is religious; it depends on whether the
               plaintiff’s religious conduct is impermissibly burdened. Moreover,
               just as the Pledge has “secular purposes” even as it “acknowledg[es]
               . . . religious heritage,” Croft, 624 F.3d at 167, so too the Ten
               Commandments “have both a religious and secular message,” Van
               Orden, 351 F.3d at 180.

(Id.)

        Moreover, AG Defendants argue that, even if it were possible that a Ten Commandments

display could rise to the level of coercion, their Illustrations do not. (Id.) “Unlike the bare-bones

display in Stone, displays showcasing the Ten Commandments alongside other historical

documents, legal context, and pop-culture references can have no conceivable tendency to coerce

students to ‘read, meditate upon, [or] perhaps to venerate and obey, the Commandments.’” (Id.

(quoting Stone, 449 U.S. at 42).)

        Lastly, AG Defendants maintain that, if religious exercise is implicated, H.B. 71 should be

subject to rational-basis review because it is neutral and generally applicable. (Id.) They say the

case relied upon by Plaintiffs involved “government officials disparaging the claimant’s religion

and penalizing its religious exercise under state law.” (Id. (cleaned up).) AG Defendants contend

that Plaintiffs’ real argument is that any “‘explicitly religious’” display of a “‘particular’ faith

tradition is ‘presumptively unconstitutional,’” but that this cannot be squared with the fact that the

same version of the Ten Commandments was allowed by Van Orden. (Id. at 25–26 (quoting Doc.

47 at 41).) AG Defendants conclude:



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                  H.B. 71 does not “infringe upon or restrict practices because of their
                  religious motivation.” Lukumi, 508 U.S. at 533. It does not provide
                  “a mechanism for individualized objections” on religious or non-
                  religious bases. Fulton, 593 U.S. at 533 (quotation omitted). And its
                  “design” does not demonstrate “deliberate[ ] disrespect[ ]” for any
                  faith. Am. Legion, 588 U.S. at 64. Thus, strict scrutiny does not
                  apply. Plaintiffs have forfeited any argument that H.B. 71 would fail
                  under rational-basis review. The Court should thus dismiss Count II
                  for failure to state a claim.

(Id. at 26.)

               B. Law and Analysis

        “The Free Exercise Clause of the First Amendment, applicable to the States under the

Fourteenth Amendment, provides that ‘Congress shall make no law . . . prohibiting the free

exercise’ of religion.” Fulton, 593 U.S. at 532. “[T]he Free Exercise . . . Clause[ ] of the First

Amendment . . . protects religious exercises, whether communicative or not . . . .” Kennedy, 597

U.S. at 523 (citations omitted).

        “At a minimum, the protections of the Free Exercise Clause pertain if the law at issue

discriminates against some or all religious beliefs or regulates or prohibits conduct because it is

undertaken for religious reasons.” Church of Lukumi Babalu Aye, 508 U.S. at 532 (citations

omitted). This “Clause[ ] requires government respect for, and noninterference with, the religious

beliefs and practices of our Nation’s people.” Cutter v. Wilkinson, 544 U.S. 709, 719 (2005).

         “[A] plaintiff may carry the burden of proving a free exercise violation in various ways,

including by showing that a government entity has burdened his sincere religious practice pursuant

to a policy that is not ‘neutral’ or ‘generally applicable.’” Kennedy, 597 U.S. at 525 (citation

omitted). “Should a plaintiff make a showing like that, this Court will find a First Amendment

violation unless the government can satisfy ‘strict scrutiny’ by demonstrating its course was




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justified by a compelling state interest and was narrowly tailored in pursuit of that interest.” Id.

(citation omitted).

       Having carefully considered the matter, the Court finds that Plaintiffs have established a

viable Free Exercise claim. First, they have sufficiently alleged that the Act burdens their “sincere

religious practice[s]” and beliefs. See id. As summarized above, the Complaint describes in detail

all of the ways in which the mandatory display of the Ten Commandments in H.B. 71 conflicts

with and burdens the sincere beliefs of the Unitarian Universalist, Presbyterian, agnostic or atheist,

and Reform Jewish Plaintiffs. (See Section II, “The Named Plaintiffs,” supra (citing generally

Compl. ¶¶ 82–155, Doc. 1).) Specifically, the Act is at odds with, inter alia, (a) Unitarian

Universalist, agnostic, and atheist views about proselytizing and the Ten Commandments

generally; (b) Reform Jewish tradition as to the particular content of this specific version of the

Decalogue and the need to instruct about it in the context of that tradition; and (c) Presbyterian

teachings on the display of the Ten Commandments by secular authorities. (See id.)

       Additionally, there is another sincerely held religious practice that the Act burdens. For

over fifty years, the Supreme Court has recognized “traditional concepts of parental control over

the religious upbringing and education of their minor children. . . .” Yoder, 406 U.S. at 231. That

is, there is a “fundamental interest of parents, as contrasted with that of the State, to guide the

religious future and education” and “to direct the religious upbringing of their children.” Id. at

232–33. See also id. at 234 (“[W]e hold . . . the First and Fourteenth Amendments prevent the

State from compelling [the Amish parent] respondents to cause their children to attend formal high

school to age 16.”). H.B. 71 violates this principle; as the Complaint alleges, the Act “substantially

interferes with and burdens the right of parents to direct their children’s religious education and




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upbringing.” (Compl. ¶ 3, Doc. 1.) Thus, Plaintiffs have established a burden on their sincerely

held religious beliefs.

       The Court also easily rejects AG Defendants’ argument that the Act is neutral.

“Government fails to act neutrally when it proceeds in a manner intolerant of religious beliefs or

restricts practices because of their religious nature.” Fulton, 593 U.S. at 533 (citing Masterpiece

Cakeshop, 584 U.S. at 636–39, 138 S. Ct. at 1730–1732; Church of Lukumi Babalu Aye, 508 U.S.

at 533).

       “There are, of course, many ways of demonstrating that the object or purpose of a law is

the suppression of religion or religious conduct.” Church of Lukumi Babalu Aye, 508 U.S. at 533.

“To determine the object of a law, [the Court] must begin with its text, for the minimum

requirement of neutrality is that a law not discriminate on its face. A law lacks facial neutrality if

it refers to a religious practice without a secular meaning discernable from the language or

context.” Id.

       But, “[f]acial neutrality is not determinative. The Free Exercise Clause, like the

Establishment Clause, extends beyond facial discrimination.” Id. at 534. “The Free Exercise

Clause bars even subtle departures from neutrality on matters of religion.” Masterpiece Cakeshop,

584 U.S. at 638 (cleaned up). “The Constitution ‘commits government itself to religious tolerance,

and upon even slight suspicion that proposals for state intervention stem from animosity to religion

or distrust of its practices, all officials must pause to remember their own high duty to the

Constitution and to the rights it secures.’” Id. at 638–39 (quoting Church of Lukumi Babalu Aye,

508 U.S. at 547).

       Thus, “[a]part from the text, the effect of a law in its real operation is strong evidence of

its object.” Church of Lukumi Babalu Aye, 508 U.S. at 535. “To be sure, adverse impact will not



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always lead to a finding of impermissible targeting. For example, a social harm may have been a

legitimate concern of government for reasons quite apart from discrimination.” Id. (citations

omitted). But the laws at issue cannot “disclose an object remote from these legitimate concerns.

The designs of [the] law[ ]” cannot “accomplish[ ] . . . a religious gerrymander, an impermissible

attempt to target” the Plaintiffs “and their religious practices.” Id. (cleaned up).

       Additionally, “[f]actors relevant to the assessment of governmental neutrality include ‘the

historical background of the decision under challenge, the specific series of events leading to the

enactment or official policy in question, and the legislative or administrative history, including

contemporaneous statements made by members of the decisionmaking body.’” Masterpiece

Cakeshop, 584 U.S. at 639 (quoting Church of Lukumi Babalu Aye, 508 U.S. at 540). “These

objective factors bear on the question of discriminatory object.” Church of Lukumi Babalu Aye,

508 U.S. at 540 (citing Pers. Admin. of Mass. v. Feeney, 442 U.S. 256, 279 n.24 (1979)).

       Here, the Court finds that H.B. 71 is not neutral toward religion. As stated throughout this

opinion, the Act requires the display of a specific Protestant version of the Decalogue. Again, this

required display conflicts with the religious views of Unitarian Universalists, agnostics, atheists,

Presbyterians, and Reform Jewish parents, particularly about proselytizing, the Ten

Commandments (both generally and this version), and the role of the secular authorities. (See

Compl. ¶¶ 82–155, Doc. 1.) AG Defendants argue that H.B. 71’s version of the Decalogue is

identical to the one upheld in Van Orden, but (a) as the plurality pointed out, that case was a “far

more passive use of those texts than was the case in Stone,” where students were captive audiences,

Van Orden, 545 U.S. at 691 (plurality opinion), and, (b) the specific context of that particular,

single display made it acceptable, part of which context included that “[t]he display [was] not on

the grounds of a public school, where, given the impressionability of the young, government must



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exercise particular care in separating church and state,” id. at 703 (Breyer, J., concurring in

judgment) (citations omitted).

        Additionally, the legislative history confirms that the Act “proceed[ed] in a manner

intolerant of religious beliefs.” Fulton, 593 U.S. at 533. Again, the Act’s primary author and

sponsor, Rep. Dodie Horton, declared of H.B. 71 in the Louisiana House Chamber, “I’m not

concerned with an atheist. I’m not concerned with a Muslim. I’m concerned with our children

looking and seeing what God’s law is.” La. House Reg. Sess. (Apr. 10, 2024), at 47:42,

https://house.louisiana.gov/H_Video/VideoArchivePlayer?v=house/2024/apr/0410_24_24RS_D

ay16;        see      also        La.        State          Legislature       (Sept.        16,       2024),

https://www.legis.la.gov/legis/BillInfo.aspx?s=24rs&b=HB71                (describing   Rep.      Horton   as

“primary” author). Rep. Horton also stated during the House Education Committee debate on the

bill: “It is so important that our children learn what God says is right and what He says is wrong

and to allow [the Ten Commandments] to be displayed in our classrooms as a visual aid, I believe,

especially in this day and time is so important.” La. House Educ. Comm. (Apr. 4, 2024), at 5:08,

https://house.louisiana.gov/H_Video/VideoArchivePlayer?v=house/2024/apr/0404_24_ED.3                        .

Representative Sylvia Taylor, another author of H.B, 71, similarly said, “I believe that we are

lacking in direction. A lot of people, their children, are not attending churches or whatever. . . . So

what I’m saying is, we need to do something in the schools to bring people back to where they

need    to     be.”    Id.   at     15:15;     La.         State   Legislature     (Sept.      16,    2024),

https://www.legis.la.gov/legis/BillInfo.aspx?s=24rs&b=HB71 (describing Rep. Taylor as another

author). And all of this must be seen in the context of (1) the fact that AG Defendants offer little

from the legislative history to rebut Plaintiffs, and (2) the Governor’s statement in response to this

challenge to H.B. 71 that supporters should help him “ADVANCE [] the Judeo-Christian values



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that this nation was built upon.” Wall, supra, at note 5. Thus, in addition to the Act’s plain language

and effects, H.B. 71’s legislative history confirms that the law’s “departures from neutrality on

matters of religion” are more than “subtle.” Masterpiece Cakeshop, 584 U.S. at 638–39 (cleaned

up); see also Church of Lukumi Babalu Aye, 508 U.S. 540–42 (noting in its finding of no neutrality

that “[t]he minutes and taped excerpts of the June 9 session . . . evidence significant hostility

exhibited by residents, members of the city council, and other city officials toward the Santeria

religion and its practice of animal sacrifice.”).

       Since the Act is not neutral, the Court turns to the next phase of the analysis. “A law

burdening religious practice that is not neutral or not of general application must undergo the most

rigorous of scrutiny.” Church of Lukumi Babalu Aye, 508 U.S. at 546. “To satisfy the commands

of the First Amendment, a law restrictive of religious practice must advance ‘“interests of the

highest order”’ and must be narrowly tailored in pursuit of those interests.” Id. (citations omitted).

“A law that targets religious conduct for distinctive treatment or advances legitimate governmental

interests only against conduct with a religious motivation will survive strict scrutiny only in rare

cases.” Id.

       Here, AG Defendants failed to satisfy these requirements. Even assuming that H.B. 71

advanced a compelling interest (e.g., for educational or historical value), the Act is unquestionably

not “narrowly tailored in pursuit of those interests.” Id. (citations omitted). There are any number

of ways that the State could advance an alleged interest in educating students about the Ten

Commandments that would be less burdensome on the First Amendment than the one required by

the Act, including but not limited to: (1) posting the laws for a designated amount of time (i.e.,

days or hours) rather than every day, all year around; (2) displaying them only when the students

reach a particular age (like one in which they are able to read and understand the elevated language



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of the King James version of the Bible and to discuss or at least consider the sensitive issue of

adultery); (3) using them in relevant course curricula (like social studies or world religions), rather

than any subject matter, regardless of pertinence (like trigonometry, biology, and even gym class);

or (4) having one single display at school (like the monument in Van Orden) rather than countless

posters in every single classroom at the institution regardless of the subject taught. In short, H.B.

71 is not narrowly tailored, so it must fall under the Free Exercise Clause. See id. (“The absence

of narrow tailoring suffices to establish the invalidity of the ordinances.” (citation omitted)).

       The Court also rejects AG Defendants’ arguments that (1) the Act is not coercive; (2) this

case is no different than those involving issues like the Pledge of Allegiance, where students can

opt out; and (3) that, at heart, Plaintiffs are really themselves showing a hostility to any religion

by trying to suppress it. All of these arguments were addressed above in reference to the

Establishment Clause. In short, the Act is coercive to students, and, for all practical purposes, they

cannot opt out of viewing the Ten Commandments when they are displayed in every classroom,

every day of the year, every year of their education. As the Supreme Court recognized in Stone,

“[i]f the posted copies of the Ten Commandments are to have any effect at all, it will be to induce

the schoolchildren to read, meditate upon, perhaps to venerate and obey, the Commandments[,]”

Stone, 449 U.S. at 42, and this is particularly true considering the “heightened concerns with

protecting freedom of conscience from subtle coercive pressure in the elementary and secondary

public schools,” Lee, 505 U.S. at 592.

       AG Defendants complain that Plaintiffs merely “repackage” their arguments about the

Establishment Clause; but, this position ignores the fact that “the [two] Clauses appear in the same

sentence of the same Amendment[,]” and “[a] natural reading of that [Amendment] would seem

to suggest the Clauses have complementary purposes, not warring ones where one Clause is always



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sure to prevail over the others.” Kennedy, 597 U.S. at 533 (cleaned up). The same reasoning applies

here.

         In sum, the Court finds that Plaintiffs have stated a viable Free Exercise claim. As a result,

AG Defs. MTD will be denied on this issue.

VII.     PLS. MPI

            A. Parties’ Arguments

         Plaintiffs move for a preliminary injunction seeking the following relief:

                Plaintiffs pray that this Court: preliminarily enjoin (1) all
                Defendants and their officers, agents, affiliates, subsidiaries,
                servants, employees, successors, and all other persons or entities in
                active concert or privity or participation with them, from adopting
                rules or regulations in accordance with, or otherwise enforcing,
                House Bill No. 71, Act No. 676, and from requiring that the Ten
                Commandments be displayed in every public-school classroom in
                Louisiana; and (2) the School Board Defendants and their officers,
                agents, affiliates, subsidiaries, servants, employees, successors, and
                all other persons or entities in active concert or privity or
                participation with them from displaying the Ten Commandments in
                any public-school classroom. Plaintiffs further pray that this Court
                issue an order directing Defendants Brumley and the members of
                the Louisiana State Board of Elementary and Secondary Education
                to provide a copy of any preliminary injunction granted to all
                Louisiana public elementary, secondary, and charter schools, and all
                public post-secondary education institutions.

(Doc. 20 at 3.) They also maintain that the requirement of posting a bond should be waived because

(1) the injunction seeks non-monetary relief; (2) “the gravity of interest is great”; and (3) AG

Defendants cannot show a likelihood of harm or loss if the injunction is granted. (Id. at 3 n.1

(citations omitted).)

         Plaintiffs argue that they satisfy the four requirements for a preliminary injunction. (See

Doc. 20-1.) They have established a substantial likelihood of relief, for all the reasons given above.

(See also id. at 12–29.) Where First Amendment plaintiffs make this showing, the other injunction



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factors are typically presumed. (Id. at 29.) Further, Plaintiffs have shown irreparable injury because

of the violation of their First Amendment freedoms. (Id.) Plaintiffs also contend that the public

interest and balance of potential harms weigh in their favor; there is no harm because the

preliminary injunction merely preserves the status quo, and the public interest would be served by

preventing the violation of their constitutional rights. (Id. at 29–30.)

        AG Defendants oppose the motion. (Doc. 39-1 at 56.) They argue first that, if the Court

grants their motions to dismiss, Pls. MPI should be denied as moot. (Doc. 39-1 at 56.)

        But, if the Court denies AG Defs. MTD, then, AG Defendants argue, the Court should still

deny Pls. MPI. (Id.) First, for all the reasons they give above, AG Defendants contend that

Plaintiffs are unlikely to succeed on the merits, either from jurisdictional defects or from a failure

to state a claim. (Id.)

        Second, these defendants assert that Plaintiffs will not suffer irreparable harm if an

injunction is not granted. (Id. at 57.) AG Defendants again reiterate the above arguments for this

issue as well. (Id.)

        Third, AG Defendants assert that the equities and public interest weigh in their favor. (Id.)

The State and its citizens will suffer if their statute is not implemented, and it is inequitable to grant

an injunction when AG Defendants must decide how to comply with H.B. 71 before the January

1, 2025, implementation deadline. (Id.)

        Fourth, AG Defendants attack the request for an order that Brumley and the BESE

Members provide a copy of the preliminary injunction to all Louisiana public elementary,

secondary, and charter schools and all public post-secondary institutions. (Id.) AG Defendants say

State officials should not be “coopt[ed] . . . for that purpose,” and, in any event, the injunction




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should not apply to all schools in Louisiana since Plaintiffs only chose to sue a small number of

Defendants. (Id. at 57–58.)

       Plaintiffs reply that each relevant factor weighs in favor of a preliminary injunction. (Doc.

47 at 54.) First, for all the reasons they advance above, Plaintiffs have shown a likelihood of

success on the merits. (Id.) Second, the loss of First Amendment freedoms constitutes irreparable

injury, and Plaintiffs have shown that loss. (Id.) Third, Plaintiffs stress that injunctions protecting

First Amendment freedoms serve the public interest, and any harm AG Defendants will suffer is

outweighed by the facts that (a) the statute violates federal law and (b) the other injunction

requirements weigh in Plaintiffs’ favor. (Id. at 54–55.)

           B. Law and Analysis

       A plaintiff must demonstrate four requirements to obtain a preliminary injunction:

                 1) a substantial likelihood of success on the merits; 2) a substantial
                threat that he will suffer irreparable injury if the injunction is not
                issued; 3) that the threatened injury to him outweighs any damage
                the injunction might cause to the state and its citizens; and 4) that
                the injunction will not disserve the public interest.

Ingebretsen, 88 F.3d at 278 (citing Doe v. Duncanville Indep. Sch. Dist., 994 F.2d 160, 163 (5th

Cir.1993) (citations omitted)).

       Here, Plaintiffs have satisfied all of these requirements. The Court will address each of

them in turn.

                     1. Substantial Likelihood of Success

       First, for all the reasons given above, Plaintiffs have shown a substantial likelihood of

success on the merits. The Court’s approach in resolving the merits of Plaintiffs’ claims was

summarized above, and it need not be repeated in full here.




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       In short, the Court must determine whether the practice at issue “fits within” and is

“consistent with a broader tradition.” See Mack, 49 F.4th at 951 (cleaned up). Historical evidence

is critical because “widespread practice around the Founding helps reveal an amendment’s original

public meaning,” as does the practice “around the time of incorporation” in 1868. See id. (citations

omitted). The question is whether there was a “widespread practice” or whether the practice was

“common for [the] Founding-era. . . .” See id. at 951, 957. Evidence is insufficient if there are only

“scattered instances” or “too little evidence too thinly spread to conclude that [the practice]

occurred regularly.” See id. at 956–57.

       Additionally, a practice can be inconsistent with a tradition by being discriminatory or by

coercing religious exercise. Id. at 958. As to the former, the government must ensure that

“members of any faith are free to participate in the [ ] [p]rogram” and that it acts “without regard

for belief.” See id. As to coercion, the analysis is “fact-sensitive and holistic,” id. at 958–59

(cleaned up); the key questions are “whether coercion is a real and substantial likelihood,” id. at

959 (citation omitted), and whether “anyone may choose not to participate and suffer no

consequences,” id. at 961. Coercion has been found in the public-school context where “the school

ha[s] ‘in every practical sense compelled attendance and participation in’ a ‘religious exercise.’”

Kennedy, 597 U.S. at 541 (citation omitted). Students cannot be a “captive audience” or “required

or expected to participate.” See id. at 542. Again:

               [T]here are heightened concerns with protecting freedom of
               conscience from subtle coercive pressure in the elementary and
               secondary public schools. . . . What to most believers may seem
               nothing more than a reasonable request that the nonbeliever respect
               their religious practices, in a school context may appear to the
               nonbeliever or dissenter to be an attempt to employ the machinery
               of the State to enforce a religious orthodoxy.

Lee, 505 U.S. at 592 (citations omitted).



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         As stated above, the broader tradition at issue is the use of the Ten Commandments in

public education. The Court finds that there is insufficient evidence of such a broader tradition to

justify H.B. 71. Indeed, none of the primary documents offered by AG Defendants—The New

England Primer, the McGuffey Readers from the 1800s, or Noah Webster’s The American

Spelling Book (Faircloth Decl., Exs. G-8 through G–18, Docs. 59-9 through 59-19)—reflect any

sort of tradition of permanently displaying the Decalogue in public-school classrooms at the time

of the Founding or of incorporation.

         On this key question of whether the practice at issue fits within a broader tradition existing

at the time of the founding, Plaintiffs offered the testimony of Dr. Steven K. Green which the Court

heard at the hearing on October 21, 2024. The Court found Green to be highly qualified and

concluded that he utilized an adequate and standard methodology used by historians. (See Ruling

on AG Defs. Daubert Motion, Doc. 83.) The Court had the opportunity to judge his demeanor and

finds that the witness was credible and his testimony on this issue was well supported and

persuasive. The Court rejects the AG Defendants’ charge of bias. The Court notes that not only

did the AG Defendants fail to offer contrary or competing expert testimony on this critical issue,

but they also failed to seriously challenge any of Green’s substantive opinions on the merits of this

issue.

         Green testified that, at the time the U.S. Constitution and First Amendment were drafted,

public schooling was essentially nonexistent. (Green Report ¶ 34, Doc. 47-2; Green Decl. ¶ 5, Doc.

47-1 (affirming contents of report).) Green explained that education at the time of the Founding

occurred in private academies or through tutors and generally had a strong religious component

due to the dominance of clergy as teachers. (Green Report ¶ 34, Doc. 47-2.) Quasi-public-school

prototypes existed in New England, but they required parents to pay a rate, were largely taught by



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clergy, and primarily had a religious purpose of making Christians. (Id.) Early textbooks like The

New England Primer were chiefly designed to inculcate religious fealty. (Id.) Thus, as Green

opined, practices in these schools provide little insight into public education and the Ten

Commandments. (Id.) Green further stated that there is a lack of evidence that these schools

permanently displayed the Ten Commandments on classroom walls. (Id.)

        Green also said that publicly operated and funded “common schools” developed in the

early 1800s. (Id. ¶ 35.) After discussing these schools, Green concluded: “Looking more

specifically at the Ten Commandments, the evidence for a longstanding historical practice and

acceptance of widespread and permanent displays of the Ten Commandments in public-school

classrooms does not exist.” (Id. ¶ 39.) Moreover, as will be explored below, Green looked at the

AG Defendants’ tendered evidence and found:

               [A]s a matter of historical methodology and analysis, the common
               schools’ use of these Readers or Webster’s Spelling Book, standing
               alone, does not prove H.B. 71’s broad assertion that the “Ten
               Commandments were a prominent part of American public
               education for almost three centuries.” Nor does it demonstrate a
               longstanding historical acceptance of an entirely distinct practice—
               permanently displaying the Ten Commandments in public-school
               classrooms.

(Id. ¶ 44.)

        Green relied on other evidence to support his conclusion that there was no longstanding,

widespread use of the Ten Commandments in public education by focusing on the lack of evidence

supporting the permanent displaying of the Ten Commandments in public-school classrooms. (Id.

¶ 45.) First, Green believed that, as a historian, since there was “substantial religious turmoil and

conflict that arose from the incorporation of prayer and Bible reading into some common schools,”

he would have expected to see a similar response if undue emphasis was placed on Readers lessons

involving the Ten Commandments or permanently displaying them. (Id.) But, only two of the

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above reported cases involved the Ten Commandments, and neither involved displaying them on

classroom walls. (Id. (citing Commonwealth v. Cooke, 7 Am. L. Reg. 417–26 (Mass. 1859);

Pfeiffer v. Bd. of Educ., 77 N.W. 250 (Mich. 1898)).) The Court notes that only the former case

took place around the time of incorporation.

        Second, surveys conducted by the U.S. Commissioner of Education in the 1880s and 1890s

“did not reflect any specific, routine practice of displaying the Ten Commandments in classrooms

or otherwise using them in instruction.” (Id. ¶ 46.)

        Third, Green examined a popular nineteenth-century legal treatise—Thomas Cooley’s

Constitutional Limitations. (Id.) Each edition of Cooley’s treatise contained information about

religious liberty and religious exercises in public schools. (Id.) And there was no reference in this

treatise to the posting of the Ten Commandments or their use in public-school curricula. (Id.)

        Fourth, to Green’s knowledge, “no state law specifically permitted or mandated the posting

of the Ten Commandments in public schools prior to 1927.” (Id. ¶ 47.) The first state law

specifically allowing the display of the Decalogue was in 1927 in North Dakota, but that was struck

down in 1980. (Id. ¶ 47 & n.76.)

        Considering this evidence, Green concluded:

               Based on all the factors discussed above, supra ¶¶ 34–47, and the
               lack of compelling counterevidence, it is my expert judgment that
               the Ten Commandments were not “a prominent part of American
               public education for almost three centuries,” as H.B. 71 claims. Nor
               more specifically, in my expert opinion, is there evidence of a
               longstanding, let alone unbroken, historical acceptance and practice
               of widespread, permanent displays of the Ten Commandments in
               public schools.

(Id. ¶ 48.)

        Green also rebutted the historical evidence offered by AG Defendants. By way of

background, the Act contains certain legislative findings and declarations. H.B. 71(A). After

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setting forth some general history about the role of the Ten Commandments in public life, 20 the

Act declares, “[i]ncluding the Ten Commandments in the education of our children is part of our

state and national history, culture, and tradition.” H.B. 71(A)(4)–(5). The context statement for the

Act then provides the basis for AG Defendants’ historical evidence:

                  The History of the Ten Commandments in American Public
                  Education

                  The Ten Commandments were a prominent part of American public
                  education for almost three centuries. Around the year 1688, The New
                  England Primer became the first published American textbook and
                  was the equivalent of a first grade reader. The New England Primer
                  was used in public schools throughout the United States for more
                  than one hundred fifty years to teach Americans to read and
                  contained more than forty questions about the Ten Commandments.

                  The Ten Commandments were also included in public school
                  textbooks published by educator William McGuffey, a noted
                  university president and professor. A version of his famous
                  McGuffey Readers was written in the early 1800s and became one
                  of the most popular textbooks in the history of American education,
                  selling more than one hundred million copies. Copies of the
                  McGuffey Readers are still available today.

                  The Ten Commandments also appeared in textbooks published by
                  Noah Webster [ ] which were widely used in American public
                  schools along with America’s first comprehensive dictionary that
                  Webster also published. His textbook, The American Spelling Book,
                  contained the Ten Commandments and sold more than one hundred
                  million copies for use by public school children all across the nation
                  and was still available for use in American public schools in the year
                  1975.

H.B. 71(B)(3).


20
   This includes: (a) the Supreme Court’s upholding of the display in Van Orden; (b) the Louisiana Legislature’s
enacting of Act No. 602 of its 2006 Regular Session, which provided “for the secretary of state to publish the Ten
Commandments and other historically significant documents for posting in court houses and other public buildings to
address ‘a need to educate and inform the public as to the history and background of American and Louisiana law;’”
and (c) the Supreme Court’s recognition in American Legion that the Ten Commandments “have historical
significance as one of the foundations of our legal system” and the Court’s alleged ruling that the display of Ten
Commandments on public property could have “‘multiple purposes’” such as “‘historical significance’” and
representing a “‘common cultural heritage.’” H.B. 71(A)(1)–(3) (quoting, inter alia, American Legion, 588 U.S. at 53–
54).

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        But Green systematically dismantled this purported historical evidence and its conclusions.

Green’s conclusions about the New England Primer and education before the nineteenth century

were given above and need not be repeated here. (See also Green Report ¶ 34, Doc. 47-2.) Again,

Green explained in his report that publicly operated and funded “common schools” developed in

the early 1800s. (Id. ¶ 35.) Massachusetts was the first state to mandate universal “non-sectarian”

public education, and its board of education, led by Horace Mann, eliminated doctrinal religious

instruction but retained the use of the Bible to inculcate “universal” Christian morals. (Id.) The

Bible was read without “note or comment,” to “let the Bible speak for itself.” (Id.) Other states

followed suit, offering liberal education with some “nonsectarian” religious activities like prayer

and Bible reading. (Id.)

        Green highlighted though, how even these activities were “deeply controversial and not

universality accepted;” for instance, the use of the Protestant King James Bible drew opposition

from Catholics and Jews. (Id. ¶ 36.) Green provided some details on that conflict in the 1840s,

including the Philadelphia “Bible riots” as well as the following:

               In 1840, the nation’s Catholic bishops issued a pastoral letter
               denouncing the use of the King James Bible and Protestant-biased
               textbooks, such as the McGuffey Reader: “We can scarcely point
               out a book in general use in the ordinary schools . . . wherein covert
               and insidious efforts are not made to misrepresent our principles, to
               distort our tenets, to vilify our practices, and to bring contempt upon
               our Church.”

(Id.)

        Green also documented about thirty reported decisions between 1850 and 1960 involving

challenges to public-school religious exercises. (Id. ¶ 37.) Green said this demonstrates that

practices were not universally permitted or accepted. (Id.) One of these was from 1854, and three

were in the 1880s. (Id. ¶ 37 n.59.) Green also highlighted other evidence supporting the conclusion



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that, in the late nineteenth century, the prevalence of religious exercises in schools declined

significantly. (Id. ¶ 38.)

        Green then turned to the Act’s context statement itself and asserted:

                 [E]xamining these sources [(i.e., the New England Primer, the
                 McGuffey Readers, and Webster’s American Spelling Book)] and
                 their use in more detail, it is my conclusion that the evidence cited
                 in H.B. 71 does not support the broad assertion that “the Ten
                 Commandments were a prominent part of American public
                 education for almost three centuries.”

(Id. ¶ 40.) First:

                 [T]he New England Primer, which first appeared around 1690 and
                 was republished into the early nineteenth century, had the central
                 purpose of inculcating religious fealty along sectarian, Calvinist
                 lines – “the primer was a codification of primary religious creed.”
                 But the Primer was used chiefly, if not exclusively, in religiously
                 run schools, and, importantly, it fell into disuse during the early
                 decades of the nineteenth century, before the rise of public
                 education. Thus, as a matter of historical methodology and analysis,
                 it does not represent a precedent for, or provide evidence of, later
                 practices in public schooling.

(Id. ¶ 41.)

        Additionally, Green testified that “H.B. 71 also misrepresents or overstates matters

considerably with respect to the other texts it cites.” (Id. ¶ 42.) For example:

                  Noah Webster’s American Spelling Book, first published in 1783,
                 was the most popular speller into the mid-nineteenth century.
                 However, as an early leader in the nonsectarian reform movement,
                 Webster was opposed to a religiously infused curriculum, and his
                 spellers made only occasional references to “commandments.” For
                 example, the 1839 edition of his speller includes only one mention
                 of the commandments: “Fear God, and keep his commandments, for
                 this is the whole duty of man.” Similarly, the 1863 Speller states in
                 a single entry: “God is the divine legislator. He proclaimed his ten
                 commandments from Mt. Sinai.” Significantly, the words
                 “commandment” or “commandments” do not appear in the book’s
                 1795, 1808, 1822, 1843, 1848, 1857, 1866, 1880, and 1908 editions.

(Id.) As to the McGuffy Readers, Green stated:

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        The McGuffey Readers, written and compiled by Presbyterian
        minister William McGuffey, were also used in many common
        schools throughout much of the nineteenth century. McGuffey
        wrote various Readers for grades one through six, with numerous
        editions that were published into the early twentieth century. While
        some early editions and versions of the Readers set out some version
        of the Ten Commandments as part of a reading lesson, it was just
        one of dozens of lessons available to students and teachers. For
        example, the 1853 edition of McGuffey’s Eclectic Second Reader
        included 105 separate lessons, with only one lesson focusing on the
        “The Ten Commandments,” listed last, starting at page 216. Many
        other editions and versions did not reproduce the Ten
        Commandments verbatim, making only sporadic reference to a
        specific commandment, such as the prohibition on bearing false
        witness, as part of a lesson or story. And references to the Ten
        Commandments in other editions and versions were even more
        attenuated. The 1853 edition of the Third Reader, for instance,
        included an extract from the Sermon on the Mount: “Whosoever,
        therefore, shall break one of these least commandments . . . shall be
        least in the kingdom of heaven.” The 1857 edition of the Fifth
        Reader stated that “the commandment of the Lord is pure,
        enlightening the eyes.” Even then, references to a “commandment”
        were minimal when compared to the numerous lessons (up to 200,
        depending on the edition) included in each book. Still other editions
        and versions of McGuffey’s Readers, especially later ones, did not
        include any reference to a “commandment.”

        [ ] In sum, the Ten Commandments, even when used or referred to
        in McGuffey’s Readers, were not a significant aspect of the texts,
        and the extent to which common-school teachers may have relied on
        those particular readings and spelling lessons, as opposed to the
        dozens of others available in the same book, cannot be verified.
        Moreover, references to the commandments were largely eliminated
        in later versions of the Readers; and, while the Readers were used
        in many common schools from their initial publication through the
        early twentieth century, reliance on them tapered as public schools
        turned to myriad other available options. It follows that, as a matter
        of historical methodology and analysis, the common schools’ use of
        these Readers or Webster’s Spelling Book, standing alone, does not
        prove H.B. 71’s broad assertion that the “Ten Commandments were
        a prominent part of American public education for almost three
        centuries.” Nor does it demonstrate a longstanding historical
        acceptance of an entirely distinct practice—permanently displaying
        the Ten Commandments in public-school classrooms.




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(Id. ¶¶ 43–44.) Considering this evidence, Green again concluded, “Based on all the factors

discussed above, supra ¶¶ 34–47, and the lack of compelling counterevidence, it is my expert

judgment that the Ten Commandments were not ‘a prominent part of American public education

for almost three centuries,’ as H.B. 71 claims.” (Id. ¶ 48.)

       Green’s testimony at the hearing confirmed the conclusions of his Report. Most significant

to the Court, Green elaborated on how scattered and infrequent the references to the Decalogue

were in the McGuffey Readers. Specifically, Green emphasized footnote 69 of his report:

               I conducted word searches though digitized editions of the books
               available through online resources, including Early American
               Imprints, Evans Digital Collection, the HathiTrust digital service,
               the Internet Archive, and Project Gutenberg. The editions and
               versions I reviewed included all six levels of the Readers with
               edition dates ranging from 1844 to 1920 (a total of 36 books). The
               word “commandment” or “commandments” occurred primarily in
               the Third and Fourth Readers and varied between one to three
               references per book out of 100-200 lessons per book. As noted
               above, some editions, such as the 1853 edition of the Second Reader,
               included a lesson on the Ten Commandments or other references to
               the commandments, but many later editions did not. For example, a
               search of the 1866 and 1880 Second Reader, as well as a sampling
               of the First, Fifth, and Sixth Readers between 1865 to 1901,
               uncovered no references to a “commandment” or “commandments.”

(Id. ¶ 43 n. 69.) Green acknowledged on cross the presence of the Ten Commandments in certain

Readers (such as those from 1825, 1836, and 1879), but he responded that isolated examples must

be judged in the context of the larger historical record; otherwise, the forest is lost for the trees.

Again, the Court heard Green’s testimony and found it convincing, logical, and consistent with the

Court’s own review of the evidence.

       In sum, the Court finds that the historical records show only “scattered instances” that are

“too little evidence too thinly spread to conclude that [the practice] occurred regularly.” See Mack,

49 F.4th at 957. That is to say, the limited examples offered by AG Defendants do not show a



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“widespread practice” of using the Ten Commandments in public schools that was “common for

[the] Founding-era” or at the time of incorporation. See id. at 951, 957. Consequently, the practice

at issue (permanently displaying the Ten Commandments in public-school classrooms) does not

“fit[ ] within” and is not “consistent with a broader tradition” of using the Decalogue in public-

school education, id. at 951, so Plaintiffs have shown a substantial likelihood of success on the

merits on their Establishment Clause claim.

        Further, even if there was sufficient evidence to show that this practice fit within a broader

tradition of using the Ten Commandments in public schools, Plaintiffs have still demonstrated a

substantial likelihood of success on their Establishment Clause and Free Exercise Clause claims.

The declarations of the named Plaintiffs are nearly identical to the allegations of the Complaint,

summarized above. 21 This testimony confirms, inter alia, Plaintiffs’ religious or nonreligious

beliefs, the manner in which the Act substantially burdens those beliefs, and the ways in which

Act is inconsistent with any historical tradition by being discriminatory and coercive. 22 The

legislative history, also detailed above, further supports the point that H.B. 71 is not neutral but is

in fact coercive and discriminatory. And for all the reasons given above, AG Defendants have

failed to satisfy the requirements of strict scrutiny on the Free Exercise claim. Consequently, for

these additional reasons, Plaintiffs have shown a substantial likelihood of success on the merits.



21
   See Rev. Roake Decl., Doc. 20-2; Van Young Decl., Doc. 20-3; Compl. ¶¶ 9, 82—90, Doc. 1; Rev. Broadhurst
Decl., Doc. 20-4; Rev. Williams Decl., Doc. 20-5; Compl. ¶¶ 10, 91—100, Doc. 1; Sims Decl., Doc. 20-6; Compl. ¶¶
11, 101—107, Doc. 1; Harding Decl., Doc. 20-7; Owens Decl., Doc. 20-8; Compl. ¶¶ 12, 108—113, Doc. 1; Erin
Hawley Decl., Doc. 20-9; David Hawley Decl., Doc. 20-10; Compl. ¶¶ 13, 114—124, Doc. 1; McCrory Decl., Doc.
20-11; Compl. ¶¶ 14, 125—129, Doc. 1; Sernovitz Decl., Doc. 20-12; Pulda Decl., Doc. 20-13; Compl. ¶¶ 15, 130—
139, Doc. 1; Alkire Decl., Doc. 20-14; Compl. ¶¶ 16, 140—145, Doc. 1; Herlands Decl., Doc. 20-15; Compl. ¶¶ 17,
146—155, Doc. 1.
22
   The Court also notes that Green provided extensive testimony about the ways in which the Ten Commandments as
adopted by H.B. 71 are Protestant and religiously exclusive. (Green Report ¶¶ 49–56, Doc. 47-2; Green Decl. ¶ 5,
Doc. 47-1 (affirming contents of report).) Green highlights how the King James version of the Decalogue, as used in
Van Orden and H.B. 71, is inconsistent in various ways with the Jewish and Catholic versions. (Green Report ¶¶ 53–
55, Doc. 47-2), and much of this coincides with the testimony of the named Plaintiffs, summarized above.


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                      2. The Other Requirements for Injunctive Relief

       As to the second requirement, “[w]hen an alleged deprivation of a constitutional right is

involved, most courts hold that no further showing of irreparable injury is necessary.” Book

People, 91 F.4th at 340–41 (quoting Opulent Life Church v. City of Holly Springs, 697 F.3d 279,

295 (5th Cir. 2012)); see also Charles Alan Wright, Arthur R. Miller & Mary Kay Kane, Federal

Practice and Procedure § 2948.1 (3d ed. 2024) (same). “Indeed, the Supreme Court has said that

‘[t]he loss of First Amendment freedoms, for even minimal periods of time, unquestionably

constitutes irreparable injury.’” Book People, 91 F.4th at 341 (quoting Elrod v. Burns, 427 U.S.

347, 373 (1976)). See also Ingebretsen, 88 F.3d at 280 (same). Thus, Plaintiffs have shown

irreparable injury.

       As to the third and fourth requirements, “Plaintiffs’ risk of irreparable harm must be

weighed against any injury the State would sustain. Where the State is appealing an injunction, its

interest and harm merge with the public interest.” Book People, 91 F.4th at 341 (citations omitted).

On the one hand, “[w]hen a statute is enjoined, the State necessarily suffers the irreparable harm

of denying the public interest in the enforcement of its laws.” Id. (citations omitted). But “neither

[the State] nor the public has any interest in enforcing a regulation that violates federal law.” Id.

(citation omitted). “Indeed, ‘[i]njunctions protecting First Amendment freedoms are always in the

public interest.’” Id. (quoting Opulent Life Church, 697 F.3d at 298 (quoting Christian Legal Soc’y

v. Walker, 453 F.3d 853, 859 (7th Cir. 2006))). See also Ingebretsen, 88 F.3d at 280 (holding that

where a law violates the First Amendment, “the public interest was not disserved by an injunction

preventing its implementation”). Thus, “[b]ecause Plaintiffs are likely to succeed on the merits of

their First Amendment claim, the State and the public won’t be injured by an injunction of a statute

that likely violates the First Amendment.” Book People, 91 F.4th at 341.



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       In sum, all four requirements for injunctive relief weigh in Plaintiffs’ favor. As a result, the

Court will grant Pls. MPI.

                     3. Remaining Issues Related to Pls. MPI

       Additionally, Plaintiffs seek an order compelling the Superintendent and BESE Members

to serve this ruling on all schools in the state. AG Defendants contend that this “coopts” them and

that Plaintiffs should be charged with this task.

       In short, the Court agrees with Plaintiffs. The Court has ruled that the Act is facially

unconstitutional. That is, H.B. 71 is unconstitutional in all applications. As a result, the Act cannot

be enforced throughout the state. While AG Defendants do not have to serve each school with a

copy of this ruling, they certainly will be ordered to provide notice to all schools that the Act has

been found unconstitutional, particularly since the burden on AG Defendants to accomplish this

task is minimal.

       The sole remaining question is whether Plaintiffs need to post bond. “The court may issue

a preliminary injunction or a temporary restraining order only if the movant gives security in an

amount that the court considers proper to pay the costs and damages sustained by any party found

to have been wrongfully enjoined or restrained.” Fed. R. Civ. P. 65(c).

       “[T]he amount of security required pursuant to Rule 65(c) ‘is a matter for the discretion of

the trial court . . . .’” Kaepa, Inc. v. Achilles Corp., 76 F.3d 624, 628 (5th Cir. 1996) (quoting

Corrigan Dispatch Co. v. Casa Guzman, 569 F.2d 300, 303 (5th Cir. 1978)).

               Accordingly, the judge usually will fix security in an amount that
               covers the potential incidental and consequential costs as well as
               either the losses the unjustly enjoined or restrained party will suffer
               during the period the party is prohibited from engaging in certain
               activities or the complainant’s unjust enrichment caused by his
               adversary being improperly enjoined or restrained.

Wright, Miller, and Kane, supra, at § 2954.

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          “Indeed, it has been held that the court may dispense with security altogether if the grant

 of an injunction carries no risk of monetary loss to the defendant.” Id. Likewise, the Fifth Circuit

 has ruled that “the court ‘may elect to require no security at all.’” Kaepa, 76 F.3d at 628 (quoting

 Corrigan Dispatch, 569 F.2d at 303). And other courts have found that no security, or only nominal

 security, would be required for violations of First Amendment rights. See Abdullah v. Cnty. of St.

 Louis, 52 F. Supp. 3d 936, 948 (E.D. Mo. 2014) (“Given the constitutional issues at stake here[,]

 [including under the First Amendment,] and taking into account plaintiff’s status as employee of

 a not-for-profit entity, I will set the bond in the amount of $100.”); United Food & Com. Workers

 Loc. 99 v. Brewer, 817 F. Supp. 2d 1118, 1128 (D. Ariz. 2011) (“There is no realistic likelihood

 that Defendants will be harmed by being enjoined from enforcing a law that constitutes viewpoint

 discrimination in violation of the First Amendment on its face. No bond will be required.”).

          For the same reasons—the lack of any real harm shown by AG Defendants from being

 unable to enforce an unconstitutional law; the significant First Amendment issues successfully

 raised by Plaintiffs; and Plaintiffs’ status as parents of minors in schools—the Court will require

 only a nominal bond in the amount of $100.

VIII.     OPSB MTD

             A. Relevant Background and Parties’ Arguments

          The Court now turns to OPSB MTD. By way of background, the Complaint alleges that

 certain plaintiffs have minor children who attend school in the “NOLA Public School System”—

 specifically, Plaintiffs Reverend Roake and Van Young (parents of A.V. and S.V.), Sernovitz and

 Pulda (parents of T.S.) and Herlands (parent of E.H. and J.H.). (Compl. ¶¶ 9, 15, 17, Doc. 1.)

 However, OPSB argues that it “directly runs only two public schools,” neither of which are

 attended by these Plaintiffs’ children. (Doc. 38-1 at 3.) Rather, these children attend charter



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schools; specifically, Roake and Van Young’s children go to the International School of Louisiana,

a Type 2 charter school authorized by BESE, and the other children go to Willow School, a Type

3B charter school authorized by OPSB. (Id. at 3 (citing Illarmo Decl., Doc. 38-2).)

       The basis for OPSB MTD is that “[these] Plaintiffs lack Article III standing to sue OPSB

in this action because of the separate legal identities, autonomy, independence, and compliance

obligations of the charter schools that Plaintiffs’ children attend.” (Id at 9.) Charter schools have

“autonomous operations and governance,” and they “exercise clear autonomy and independent

operational decision making over school programming, instruction, curriculum, materials, [and]

texts.” (Id.) As to the specific schools at issue, again, the International School is authorized by

BESE, and:

               Although the OPSB is the authorizer for the Willow School, this
               does not negate the separate juridical identity of the public
               corporation that operates the Willow School, the independence and
               autonomy of the Willow School as a charter school, or the statutory
               immunity OPSB enjoys for the conduct of any charter school it
               authorizes.

(Id. at 9–10.) Thus, OPSB asserts, Plaintiffs’ injuries are not traceable to any conduct by OPSB.

(Id. at 10.) Further, Plaintiffs fail redressability because “[e]njoining OPSB from displaying the

Ten Commandments in either of its two direct[ly] run public schools would not redress any alleged

injury suffered by Plaintiffs and their children” in the two charter schools. (Id. at 11.) Finally,

OPSB argues that it is redundant to the other parties in this case. (Id.)

       In response, Plaintiffs concede that the parents with children attending the International

School (Roake and Van Young) lack standing as to OPSB. (Doc. 46 at 7 n.7.) But, Plaintiffs argue

that BESE is the proper party for these Plaintiffs and that BESE is already a defendant in this

action. (Id.) Further, Plaintiffs maintain that OPSB is not entitled to dismissal entirely because

there is standing for those other parents with children at the Willow School. (Id.)

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        Plaintiffs contend they satisfy the traceability and redressability requirements based on

“[t]he plain text of the Act, state charter-school laws, OPSB’s own policies, and OPSB’s Charter

School Operating Agreements[.]” (Id.at 5.) As to the Act, H.B. 71 provides that “each public

school governing authority” must display the Ten Commandments, and OPSB is the governing

authority of Willow School. (Id. at 13.) “OPSB’s own policies, meanwhile, repeatedly affirm that

OPSB-authorized charter schools are ‘under its jurisdiction.’” (Id.)

        Plaintiffs highlight that traceability is not a proximate-cause requirement. (Id. at 14.) “As

the Supreme Court has held, while ‘it does not suffice if the injury complained of is the result of

the independent action of some third party not before the court, . . . that does not exclude injury

produced by determinative or coercive effect upon the action of someone else.’” (Id. (quoting

Bennett, 520 U.S. at 169).) Plaintiffs rely on the facts and holding of Bennett to support their

position before asserting, “[a]s in Bennett, OPSB wields a ‘powerful coercive effect’ on its charter

schools’ compliance with legal requirements.” (Id. at 14–15 (quoting Bennett, 520 U.S. at 169).)

Plaintiffs base this on the facts that:

                (a) “Louisiana law requires OPSB to monitor charter schools’
                    compliance with both state law and the terms of OPSB’s Charter
                    School Operating Agreements,” (id. at 15 (citing, inter alia, La.
                    R.S. § 17:10.7.1 and § 17:3992));

                (b) “OPSB policy requires the school district to ‘oversee each
                    charter school’s compliance with its operating agreement,
                    federal and state laws and regulations and School Board
                    policy,’” and “the Charter School Operating Agreement with the
                    Willow School and other charter schools repeatedly affirms that
                    charter schools must follow the law[,]” (id. at 16); and

                (c) “OPSB monitors charter schools for compliance with the
                    Operating Agreement and applicable laws, including numerous
                    provisions of state law, from which charter schools are not
                    exempt, as enumerated in La. R.S. § 17:3996(B),” and OPSB
                    can take corrective action, including “to deny or limit renewal
                    of the charter or to revoke it entirely,” (id. at 16–17).

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          Moreover, Plaintiffs explain that charter-school autonomy has limits, and, as such,

institutions must still comply with the law. (Id. at 17.) While OPSB has immunity from “civil

liability” for “damages” under La. R.S. § 17:3993(A), it is not immune from injunctive or other

equitable relief like that asserted here. (Id. at 17 n.17.) Ultimately, OPSB can exercise “coercive

control” over the charter schools, so the traceability requirement is satisfied. (Id. at 17.)

          Plaintiffs also maintain that the redressability requirement is satisfied. (Id. at 18.) They

assert:

                 An injunction will prohibit OPSB from carrying out its legal
                 obligations—confirmed in state law, [OPSB] policy, and the Willow
                 School Charter Agreement—to ensure that the school attended by
                 three minor-child Plaintiffs complies with the Act. And, as set forth
                 in state law, [OPSB] policy, and OPSB’s Charter School Operating
                 Agreement, OPSB has the plain authority and legal duty to ensure
                 that the three minor-child Plaintiffs’ school complies with federal
                 law (as determined by this court) and any injunction entered against
                 [OPSB]. Indeed, under the Willow School Charter Agreement any
                 injunction entered against OPSB prohibiting the display of the Ten
                 Commandments will automatically bind the school. Supra p. 6
                 (noting provision in Operating Agreement that “Charter School shall
                 adhere to the requirements of any and all consent decrees and court
                 orders imposed upon Charter School and/or OPSB”).

(Id.) Thus, the injury is redressable. (Id.)

          Plaintiffs close by arguing that OPSB is not redundant in this suit, as it “does not ‘simply

stand in the shoes’ of the State Defendants.” (Id. at 19.) For all these reasons, Plaintiffs contend

that OPSB MTD must be denied. (Id. at 20.)

          OPSB replies first by emphasizing Plaintiffs’ concession about the International School

and then by returning to the issue of autonomy:

                 The Willow School “is governed by the Advocates for Arts-Based
                 Education (AABE) Board” which “has an important role in
                 advancing the school’s mission by setting policies, supervising the
                 activities of the Corporation, and adopting positions on issues of

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               substance related to the purposes of the Corporation.” [See School
               Governance,       The     Willow      School     New      Orleans,
               https://www.willowschoolnola.org/page/school-governance (last
               visited 8-28-24).] Although OPSB is involved in limited aspects of
               the Willow School’s administration, OPSB’s responsibilities are
               more holistic in nature and do not concern daily governance issues
               such as what posters should or should not be displayed in charter
               school classrooms.

(Doc. 52 at 1–3.) Thus, says OPSB, “the Charter School Agreement between OPSB and AABE

actually affirms the Willow School’s independence to control its daily operations.” (Id. at 3.)

OPSB quotes Section 1.9 of the Charter School Agreement, entitled “Operational Autonomy,”

which provides in relevant part:

               [T]he local school board [OPSB] shall not impede the
               operational autonomy of a charter school under its jurisdiction
               in the areas of school programming, instruction, curriculum,
               materials and texts, yearly school calendars and daily schedules,
               hiring and firing of personnel, employee performance management
               and evaluation, terms and conditions of employment, teacher or
               administrator certification, salaries and benefits, retirement,
               collective bargaining, budgeting, purchasing, procurement, and
               contracting for services other than capital repairs and facilities
               construction.

(Id. at 3–4 (emphasis by OPSB).) Further, OPSB says that, under Section 9.10 of the Charter

School Agreement, AABE, as charter operator, is responsible for complying with all federal and

state law. (Id. at 4.) OPSB also cites to Louisiana Act No. 334 of 2024, which amended La. R.S.

§ 7:3972(A) (“Act 334”), in support of its argument that charter schools have “operational

autonomy[,]” which includes “autonomy necessary to manage its educational programming and

daily operations.” (Id. (quoting La. R.S. § 17:3991(C)(7)).) This is reinforced by Section 1.9 of the

Charter Agreement. (Id. at 4–5.)

       OPSB then argues that, based on this autonomy, Plaintiffs fail to establish traceability. (Id.

at 5.) Plaintiffs’ harm must be “trace[able] to the challenged action of the defendant, and not . . .


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the result of the independent action of some third party not before the court[.]” (Id. (quoting Lujan,

504 U.S. at 560–61 (emphasis omitted)).) Plaintiffs’ injuries are “too conjectural or hypothetical”

because their “existence depends on the decisions of third parties[.]” (Id. (quoting Little, 575 F.3d

at 540).)

        “Here, Plaintiffs’ alleged harm, if any, would be directly attributable to the governing

authority of the Willow School, and not the authority of OPSB. . . . Simply put, it is the Willow

School’s responsibility, contractually, legally, and practically, to enforce – or not to enforce – H.B.

71.” (Id. at 6.) Even if OPSB could take corrective action, this just shows how “extremely far

removed” Plaintiffs’ injuries are from OPSB’s power: “Should OPSB hypothetically, in the future,

decide to take some unspecified corrective action against the Willow School, it would only do so

after the Willow School decided if and how it was going to enforce H.B.71, which has not even

taken effect yet.” (Id.)

        Finally, OPSB says that Plaintiffs fail to establish redressability. (Id. at 7.) Even if Plaintiffs

prevail, OPSB lacks “the authority to enforce or not enforce H.B. 71 against the Willow School.

At the very least, OPSB would have to work with the board of the Willow School to implement

any ruling by the Court.” (Id.) Again, this is because of the charter school’s “operational autonomy

in its daily governance.” (Id.)

            B. Law and Analysis

        Preliminarily, Plaintiffs have conceded that the parents with children attending the

International School (Roake and Van Young) lack standing as to OPSB. (Doc. 46 at 7 n.7.) As a

result, their claims against OPSB will be dismissed without prejudice. However, the Court notes,

as Plaintiffs do, that the International School is authorized by BESE, who is a party to this action.

(Illarmo Decl. ¶ 10, Doc. 38-2.) BESE makes no argument that Roake and Van Young lack



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standing against BESE here, and, even if BESE did, for the reasons which follow, such an

argument would be meritless.

        The Court laid out the requirements for standing supra. In short, a plaintiff “must show

that [he or] she has suffered, or will suffer, an injury that is ‘concrete, particularized, and actual or

imminent; fairly traceable to the challenged action; and redressable by a favorable ruling.’”

Murthy, 144 S. Ct. at 1986 (citation omitted). OPSB disputes only the second and third

requirements.

        For the second, a plaintiff must show “that there is ‘a causal connection between the injury

and the conduct complained of—the injury must be fairly traceable to the challenged action of the

defendant, and not the result of the independent action of some third party not before the court[.]’”

Reule, 114 F.4th at 367 (quoting Bennett, 520 U.S. at 167). But “[c]ausation . . . isn’t precluded

where the defendant’s actions produce a ‘determinative or coercive effect upon the action of

someone else,’ resulting in injury.” Inclusive Cmtys., 946 F.3d at 655 (quoting Bennett, 520 U.S.

at 169). “Even though Article III requires a causal connection between the plaintiff’s injury and

the defendant’s challenged conduct, it doesn’t require a showing of proximate cause or that ‘the

defendant’s actions are the very last step in the chain of causation.’” Id. (quoting Bennett, 520 U.S.

at 169).

        The Court finds that the Plaintiffs with children in Willow School have established

traceability as to OPSB. The Act provides that, “[n]o later than January 1, 2025, each public school

governing authority shall display the Ten Commandments. . . .[,]” H.B. 71(B)(1), and charter

schools are not exempt from this requirement, see id. (amending La. R.S. § 17:3996(B)(72)).

        Louisiana law establishes that the OPSB is the “public school governing authority” for

purposes of the Act. For example, state law provides, “[i]n order to determine quality standards



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for all schools and intervene appropriately in instances when student needs are not being met, the

local superintendent shall: . . . (2) Monitor and require corrective actions by a charter school with

respect to compliance with board policy, state law, or terms of the charter contract.” La. R.S. §

17:10.7.1(F)(2) (emphasis added). Another Revised Statute provides:

               A school charter may be revoked by the authority that approved its
               charter upon a determination by an affirmative vote of at least a
               majority of the local board membership or upon the affirmative vote
               of a majority of the members of the State Board of Elementary and
               Secondary Education, whichever approved the charter, that the
               charter school or its officers or employees did any of the following:
               . . . (4) Violated any provision of law applicable to a charter school,
               its officers, or employees.

La. R.S. § 17:3992(C)(4).

       All of this is consistent with the OPSB Policy. For instance, a policy entitled “School Board

Chartering Authority” provides:

               [OPSB] has adopted the following criteria as mandatory elements of
               all charter Operating Agreements executed by the School Board. . . .

               2. Autonomy - Each charter school shall have complete autonomy
               over all areas of school operation as set forth in each school’s
               Operating Agreement, as long as such operations are in compliance
               with all applicable federal, state, and municipal laws and
               regulations. Areas of school autonomy shall include, but not be
               limited to, the following:

                       A. School programming, instruction, curriculum,
                       materials and texts; . . .

(Slater Decl., Ex. A-2, Doc. 51-3 at 6 (emphasis added).) Another policy on “Oversight and

Evaluation of Charter Schools” states, “[t]he School District shall oversee each charter school’s

compliance with its operating agreement, federal and state laws and regulations and School Board

policy.” (Slater Decl., Ex. A-6, Doc. 51-7 at 2.)




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        These policies also show OPSB’s enforcement authority. “At any point in a school year, a

school may be deemed noncompliant” and subject to “the process for corrective action, “ which

includes different notice levels. (Id. at 2–3.) Another provision says,

                The Superintendent may revoke a school’s operating agreement
                during its charter term for the following reasons, as identified in
                statute and/or the terms of the school’s operating agreement:

                1. Material violation of the operating agreement; [or] . . .

                4. Egregious and/or consistent violation of federal, state or local
                laws or School Board policies;

(Id. at 8–9.)

        All of this demonstrates that, despite the general independence and autonomy of charter

schools, OPSB still maintains the power to “produce a ‘determinative or coercive effect upon the

action of someone else,’ resulting in injury.” Inclusive Cmtys., 946 F.3d at 655 (quoting Bennett,

520 U.S. at 169). And this is particularly true since traceability “doesn’t require a showing of

proximate cause or that ‘the defendant’s actions are the very last step in the chain of causation.’”

Id. (cleaned up).

        OPSB makes much of the broad “operational autonomy” for charter schools under the

recently enacted Act 334. But, as Plaintiffs point out, OPSB omits a key part of that definition:

                “Autonomy” means that unless mutually agreed upon by the
                chartering authority and charter school, or otherwise required or
                prohibited by law, the charter school shall have independent
                operational decision making authority in the areas including but not
                limited to:

                (a) School programming, instruction, curriculum, materials, texts,
                calendars, and schedules. . . .

La. S.B. No. 350, Act No. 334 (May 28, 2024) (emphasis added). Thus, charter-school autonomy

is still circumscribed by state and federal law, and, based on the above statutes and policies, OPSB



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still retains control over Willow School to require or prevent the posting of the Ten

Commandments according to this Court’s interpretation of federal and state law. Thus, Plaintiffs

have shown traceability.

       They have also shown redressability. Here, Plaintiffs are “not required to show that their

requested relief would certainly redress their injuries; rather, they are required to show that their

requested relief would likely (or substantially likely) redress their injuries.” Hancock Cnty., 487 F.

App’x at 197 (citations omitted). “Moreover, the proper focus of the redressability inquiry is not

whether the relief is likely to be granted; rather, the focus is whether, assuming that the requested

relief is granted, that relief will likely redress the plaintiffs’ injuries.” Id. (citations omitted)).

Further, “[t]he relief sought needn’t completely cure the injury, however; it’s enough if the desired

relief would lessen it.” Inclusive Cmtys., 946 F.3d at 655 (citation omitted).

       For all the reasons given above, the Court finds that the relief Plaintiffs seek (an injunction

against OPSB to prevent the posting of the Ten Commandments in Willow School) would “likely

(or substantially likely) redress their injuries.” Hancock Cnty., 487 F. App’x at 197 (cleaned up).

OPSB complains that it is redundant to the other defendants, but this just underscores the fact that

Plaintiffs need not obtain complete relief from OPSB. See Inclusive Cmtys., 946 F.3d at 655.

       In sum, the Court finds that Plaintiffs Sernovitz and Pulda (on behalf of T.S.) and Herlands

(on behalf of E.H. and J.H.) have demonstrated standing for their claims against OPSB, and the

OPSB MTD will be denied as to them. However, this motion will be granted as to Roake and Van

Young, and their claims against OPSB (individually and on behalf of their minor children) will be

dismissed without prejudice.




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IX.     AG DEFS. MOTION TO STAY

            A. Parties’ Arguments

        AG Defendants argue in the alternative that, if the Court is not inclined to dismiss the suit,

and if the Court is inclined to grant an injunction, the Court should order a stay pending appeal.

(Doc. 39-1 at 58.) AG Defendants again incorporate all the arguments summarized above. (Id.)

They then assert that: (1) they are likely to succeed on the merits; and (2) the equities and public

interest favor a stay, since Plaintiffs have identified no ongoing or imminent harm. (Id.)

        Plaintiffs respond that any stay at this juncture is premature; the Court has not ruled on

anything, and there has been no appeal. (Doc. 47 at 55.) “By filing their motion before any ruling

has issued, Defendants improperly deny Plaintiffs the benefit of reviewing and relying on this

Court’s reasoning and ultimate decision in connection with any opposition that Plaintiffs may file

to a stay motion, should they prevail on their preliminary-injunction motion.” (Id.)

        Plaintiffs then contend that, if the Court were to consider the stay issue, then AG

Defendants’ motion should fail for the same reasons advanced in the support of Pls. MPI. (Id.)

“The standard for stay pending appeal overlaps substantially with the standard for a preliminary

injunction.” (Id. at 55–56 (citing Louisiana v. Becerra, 20 F.4th 260, 262 (5th Cir. 2021) (per

curiam)).) Thus, if the Court grants Pls. MPI, it will have found that Plaintiffs are likely to succeed

on the merits, that Plaintiffs will suffer irreparable harm, and that an injunction serves the public

interest. (Id. at 56.)

            B. Law and Analysis

        “Unless the court orders otherwise, the following are not stayed after being entered, even

if an appeal is taken: (1) an interlocutory or final judgment in an action for an injunction . . . .”

Fed. R. Civ. P. 62(c). “While an appeal is pending from an interlocutory order or final judgment



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that grants, continues, modifies, refuses, dissolves, or refuses to dissolve or modify an injunction,

the court may suspend, modify, restore, or grant an injunction on terms for bond or other terms

that secure the opposing party’s rights.” Fed. R. Civ. P. 62(d).

          Having carefully considered the matter, the Court will deny AG Defendants’ request for a

stay. Preliminarily, several courts have recognized that a request to stay an injunction pending

appeal is premature until an actual notice of appeal has been filed. See Metro-Goldwyn-Mayer

Studios, Inc. v. Grokster, Ltd., 518 F. Supp. 2d 1197, 1241 (C.D. Cal. 2007) (“The Court agrees

with Plaintiffs that StreamCast’s motion for a stay pending appeal pursuant to Rule 62(c) is

premature . . . . Once the Court finalizes the terms of a permanent injunction, and an appeal is

taken, StreamCast can renew its request.” (citing Nikon, Inc. v. Ikon Corp., No. 89-6044, 1992 WL

398440, at *3 (S.D.N.Y. Dec. 18, 1992) (“In the absence of a pending appeal, a request for relief

under Rule 62(c) is premature.”))); see also Gregory v. Baucum, No. 16-103, 2018 WL 10096597,

at *1 (N.D. Tex. Feb. 23, 2018) (“Defendant [ ] also requests a stay pending appeal of the denial

of his motion for summary judgment to the . . . Fifth Circuit. As there is no appeal currently

pending, Defendant[’s] . . . Motion to Stay . . . is DENIED, without prejudice to his right to re-

urge that Motion should he file a notice of appeal.”).

          Nevertheless, even assuming AG Defendants’ request was ripe, it would be denied on the

merits.

                 When analyzing a request to stay a district court’s preliminary
                 injunction, we are to consider the following factors:

                        (1) whether the stay applicant has made a strong
                        showing that he is likely to succeed on the merits; (2)
                        whether the applicant will be irreparably injured
                        absent a stay; (3) whether issuance of the stay will
                        substantially injure the other parties interested in the
                        proceeding; and (4) where the public interest lies.



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               Veasey v. Perry, 769 F.3d 890, 892 (5th Cir. 2014) (quoting Nken v.
               Holder, 556 U.S. 418, 426 [ ] (2009)). Likelihood of success and
               irreparable injury to the movant are the most significant factors. Id.

Becerra, 20 F.4th at 262.

        For all the reasons given above, the Court finds that (1) AG Defendants have not made a

strong showing that they are likely to succeed on the merits; (2) they will not be irreparably harmed

absent a stay, given the Court’s finding that the Act violates the First Amendment; (3) a stay will

substantially injure Plaintiffs and expose them to further constitutional violations; and (4) the

public interest lies in maintaining an injunction to prohibit the enforcement of the State’s

unconstitutional Act. Indeed, the Court agrees with Plaintiffs that it would be logically inconsistent

to grant AG Defendants this relief after granting Pls. MPI, and AG Defendants acknowledged at

oral argument that they filed this motion primarily to preserve the issue on appeal. Accordingly,

AG Defs. Motion to Stay will be denied.

 X.     CONCLUSION

        Accordingly,

        IT IS ORDERED that the Consolidated Motion to Dismiss, Opposition to Plaintiffs’

Motion for Preliminary Injunction, and Alternative Motion for Stay Pending Appeal (Doc. 39)

brought by all defendants other than the Orleans Parish School Board—specifically, Defendants

Cade Brumley, Conrad Appel, Judy Armstrong, Kevin Berken, Preston Castille, Simone

Champagne, Sharon Latten-Clark, Lance Harris, Paul Hollis, Sandy Holloway, Stacey Melerine,

Ronnie Morris, East Baton Rouge Parish School Board, Livingston Parish School Board, Vernon

Parish School Board, and St. Tammany Parish School Board—is DENIED.

        IT IS FURTHER ORDERED that the Plaintiffs’ Motion for Preliminary Injunction (Doc.

20) is GRANTED. The Court finds that House Bill No. 71, Act No. 676, is FACIALLY


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UNCONSTITUTIONAL and UNCONSTITUTIONAL IN ALL APPLICATIONS. As a

result, AG Defendants and their agents shall be prohibited from (1) enforcing H.B. 71; (2) adopting

rules or regulations for the enforcement of H.B. 71; and (3) requiring that the Ten Commandments

be posted in every public-school classroom in Louisiana in accordance with H.B. 71.

        IT IS FURTHER ORDERED that Defendants Brumley and BESE Members shall be

responsible for providing notice of this order and H.B. 71’s unconstitutionality to all Louisiana

public elementary, secondary, and charter schools, and all public post-secondary education

institutions.

        IT IS FURTHER ORDERED that Plaintiffs shall post a bond in the amount of $100

within five (5) days of this ruling.

        IT IS FURTHER ORDERED that the Rule 12(b)(1) Motion to Dismiss and Opposition

to Motion for Preliminary Injunction (Doc. 38) filed by the Defendant Orleans Parish School

Board is GRANTED IN PART and DENIED IN PART. The motion is GRANTED as to

Plaintiffs Roake and Van Young, and their claims against OPSB (individually and on behalf of

their minor children A.V. and S.V.) will be DISMISSED WITHOUT PREJUDICE for lack of

standing. In all other respects, the OPSB MTD is DENIED.

        IT IS FURTHER ORDERED that the Conditional Motion to Stay Preliminary Injunctive

Relief Pending Appeal (Doc. 40) filed by AG Defendants is DENIED.

        Signed in Baton Rouge, Louisiana, on November 12, 2024.



                                               S
                                        JUDGE JOHN W. deGRAVELLES
                                        UNITED STATES DISTRICT COURT
                                        MIDDLE DISTRICT OF LOUISIANA



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